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                           EXHIBIT C
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

CHARLOTTE LOQUASTO, MICHAEL             §
IUBELT, SHELBY IUBELT,                  §
INDIVIDUALLY, ON BEHALF OF THE          §
ESTATE OF PFC TYLER IUBELT, AND         §
AS NEXT FRIEND OF V.I., MINOR,          §
JULIANNE PERRY, INDIVIDUALLY, ON        §
BEHALF OF THE ESTATE OF STAFF           §
SGT. JOHN PERRY, DECEASED, AND AS       §   CIVIL ACTION NO. _________________
NEXT FRIEND OF L.P. AND G.P.,           §
MINORS, KATHLEEN PERRY, STEWART         §
PERRY, MARISSA BROWN,                   §
INDIVIDUALLY AND ON BEHALF OF           §
THE ESTATE OF SGT. FIRST CLASS          §
ALLAN E. BROWN, DECEASED, GAIL          §
PROVOST, INDIVIDUALLY, AND ON           §
BEHALF OF THE ESTATE OF PETER           §
PROVOST, DECEASED, MEGHAN               §
HOLLINGSWORTH, SARAH PETERSON,          §
BRIAN PROVOST, SPENCER PROVOST,         §
LOUIS PROVOST, GERTRUDE                 §
PROVOST, KATRINA REEVES,                §
INDIVIDUALLY AND ON BEHALF OF           §
THE ESTATE OF COL. JARROLD              §
REEVES (RET.), DECEASED, AND AS         §
NEXT FRIEND OF J.R., A MINOR,           §
SUMMER DUNN, HANNAH MASON,              §
MALLORY REEVES, CHARLOTTE               §
REEVES, CHRIS COLOVITA, SAMUEL          §
GABARA, LAKEIA STOKES, MAGGIE           §                 JURY
BILYEU, INDIA SELLERS, ADDIE FORD,      §
ROBERT HEALY, and HAYLEE                §
RODRIGUEZ,                              §
                                        §
VS.                                     §
                                        §
FLUOR CORPORATION, INC., FLUOR          §
ENTERPRISES, INC., FLUOR                §
GOVERNMENT GROUP, INC., FLUOR           §
INTERCONTINENTAL, INC., and             §
ALLIANCE PROJECT SERVICES, INC.         §




DEFENDANTS’ STATE COURT FILINGS INDEX                                          1
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DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., FLUOR
       GOVERNMENT GROUP INTERNATIONAL, INC., AND FLUOR
       INTERCONTINENTAL, INC.’S STATE COURT FILINGS INDEX

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendants Flour Corporation, Inc., Flour Enterprises, Inc., Flour Government Group

International, Inc., and Flour Intercontinental, Inc. file this state court filings index and would

respectfully show the Court as follows:

        The following items were filed in the matter styled Charlotte Loquasto, et al. v. Flouor

Corporation, et al., Cause No. DC19-06872, in the 14th District Court for Dallas County, Texas:

         Date Filed    Document

   1.    05/14/19      Plaintiffs’ Original Petition

   2.    05/14/19      Request for Service

   3.    05/14/19      Citation – Flour Corporation, Inc.

   4.    05/14/19      Citation – Flour Enterprises, Inc.

   5.    05/14/19      Citation – Flour Intercontinental Inc.

   6.    05/14/19      Citation – Flour Government Group, Inc.

   7.    05/14/19      Citation – Alliance Project Services, Inc.

   8.    06/10/19      Flour Government Group International, Inc.’s Original Answer

   9.    06/10/19      Defendant Alliance Project Services, Inc.’s Verified Special Appearance

   10. 06/17/19        Return of Service – Flour Government Group, Inc.

   11. 06/17/19        Return of Service – Alliance Project Services, Inc.

   12. 06/17/19        Fluor Government Group International, Inc.’s First Amended Answer

   13. 06/17/19        Fluor Corporation, Inc., Fluor Enterprises, Inc., and Fluor Intercontinental,
                       Inc.’s Original Answer




DEFENDANTS’ STATE COURT FILINGS INDEX                                                             2
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  14. 06/18/19    Fluor Government Group International, Inc., Fluor Corporation, Inc., Fluor
                  Enterprises, Inc., and Fluor Intercontinental, Inc.’s Supplement to their
                  Original and First Amended Answers

                                       Respectfully submitted,

                                       HARTLINE BARGER LLP

                                       /s/ Darrell L. Barger
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                                       COUNSEL FOR DEFENDANTS
                                       FLOUR CORPORATION, INC., FLOUR
                                       ENTERPRISES, INC., FLOUR
                                       GOVERNMENT GROUP INTERNATIONAL,
                                       INC., AND FLOUR INTERCONTINENTAL,
                                       INC.


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                              CERTIFICATE OF SERVICE

        The undersigned certifies that on June 19, 2019, Defendants served a true and correct
copy of the foregoing State Court Filing Index on all known counsel of record via the Northern
District of Texas’ CM/ECF filing system and/or Certified Mail Return Receipt Requested.



                                           /s/ Darrell L. Barger
                                           Darrell L. Barger




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                                                                              DALLAS COUNTY
                                                                              5/14/2019 9:49 AM
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                                                                              DISTRICT CLERK


                            DC-19-06872                             Christi Underwood
                     NO. ____________________________

CHARLOTTE LOQUASTO,                      §            IN THE DISTRICT COURT
MICHAEL IUBELT, SHELBY IUBELT,           §
INDIVIDUALLY, ON BEHALF OF THE           §
ESTATE OF PFC TYLER IUBELT, AND          §
AS NEXT FRIEND OF V.I., MINOR,           §
JULIANNE PERRY, INDIVIDUALLY, ON         §
BEHALF OF THE ESTATE OF                  §
STAFF SGT. JOHN PERRY, DECEASED,         §
AND AS NEXT FRIEND OF                    §
L.P. AND G.P., MINORS, KATHLEEN PERRY,   §
STEWART PERRY,                           §
MARISSA BROWN, INDIVIDUALLY AND          §
ON BEHALF OF THE ESTATE OF               §
SGT. FIRST CLASS ALLAN E. BROWN,         §
DECEASED, GAIL PROVOST,                  §
INDIVIDUALLY AND ON BEHALF OF            §
THE ESTATE OF PETER PROVOST,             §
DECEASED, MEGHAN HOLLINGSWORTH,          §
SARAH PETERSON,                          §
BRIAN PROVOST, SPENCER PROVOST,          §
LOUIS PROVOST, GERTRUDE PROVOST,         §
KATRINA REEVES, INDIVIDUALLY AND         §
ON BEHALF OF THE ESTATE OF               §
COL. JARROLD REEVES (RET.),              §
DECEASED, AND AS NEXT FRIEND OF          §
J.R., A MINOR, SUMMER DUNN,              §
HANNAH MASON, MALLORY REEVES,            §
CHARLOTTE REEVES, CHRIS COLOVITA,        §
SAMUEL GABARA, LAKEIA STOKES,            §
MAGGIE BILYEU, INDIA SELLERS,            §
ADDIE FORD, ROBERT HEALY and             §
HAYLEE RODRIGUEZ                         §
                                         §
                                         §
VS.                                      §          DALLAS COUNTY, TEXAS
                                         §
FLUOR CORPORATION, INC.,                 §          A-14
FLUOR ENTERPRISES, INC.,                 §          _____ JUDICIAL DISTRICT
FLUOR GOVERNMENT GROUP, INC.,            §
FLUOR INTERCONTINENTAL, INC. and         §
ALLIANCE PROJECT SERVICES, INC.          §          JURY TRIAL DEMANDED
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                            PLAINTIFFS’ ORIGINAL PETITION

       Plaintiffs Charlotte Loquasto, Michael Iubelt, Shelby Iubelt, individually, on behalf of the

estate of PFC Tyler Iubelt, and as next friend of V.I., a minor, Julianne Perry, individually, on

behalf of the estate of Staff Sgt. John Perry, deceased, and as next friend of L.P. and G.P.,

minors, Kathleen Perry, Stewart Perry, Marissa Brown, individually and on behalf of the estate

of Sgt. First Class Allan E. Brown, deceased, Gail Provost, individually and on behalf of the

estate of Peter Provost, Meghan Hollingsworth, Sarah Peterson, Brian Provost, Spencer Provost,

Louis Provost, Gertrude Provost, Katrina Reeves, individually and on behalf of the estate of Col.

Jarrold Reeves (Ret.), deceased, and as next friend of J.R., a minor, Summer Dunn, Hannah

Mason, Mallory Reeves, Charlotte Reeves, Chris Colovita, Samuel Gabara, Lakeia Stokes,

Maggie Bilyeu, India Sellers, Addie Ford, Robert Healy and Haylee Rodriguez file this Original

Petition against Defendants Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor

Intercontinental, Inc., Fluor Government Group, Inc. (“Fluor Defendants”), and Alliance Project

Services, Inc. (“APS”), and, for cause of action, would respectfully show this Honorable Court the

following:

                                 OVERVIEW OF LAWSUIT

       On Veterans Day 2016, a man detonated a bomb at the Bagram Air Base in Afghanistan.

Five men were killed and 17 soldiers were badly injured. The bomber was employed and

managed by the Defendants. The Defendants failed to supervise or manage him. They allowed

him access to tools and material that he used to build the bomb. They failed to escort him on the

base, as required.




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         As a result, he made a bomb and he was allowed to detonate it. The family members of

the dead and the survivors of the bombing seek accountability of the Defendants for their

negligence in causing this horrible tragedy.

         On Saturday morning of November 12, 2016, more than 200 personnel residing at the

Bagram Air Field (the “Base”) in Afghanistan were gathering for a Veterans Day 5k race set to

begin at 6:15 a.m. The meeting point for the race was an area called the “Disney Clamshell.” Also

on the Base was man named Ahmad Nayeb. Nayeb was an employee of Defendant APS and was

primarily supervised and managed by the Fluor Defendants.

         Nayeb worked at Fluor’s HAZMAT work center within Fluor’s Non-Tactical Vehicle

Yard at the Base. Nayeb was not supposed to be on the Base on the morning of November 12,

2016. Defendants were required to ensure that employees like Nayeb were physically escorted

off the Base at the end of their work shifts. Nayeb was supposed to have been escorted off the

Base by bus at 4:45 a.m. that morning. However, on the morning in question, Nayeb was not

escorted off the Base at the end of his work shift.

         Prior to November 12, 2016, Nayeb had constructed an explosive vest bomb at Fluor’s

facility on the Base—a facility Fluor had a duty to supervise and manage. Nayeb used materials

owned by Fluor and tools owned by Fluor to construct the explosive vest bomb at Fluor’s work

location on Base.

          On November 12, 2016, instead of being escorted off the Base by bus, Nayeb walked,

 totally unsupervised by the Defendants, toward the assembly point for the Veterans Day 5k

 race.

         That morning, a group of soldiers had gathered at the Clamshell, intending to conduct a

combatives training class. Upon arrival, they saw that the 5k run would be taking place, as the



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organizers were preparing for the event. The soldiers decided to hold their training at another

facility, so left the Clamshell and began walking alongside Disney Drive towards the alternate

location.   Meanwhile, Fluor employees Jarrold Reeves and Peter Provost, both avid runners, left

their quarters and headed towards the Clamshell for the 5k run.       They also traveled alongside

Disney Drive towards the Clamshell. It was still early in the morning, and it was dark.

       By all accounts, the bomber intended to travel to the Clamshell and detonate his bomb

among the hundreds of people who would be gathering there later that morning for the race.

The bomber attempted to hide between several concrete bunkers along the walkway.               The

soldiers and Reeves/Provost were approaching the bomber from different directions and,

unbeknownst to them, were converging on the bomber. At some point, the bomber realized that

he would be caught and would not reach his intended target. Reeves and Provost were closest to

the bomber when he jumped up, faced them, and detonated his bomb.              Reeves and Provost

sustained a direct hit and likely died immediately.      The soldiers, also within 15 feet of the

bomber, took shrapnel directly from the bomb and also from shrapnel ricocheting off of the

concrete bunkers. PFC Tyler Iubelt sustained extensive wounds and burns from the bombing.

Witnesses report that he survived the bombing but was close to death. EMTs who arrived on the

scene described difficulty performing CPR on him because of the extent of burns to his body.

Staff Sgt. John Perry was struck with shrapnel in his eye, which continued to his brain. He died

on the scene.      Staff Sgt. Allan Brown sustained extensive shrapnel wounds and burns.

Witnesses tell of him directing EMTs to take care of other soldiers and constantly encouraging

his fellow soldiers, as he held his intestines in his body with his hands.     Sgt. Brown received

care at Bagram, then Germany, then at Walter Reed Hospital.         After several weeks, he finally

succumbed to his injuries.   Other soldiers sustained severe and life-altering injuries.



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        This incident has caused the loss of fathers, sons, and spouses.     This incident has

dramatically altered the lives of several men and women who devoted their lives to military

service.

        This incident was completely the result of Defendants’ negligence and gross negligence.

This lawsuit seeks to hold those responsible those who allowed this incident, Fluor and APS, and

to give them an opportunity to take responsibility for their grievous mistakes. Any attempt by

Defendants to place any blame on the U.S. Army or any other U.S. governmental entity for this

tragedy would be shameful.

II.     DISCOVERY CONTROL PLAN

        Plaintiffs request a Level 3 discovery control plan pursuant to the Texas Rules of Civil

Procedure.

III.    RULE 47 STATEMENT

        Pursuant to TEX. R. CIV. P. 47, Plaintiffs state that each seeks more than $1 million in

monetary relief.

IV.     PARTIES

        PLAINITIFFS

        A.      Family of PFC Tyler Iubelt

        Plaintiff Charlotte Loquasto, surviving mother of PFC Tyler Iubelt, is an individual and

resident of the State of Illinois.

        Plaintiff Michael Iubelt, surviving father of PFC Tyler Iubelt, is an individual and

resident of the State of Indiana.




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       Plaintiff Shelby Iubelt, surviving spouse of PFC Tyler Iubelt, is an individual and

resident of the State of Illinois. She brings claims individually, on behalf of the estate of Tyler

Iubelt, and as next friend of V.I., her child with Tyler Iubelt.




       About Tyler Iubelt: At the time of his death, Tyler was 20 years old. He was born and

raised in Illinois. He joined the United States Army on October 21, 2015, as a motor transport

operator. Tyler and Shelby were married on October 30, 2015. In April 2016, he was assigned

to Fort Hood. He was a member of the 1st Cavalry Division Sustainment Brigade. Shelby gave

birth to Violet on May 7, 2016, at Fort Hood. In August 2016, Tyler received deployment orders

and he deployed to Afghanistan on September 7, 2016. In October 2016, Tyler was promoted to

Private First Class.

       By all accounts, at the time of the incident, Tyler was at the front of the group of soldiers

walking down Disney Drive. They were approximately 15 feet from the bomber at time of

detonation. Witness reports indicate that Tyler initially survived the blast. He was attended to by

medics on the scene, but they had difficulty administering CPR because of the extensive burns to

his body. Tyler was pronounced dead at the scene.          Tyler’s body was returned to the U.S. at

Dover Air Force Base on November 15, 2016. Tyler was buried at Sunset Memorial Park at Du

Quoin, Illinois, on November 23, 2016. In 2017, the State of Illinois renamed a section of

Illinois Route 51 the PFC Tyler Iubelt Memorial Highway.
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       B.      Family of Staff Sgt. John Perry

       Plaintiff Julianne Perry, surviving spouse Staff Sgt. John Perry, deceased, is an

individual and resident of Bell County, Texas. She brings claims individually, on behalf of the

estate of John Perry and as next friend of her children with John Perry, L.P. and G.P., minors.

       Plaintiff Kathleen Perry, surviving mother of John Perry, is an individual and resident

of the State of New Jersey.

       Plaintiff Stewart Perry, surviving father of John Perry, is an individual and resident of

the State of California.




       About John Perry: At the time of his death, John had just turned 30. He was born in

California and was raised in New Jersey and California. John entered the U.S. Army in January

2008. He and Julianne married shortly thereafter. He served in Korea from February 2009 to

February 2010, and from June 2013 to June 2014.          He was deployed to Afghanistan from

August 2010 to July 2011, before deploying again in September 2016. John was also a member

of the 1st Cavalry Division Sustainment Brigade in Afghanistan. John was likely killed instantly

from shrapnel that entered his head, right below his eye. John was buried at Arlington National

Cemetery.

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        C.     Family of SFC Allan E. Brown

        Plaintiff Marissa Brown is an individual and resident of the State of California. She

brings claims individually and on behalf of the estate of Allan E. Brown.




        About Allan E. Brown: Allan was 46 years old when he died. Allan was raised in

Maryland and entered the Army on September 16, 1988, as a petroleum supply specialist. He

transferred into the United States Army Reserves in June of 1990. In December of 2000, Allan

reclassified to a mobile subscriber equipment network switching systems operator. On Nov. 20,

2007, he reenlisted into the active component as an information technology specialist. He was

deployed in Operation Iraqi Freedom three times: from August 2006 to August 2007, November

2008 to October 2009, and December 2010 to December 2011. Allan was deployed in support of

Operation Enduring Freedom from July 2014 to September 2014, and in Operation Freedom’s

Sentinel from September to December 2016. Allan was also a member of the 1st Cavalry

Division Sustainment Brigade in Afghanistan. Allan and Marissa married in Hawaii on July 1,

2000.




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        After the bombing, Allan was treated at Bagram and then was transferred to Germany,

and ultimately to Walter Reed hospital. Allan was conscious but in severe pain for three weeks

after the incident. He was not able to speak, but was able to squeeze family members’ hands and

communicate by blinking his eyes.          Despite the efforts of his doctors, Allan’s condition

worsened and he fell into a coma and died on December 6, 2016. Allan was buried at Arlington

National Cemetery. The Secretary of the Army was present when Allan died, and was present at

his funeral.

        D.     Family of Peter Provost

        Plaintiff Gail Provost, surviving spouse of Peter Provost, is an individual and resident of

the State of South Carolina. She brings claims individually and on behalf of the estate of Peter

Provost.

        Plaintiff Meghan Hollingsworth, surviving daughter of Peter Provost, is an individual

and resident of the State of South Carolina.

        Plaintiff Sarah Peterson, surviving daughter of Peter Provost, is an individual and

resident of the State of South Carolina.

        Plaintiff Brian Provost, surviving son of Peter Provost, is an individual and resident of

the State of South Carolina.

        Plaintiff Spencer Provost, surviving son of Peter Provost, is an individual and resident

of the State of California.

        Plaintiff Louis Provost, surviving father of Peter Provost is an individual and resident of

the State of Massachusetts.

        Plaintiff Gertrude Provost, the surviving mother of Peter Provost, is an individual and

resident of the State of Massachusetts.



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       About Peter Provost:         Peter was 62 years old at time of death.     He grew up in

Massachusetts and received a BS in environmental health from UMass-Amherst in 1979. During

his studies, he also served as a research assistant at Harvard University’s Graduate School of

Public Health. After Amherst, he went to work in the environmental health and safety field.

This included a five year stint with OSHA and as corporate manager for health and safety at a

semiconductor company. He spent the largest part of his professional career (15 years) at Pirelli

North America, where he rose to Corporate Director, Environmental Health & Safety, and served

as a member of the Board of Directors. He received numerous certifications in his field and

authored several articles on subjects related to safety.   Peter went to work for Fluor in 2011.

Peter and Gail were married in 1990 and had two sons, Brian and Spencer. Peter also had two

daughters, Meghan and Sarah, from a prior marriage.

       E.      Family of Jarrold Reeves

       Plaintiff Katrina Reeves, surviving spouse of Col. Jarrold Reeves (Ret.), is an individual

and resident of the State of Kentucky. She brings claims individually, on behalf of the estate of

Jarrold Reeves and as next friend of J.R., a minor, her daughter with Jarrold Reeves.

       Plaintiff Summer Dunn, surviving daughter of Jarrold Reeves, is an individual and

resident of the State of Georgia.

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       Plaintiff Hannah Mason, surviving daughter of Jarrold Reeves, is an individual and

resident of the State of Georgia.

       Plaintiff Mallory Reeves, surviving daughter of Jarrold Reeves, is an individual and

resident of the State of Georgia.

       Plaintiff Charlotte Reeves, surviving mother of Jarrold Reeves, is an individual and

resident of the State of Florida.




       About Jarrold Reeves: Jarrold was 57 years old at time of death. He was raised in

Avondale Estates, Georgia. In high school, he played football and won a state championship in

1976. He attended college at Presbyterian College in South Carolina, where he played football

and participated in the ROTC. He graduated in 1982. In 1982, he was commissioned as a

second lieutenant in the U.S. Army and embarked upon a 29-year career of distinguished military

service primarily in the Logistics Corps.   He is the recipient of the following distinguished

military medals: 2016: Secretary of Defense Medal for the Defense of Freedom (posthumously);

2011: Legion of Merit; 2008: Bronze Star; 2008: Iraqi Campaign Medal; 2007: Legion of Merit

Medal; 2003: Defense Meritorious Service Medal; 2003: Joint Service Commendation Medal,

2003: Army Service Commendation Medal; 2003: Joint Service Achievement Service Medal;

2003: Global War on Terrorism Medal; 2001 National Defense Service Medal; 1998:

Humanitarian Service Medal; 1992: Armed Forces Reserve Medal.



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       He held numerous senior leadership positions in the U.S. Army. In 2008, his unit was

deployed to Iraq to oversee the sustainment and distribution of logistics support and to lead the

initial planning and execution for the drawdown of military forces and associated equipment. In

2010, his unit was deployed to Haiti to lead the initial planning for humanitarian assistance and

disaster relief support to over a million Haitians affected by the earthquake. In addition to his

degree from Presbyterian College, Jarrold attended the U.S. Army Command and General Staff

College and was awarded a master's degree in Military Arts and Science. He also received a

Masters of Strategic Leadership degree from the Army War College. Jarrold retired from the

Army in May 2011, at Fort Knox.

       Jarrold was married previously and had three daughters. In May 2000, Jarrold married

Katrina in Louisville. They moved together to Fort Hood. Their daughter Jennifer was born at

Fort Hood in 2001. Jarrold began working for Fluor in July 2011, shortly after his retirement

from the Army. His initial contract was for two years. In 2013, the country manager asked him

to stay and he agreed to do so.    At the time of his death, Jarrold was Fluor's deputy project

manager for logistics and public works in Afghanistan. Jarrold was laid to rest on November 30,

2016, at Kentucky Veterans Cemetery-Central in Radcliff, Kentucky.

       F.     Survivors

       Plaintiff Chris Colovita is an individual and resident of the State of Alabama.

       Colonel Chris Colovita was born and raised in Falls Church, Virginia. He is married and

the father of three children. He graduated from Marshall University in 1994 and was

commissioned as a Second Lieutenant in the United States Army in 1994.        He has a long and

commendable record with the U.S. Army, which includes multiple deployments to Iraq and

Afghanistan. In 2016, he was assigned to Fort Hood, and served as Commander of the First



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Cavalry Sustainment Brigade. He deployed to Afghanistan in September 2016.

       On the day of the incident, he recalls walking down Disney Drive, with Chief Gabara to

his left and Sgt. Perry to his right.   He recalls a large explosion and a huge orange flash. He

woke up on the ground and drew his pistol and yelled for everyone to stay down. As he

surveyed the scene, he thought that everyone else was dead. He recalls seeing the bodies of

Peter Provost and Jerry Reeves. He recalls seeing Sgt. Perry slumped over, and clearly deceased.

As medics arrived, he assisted loading the victims into medivacs. He then went to the hospital to

treat his injuries. Colonel Colovita sustained shrapnel wounds to his right knee. He has been

diagnosed with a moderate to severe TBI. He sustained injuries to his neck, causing nerve

damage, and pain and numbness to his extremities, for which he has received physical therapy

and injections. He is a candidate for cervical surgery. He suffered a hyperextended right elbow.

He has been diagnosed with PTSD. He returned from Afghanistan in June 2017, and was

assigned to Redstone AMC, where he is currently stationed. He is currently in the process of

medically retiring from the Army, for injuries associated with the November 2016 explosion.

       Plaintiff Samuel Gabara is an individual and resident of the State of Texas.

       Sam Gabara is 37 years old. He was born and raised in Rogers City, Michigan. He is

married and is the father of two children. He enlisted in the U.S. Army on August 16, 2000, at

age 18. He was assigned to Fort Hood, then Fort Campbell, then Fort Knox, and finally to Fort

Hood. Over the course of his career, he was deployed overseas six times – serving four tours in

Iraq and two tours in Afghanistan

       On the day of the bombing, Chief Gabara recalls walking with his fellow soldiers. After

the explosion, he recalls coming to, and lying face down on the ground. He got up and directed

his fellow soldiers to stay down. He then attended to the wounded. Chief Gabara was treated at



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the Bagram ER, then taken to Landstuhl, Germany, then to Walter Reed and finally to Darnell

Medical Center. He sustained shrapnel wounds to his left wrist, which severed his ECU tendon

and injured his ulna bone. He sustained multiple smaller shrapnel wounds to his neck, chest, and

thighs. He also suffered a traumatic brain injury. He was cleared for redeployment on January

10, 2017, and returned to Afghanistan from January 20, 2017 until June 2017. He then returned

to Fort Hood.     Chief Gabara medically retired from the U.S. Army on October 30, 2018.

Currently, he suffers from post-traumatic arthritis in his left wrist, chronic migraines, chronic

back and neck pain, PTSD, insomnia and issues surrounding the TBI.          He currently receives

weekly counseling, botox injections for migraines, and pain management for his back injury.

He is scheduled to undergo nerve repair surgery for his left wrist. He still has pieces of shrapnel

in his body.

       Plaintiff Lakeia Stokes is an individual and resident of the State of Texas.

       Lakeia Stokes is 37 years old.    Lakeia attended college at Clemson, where she played

basketball, and where she still holds records in five categories. She graduated with a degree in

sports management and played briefly in Greece and Switzerland. She enlisted in the Army in

January 2014. She was assigned to Fort Hood. Her initial deployment was to Kuwait, from

October 2014 to June 2015, and then she returned to Fort Hood. She deployed to Afghanistan in

September 2016.

       On the day of the incident, she recalls walking down the road with her fellow soldiers.

After the explosion, the first thing she recalls was Chief Gabara yelling for everyone to get down

on the ground. She recalls Addie Peters in pain because of her hip and leg. She tried to go to

Peters but realized that her arm had severe damage and was almost severed. She recalls Col.

Colovita attending to her and urging her to hang on.     She recalls riding in an ambulance with



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India Sellers and Allan Brown, and Brown holding his intestines in his body. But, still, he was

encouraging both of them the entire time.

       After the incident, she underwent surgery at Bagram to her arm, to place an external

fixator. She was later transferred to Walter Reed and then to San Antonio, where she has had the

majority of her surgeries. Lakeia was medically retired from Army in March 2018. She still

undergoes therapy to her left arm, and has permanent nerve damage – she will never regain full

use of her arm. Her left eye has not recovered from retinal detachment.       She has permanent

nerve damage to her left knee. She suffered a broken right foot. She still has shrapnel all over

her body. She has a skin graft on her leg. She has undergone over 15 surgeries and has been

advised that she has several more to go.

       Plaintiff Maggie Bilyeu is an individual and resident of the State of Texas.

       Maggie Bilyeu is 28 years old and grew up in Southern Illinois. She enlisted in the U.S.

Army in October 2015.       In June 2016, she was assigned to Fort Hood. She deployed to

Afghanistan in September 2016.

       On the date of incident, she recalls walking alongside Lakeia Stokes, India Sellers, and

Addie Peters. She recalls seeing the bomber for the first time, just as he detonated. She recalls

awaking from the explosion and trying to drag herself to safety. At some point, she realized that

her intestines were exposed. She also noted that her leg had received extensive damage. She

waited in place until she was attended to by medics and taken from the scene by ambulance. She

was initially treated and stabilized at Bagram, then taken to Germany and ultimately to Walter

Reed Hospital. She awoke from a coma while at Walter Reed. She was later transferred to a

facility in Minnesota to focus on repair of her leg. She was relocated to Fort Hood in January




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2017, where she stayed for most of the year. In December 2017, she was assigned to Fort Sam

Houston where she is part of a Warrior Transition Unit.

       Maggie received extensive injuries from shrapnel. She has had over 23 surgeries, to her

leg, breast and abdomen. She will undergo several additional scar revision surgeries to her

breast, and abdomen. She received a plate to stabilize several broken ribs. Her most significant

problems are with her left leg.    After years of hoping to save her leg, her doctors ultimately

recommended that it be amputated, which it was in 2019. She also suffers from post-concussive

syndrome and suffers from memory loss. She must take pain medicine every day, particularly in

order to complete physical therapy. She also takes medication for anxiety and to sleep. She also

suffers from tinnitus and hearing loss, and requires hearing aids.

       Plaintiff India Sellers is an individual and resident of the State of Texas.

       India Sellers is 27 years old. Both of her parents served in the military. She is a single

mother of a six year old son. India enlisted in the Army in July 2010.            She deployed to

Afghanistan from Fort Hood in September 2016. On the day of the incident, she recalls walking

with Lakeia Stokes, Maggie Bilyeu and Addie Peters.             She recalls waking up after the

detonation, on the ground. Medics immediately attended to her. She recalls being placed in a

neck brace, being heavily wrapped in gauze and placed in an ambulance. She recalls being in the

ambulance with Stokes and Sgt. Brown, and Sgt. Brown giving words of encouragement to her

and Stokes, demanding that the medics focus on them.

       She was taken to the Bagram hospital where she was stabilized and then flown to

Germany. She next remembers waking up at Walter Reed Hospital.            She was at Walter Reed

until July 2017, where she received numerous surgeries to treat shrapnel wounds to her head,

arm, abdomen, groin, leg, back, and eye. She has undergone 30 surgeries and is awaiting another



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surgery to her eye. At this time, she has major damage to her leg, resulting in constant swelling

and difficulty walking. She is blind in her left eye. Her left shoulder has metal rods holding it

together and has limited range of motion. She suffered a TBI and suffers from recurring

headaches.

        After leaving Walter Reed, she was assigned to Fort Bragg, where her family is located.

She was assigned to a wounded warrior unit and continued to receive extensive therapy. She

retired from the Army on June 2, 2018, and resides in Killen, Texas.

        Plaintiff Addie Ford is an individual and resident of the State of Texas.

        Addie Ford is 24 years old and was raised in California. She enlisted in the Army at age

18 and intended to make a career in the Army. She was assigned to Fort Hood in July 2013 and

was deployed to Afghanistan in April 2014. She returned in November 2014, to Fort Hood. She

deployed again to Afghanistan in September 2016.

        On the day of the incident, she recalls walking with her follow soldiers, most closely to

Lakeia Stokes and Maggie Bilyeu. After the explosion, she recalls coming to and standing. She

looked around and saw all of her colleagues on the ground. She heard yelling from others to get

down. As she went towards Stokes, she felt sharp pain in her hip. She remembers medics

coming onto the scene and watching them attend to Tyler Iubelt. She recalls that Tyler was

conscious but burned badly – so badly that the medics could not perform CPR on him because

his skin was so damaged.      She recalls the moment when the medics indicated that Tyler was

gone.

        She began to assess her own injuries and found that, in addition to her hip injuries, her

intestines were exposed, and her right pinky finger was severed. She recalls being loaded onto

an ambulance and taken to the Bagram hospital. She had lost so much blood that the doctors



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determined that they would have do a bone marrow IV. This required them to drill into her

bones. At first they tried her shin, then her femur, then finally were successful in her shoulder.

She passed out from the pain. She was in and out of consciousness and recalls waking up in

Germany. She was told that she had undergone several surgeries in that timeframe. She was

later transferred to Walter Reed Hospital.

        At Walter Reed, she had multiple surgeries to treat her hip; shrapnel had shattered her

iliac wing in her hip and her L3 vertebrae, where the shrapnel had exited her body.              She

underwent other surgeries to remove several feet of her small intestine, part of her colon, and her

appendix. In December 2016, she was transferred to the VA hospital in San Antonio and was

discharged in January 2017. She was sent back to Fort Hood, where she attempted to go back to

work. Because of her injuries and PTSD, she was not able to work in a standard setting and was

transferred to a Warrior Transition Unit.    She was discharged from the Army in April 2018, and

currently resides in Houston.

        She still suffers radiating pain in her leg and pain in her back. She has difficulty standing

for long periods of time. She has post-concussive syndrome and associated headaches. She

continues to suffer from PTSD.

        Plaintiff Robert Healy is an individual and resident of the State of Texas.

        Robert is 25 years old and is originally from Florida. He enlisted in the U.S. Army in

2014. He deployed to Afghanistan in September 2016. At Bagram, he worked with Sgt. John

Perry, in logistical support.

        On the date of the incident, Robert recalls walking with his fellow soldiers; he was

towards the back of the group. As a result of the explosion, he was knocked unconscious for a

few moments. He recalls all of his fellow soldiers on the ground and dirt falling to the ground.



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He could not hear and had difficulty seeing. He turned around and walked a few steps and was

grabbed and attended to medically. He recalls a tourniquet being placed on his arm and that his

arm, at the bicep, was bleeding badly.

       He recalls being placed in a car and taken to the hospital.     He was stabilized at the

hospital at Bagram and then flown to Germany for two days. He was then sent to Walter Reed

where he was treated for 30 days. He was then sent to Audie Murphy Memorial VA Hospital,

where he was treated for 15 days. He was discharged to Fort Hood, where he continued to

receive physical and occupational therapy and counseling.     He continued therapy until March

2018, when he was discharged from the Army. He now resides in Austin, Texas.

       Robert sustained several shrapnel wounds all over his body. With respect to one arm, at

one point in his treatment, his doctors considered amputating his arm but were able to save it.

Still, he has permanent nerve damage to his arm and has loss of sensation in his arm and fingers.

He has nerve damage to one leg, from his shin to his ankle. He still has shrapnel in one knee,

which causes ongoing pain. Shrapnel also tore into his abdomen, damaging his colon and

requiring two surgeries. He has been diagnosed with a traumatic brain injury. He suffers from

memory loss. He has issues swallowing from repeated intubation and is being treated at the VA

in Temple, Texas for this.

       Plaintiff Haylee Rodriguez is an individual and resident of the State of Texas.

       Haylee Rodriguez is 25 years old and was born and raised in the Dallas area.          She

enlisted in the U.S. Army in 2014.       She was part of the 154th Composite Transportation

Company, Fort Hood, Texas, and deployed to Afghanistan in September 2016.

       On the morning in question, she recalls walking with her fellow soldiers, closest to Chief

Gabara. Her first memory after the bombing is hearing the screaming of Maggie Bilyeu, and the



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smell of burnt flesh. She sustained injuries primarily to her lower legs and left hip and also

suffered a traumatic brain injury. She was treated at the Bagram ER, then in Germany and finally

in Maryland. She then returned to Fort Hood in January 2017. Currently, she suffers from

numbness in her legs and PTSD-associated symptoms. She continues to participate in physical

and behavior health therapy.

       DEFENDANTS

       Defendant Fluor Corporation, Inc. is a Delaware corporation with its principal place of

business in Irving, Dallas County, Texas. It may be served through its registered agent for

service in Texas: Corporation Service Company dba CSC - Lawyers Incorporating Service

Company, 211 E. 7th Street, Suite 620, Austin, TX 78701-3218.

       Defendant Fluor Enterprises, Inc. is a California corporation with its principal place

of business in Irving, Dallas County, Texas. It may be served through its registered agent for

service in Texas: Corporation Service Company dba CSC - Lawyers Incorporating Service

Company, 211 E. 7th Street, Suite 620, Austin, TX 78701-3218.

        Defendant Fluor Intercontinental, Inc. is a California corporation with its principal

 place of business in Irving, Dallas County, Texas. It may be served through its registered

 agent for service in Texas: Corporation Service Company dba CSC - Lawyers Incorporating

 Service Company, 211 E. 7th Street, Suite 620, Austin, TX 78701-3218.

       Defendant Fluor Government Group, Inc. is a Delaware corporation, with its

principal place of business in either Irving, Dallas County, Texas, or the State of South

Carolina. Although this defendant does and continues to do extensive business in the State of

Texas, it has not designated a registered agent for service in this state. Therefore, the Texas

Secretary of State is deemed its agent for service of this lawsuit. Fluor Government Group,



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Inc. may thus be served with Service of Process through the Texas Secretary of State, P.O.

Box 12079, Austin, Texas 78711-2079, via certified mail. Plaintiffs request that the Secretary

of State forward copies to Fluor Government Group, Inc. via its registered agent in South

Carolina: Corporation Service Company, 1703 Laurel Street, Columbia, SC 29201.

       Defendants Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc.

and Fluor Government Group, Inc. are referred to herein as the “Fluor Defendants.”

       Defendant Alliance Project Services, Inc. is a Delaware corporation, with its principal

place of business in the State of Virginia. Although this defendant does and continues to do

extensive business in the State of Texas, it has not designated a registered agent for service in

this state. Therefore, the Texas Secretary of State is deemed its agent for service of this lawsuit.

Alliance Project Services, Inc. may thus be served with Service of Process through the Texas

Secretary of State, P.O. Box 12079, Austin, Texas 78711-2079, via certified mail. Plaintiffs

request that the Secretary of State forward copies to Alliance Project Services, Inc. via its

President, Tod E. Nickles, 19440 Golf Vista Plaza, Suite 360, Leesburg, VA 20176.

       In the event any parties are misnamed or are not included herein, it is Plaintiffs’

contention that such was a misidentification or misnomer. To the extent any of the defendants

are conducting business pursuant to a trade name or assumed name, then suit is brought against

such Defendant pursuant to TEX. R. CIV. P. 28 and Plaintiffs demand that, upon answer to the

Petition, that Defendants answer in their correct legal and assumed names.

V.     JURISDICTION AND VENUE

       The amount in controversy exceeds the jurisdictional minimum of this Court. Venue is

proper in Dallas County, Texas, because one or more of the defendants has its principal place of

business in Dallas County, Texas.



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VI.    FACTUAL BACKGROUND

       Plaintiffs incorporate the above paragraphs as if set forth in full below.

       In the early morning hours of November 12, 2016, a man named Ahmad Nayeb detonated

 a bomb at the Bagram Air Base in Afghanistan. As a result of the incident, three U.S. soldiers

 were killed (Tyler Iubelt, John Perry and Allan E. Brown), two contractors were killed (Jarrold

 Reeves and Peter Provost), sixteen U.S. soldiers were injured and one Polish solider was

 injured. The incident was a result of the negligence and gross negligence of the Defendants.

 Nayeb was employed by Defendant APS and was generally managed and supervised by the

 Fluor Defendants.

       As part of various agreements with the U.S. government, the Fluor Defendants agreed to

provide certain services at the Base. APS was a subcontractor of the Fluor Defendants. In order

to perform their work, Fluor and APS retained many employees who worked onsite at the Base,

including Nayeb.     At this point, it is clear that the Defendants negligently managed and

supervised Nayeb. As a result, he was able to construct a bomb, using equipment and material

provided by the Defendants. He was also able to roam the Base unsupervised, despite Fluor’s

contractual agreement to monitor and escort him on the Base, and to ensure he left the Base

when his work shift ended.

       The incident has absolutely zero to do with the U.S. Government’s provision of security

on the Base. The U.S. Army did not have complete, direct, or actual control over the supervision

of Nayeb – Defendants did. The U.S. Army did not direct Defendants in any way with respect to

their negligent retention, management, and supervision of Nayeb.




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       Any attempt by Defendants to blame the U.S. Army or any other U.S. governmental

entity for this tragedy would be shameful.          This incident was completely the result of

Defendants’ negligence and gross negligence.

       In the months leading up to the incident, Nayeb worked at Fluor’s “HAZMAT” work

center. For much of the time, he was unsupervised by the Defendants. At times, he had

wandered away from his worksite, and was unaccounted for. He had been caught doing personal

work during work hours. He had been caught sleeping on the job.

       Despite this, Defendants did not fire Nayeb, but instead retained him. It does not appear

that he was ever reprimanded for his poor work performance. As a result of Defendants’

negligence, Nayeb was allowed to keep his job, remain on the Base and was permitted to

continue his efforts to build, and ultimately detonate, a bomb.        The U.S. Army had no

involvement in the hiring, managing, supervising or retaining Nayeb.

       Defendants also allowed Nayeb to check out certain tools and equipment, including tools

and equipment that were not remotely necessary for his job. The evidence will show that Nayeb

checked out a “multimeter” at least nine times in the three months before the incident. A

multimeter is a tool used to measure electrical voltage, current, and resistance. Nayeb had no

need to use a multimeter for his actual job. Instead, he used this multimeter to build a bomb.

Nayeb used other material from the Fluor worksite to construct the bomb.            Defendants

negligently provided Nayeb with access to tools and materials used to construct the bomb. The

U.S. Army had no involvement in the decision to allow Nayeb access to these tools and

materials.

       Defendants were also responsible for transporting their employees on the Base. Workers

like Nayeb were required to be taken from the Base entry point directly to their work area, and



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then back to the entry point at the end of their shift. However, Defendants failed to do this, with

respect to Nayeb. Defendants’ negligence and gross negligence allowed Nayeb to travel alone

towards the Disney Clamshell with a bomb on November 11, 2016, and to ultimately detonate

the bomb. The U.S. Army had no involvement in the failure to properly escort Nayeb.

        Defendant’s acts and omissions allowed Nayeb to construct and detonate a bomb

 which killed five people and grievously injured seventeen more.

V.     CAUSES OF ACTION AGAINST FLUOR DEFENDANTS

       NEGLIGENCE/GROSS NEGLIGENCE

       Plaintiffs incorporate the above paragraphs as if set forth in full below.

       The Fluor Defendants owed the Decedents and the Survivors a duty of ordinary care. On

the lead up to the explosion, the Fluor Defendants, by and through their officers, employees,

agents and representatives, committed acts of omission and commission, which collectively and

severally constituted negligence and gross negligence. The Fluor Defendants’ imprudent acts

and omissions included, but were not limited to:

           1. failing to use ordinary care in employing, supervising, managing and/or retaining
              Nayeb;

           2. failing to properly escort Nayeb to and from his work station and the exit point of
              the Base;

           3. failing to control access of its equipment and material;

           4. negligently permitting Nayeb access to tool and equipment; and

           5. such other acts of negligence and gross negligence as will be shown at trial.

       Said acts of negligence and gross negligence were the proximate cause of the injuries and

damages sustained by the Plaintiffs.

       Further, the Fluor Defendants actions were knowing, reckless, and/or malicious and,

when viewed objectively from the Fluor Defendants’ standpoint, involve an extreme degree of

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risk considering the probability and magnitude of potential harm to others.              The Fluor

Defendants had subjective awareness of the risk involved, but nevertheless proceeded in

conscious indifference to the rights, safety and/or welfare of others. Therefore, Plaintiffs seek

punitive damages against the Fluor Defendants

VI.    DAMAGES AGAINST THE FLUOR DEFENDANTS

       Plaintiffs incorporate the previous allegations.

       A.      Family of PFC Tyler Iubelt

       Shelby Iubelt is the surviving spouse of PFC Tyler Iubelt. She asserts claims individually

and on behalf of the estate of Tyler Iubelt, and as next friend of V.I., her child with Tyler Iubelt.

Charlotte Loquasto is the surviving mother of Tyler Iubelt. Michael Iubelt is the surviving father

of Tyler Iubelt.

       On behalf of the Estate of Tyler Iubelt, Plaintiffs assert a survival cause of action against

the Fluor Defendants. Plaintiffs are either an heir at law or representative of the Estate of Tyler

Iubelt and assert such claim for all damages that the Estate may be justly entitled because of the

wrongful conduct of the Fluor Defendants, including but not limited to damages for conscious

pain and suffering, torment, disfigurement, and mental anguish.

       Plaintiffs also assert a wrongful death cause of action against the Fluor Defendants.

Plaintiffs are the spouse, parents, and child of Tyler Iubelt. Plaintiffs seek any and all wrongful

death damages to which they may be entitled, including but not limited to grief, bereavement,

torment, mental anguish, and pecuniary loss, past and future.

       B.      Family of Staff Sgt. John Perry

       Julianne Perry is the surviving spouse of Staff Sgt. John Perry, deceased. She brings

claims individually, on behalf of the estate of John Perry and as next friend of her children with



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John Perry, L.P. and G.P., minors. Kathleen Perry is the surviving mother of John Perry.

Stewart Perry is the surviving father of John Perry.

       On behalf of the Estate of John Perry, Plaintiffs assert a survival cause of action against

the Fluor Defendants. Plaintiffs are either an heir at law or representative of the Estate of John

Perry, and assert such claim for all damages that the Estate may be justly entitled because of the

wrongful conduct of the Fluor Defendants, including but not limited to damages for conscious

pain and suffering, torment, disfigurement, and mental anguish.

       Plaintiffs also assert a wrongful death cause of action against the Fluor Defendants.

Plaintiffs are the spouse, parents and children of John Perry. Plaintiffs seek any and all wrongful

death damages to which they may be entitled, including but not limited to grief, bereavement,

torment, mental anguish, and pecuniary loss, past and future.

       C.      Family of SFC Allan E. Brown

       Marissa Brown, is the surviving spouse of Sgt. First Class Allan E. Brown, deceased.

She brings claims individually and on behalf of the estate of Allan E. Brown.

       On behalf of the Estate of Allan E. Brown, Plaintiff asserts a survival cause of action

against the Fluor Defendants. Plaintiff is the either an heir at law or representative of the Estate

of Allan E. Brown, and asserts such claim for all damages that the Estate may be justly entitled

because of the wrongful conduct of the Fluor Defendants, including but not limited to damages

for conscious pain and suffering, torment, disfigurement, and mental anguish.

       Plaintiff also asserts a wrongful death cause of action against the Fluor Defendants.

Plaintiff is the spouse of Allan E. Brown. Plaintiff seeks any and all wrongful death damages to

which she may be entitled, including but not limited to grief, bereavement, torment, mental

anguish, and pecuniary loss, past and future.



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       D.      Family of Peter Provost

       Gail Provost is the surviving spouse of Peter Provost, deceased. Meghan Hollingsworth

is the surviving daughter of Peter Provost. Sarah Peterson is the surviving daughter of Peter

Provost. Brian Provost is the surviving son of Peter Provost. Spencer Provost is the surviving

son of Peter Provost.

       These Plaintiffs are each the heirs at body of the Decedent Peter Provost. Thus, and

pursuant to Section 408.001(b) of the Texas Labor Code, and in accordance with Texas law,

these Plaintiffs (in their individual capacity) seek exemplary damages against the Fluor

Defendants for their gross negligence in bringing about, causing or contributing to the death of

Peter Provost, with exemplary damages being assessed against the Fluor Defendants, in

accordance with the relevant factors established under Texas law and as determined by a jury.

       E.      Family of Jarrold Reeves

       Katrina Reeves is the surviving spouse of Col. Jarrold Reeves (Ret), deceased. She

brings claims individually and as next friend of J.R., minor daughter of Jarrold Reeves. Summer

Dunn is the surviving daughter of Jarrold Reeves. Hannah Mason is the surviving daughter of

Jarrold Reeves. Mallory Reeves is the surviving daughter of Jarrold Reeves.

       Plaintiffs are each the heirs at body of the Decedent Jarrold Reeves. Thus, and pursuant

to Section 408.001(b) of the Texas Labor Code, and in accordance with Texas law, these

Plaintiffs (in their individual capacity) seek exemplary damages against the Fluor Defendants for

their gross negligence in bringing about, causing or contributing to the death of Jarrold Reeves,

with exemplary damages being assessed against the Fluor Defendants, in accordance with the

relevant factors established under Texas law and as determined by a jury.




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         F.     Survivors

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Chris Colovita has incurred one or more of the following categories of damages:

conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Samuel Gabara has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Lakeia Stokes has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.




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         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Maggie Bilyeu has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff India Sellers has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Addie Ford has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Robert Healy has incurred one or more of the following categories of damages:



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Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Haylee Rodriguez has incurred one or more of the following categories of

damages: Conscious physical and mental pain, and suffering and anguish, past and future;

physical impairment, past and future; loss of enjoyment of life and peace of mind, past and

future; reasonable and necessary medical, counseling, psychiatric, therapeutic and related

expenses, past and future; loss of earnings and earning capacity; and such other damages that

will be shown at trial.

         Plaintiffs also seek exemplary damages in an amount within the jurisdictional limits of

this Court.

VII.     CAUSES OF ACTION AGAINST DEFENDANT APS

         NEGLIGENCE/GROSS NEGLIGENCE

         Plaintiffs incorporate the above paragraphs as if set forth in full below.

         Defendant APS owed the Decedents and the Survivors a duty of ordinary care. On the

lead-up to the explosion, Defendant APS, by and through its officers, employees, agents, and

representatives, committed acts of omission and commission, which collectively and severally

constituted negligence and gross negligence. Defendant APS’ imprudent acts and omissions

included, but were not limited to:

         1. failing to use ordinary care in employing, supervising, managing and/or retaining
            Nayeb;

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       2. failing to properly escort Nayeb to and from his work station and the exit point of the
          Base;

       3. failing to control access of its equipment and material;

       4. negligently permitting Nayeb access to tool and equipment; and

       5. such other acts of negligence and gross negligence which will be shown at trial.

       Said acts of negligence and gross negligence were the proximate cause of the injuries and

damages sustained by the Plaintiffs.

       Further, Defendant APS’ actions were knowing, reckless, and/or malicious and, when

viewed objectively from the Defendant APS’ standpoint, involved an extreme degree of risk

considering the probability and magnitude of potential harm to others.         Defendant APS had

subjective awareness of the risk involved, but nevertheless proceeded in conscious indifference

to the rights, safety and/or welfare of others. Therefore, Plaintiffs seek punitive damages against

Defendant APS.

VIII. DAMAGES AGAINST APS

       Plaintiffs incorporate the previous allegations.

        A.     Family of PFC Tyler Iubelt

       Shelby Iubelt is the surviving spouse of PFC Tyler Iubelt. She asserts claims individually

and on behalf of the estate of Tyler Iubelt, and as next friend of V.I., her child with Tyler Iubelt.

Charlotte Loquasto is the surviving mother of Tyler Iubelt. Michael Iubelt is the surviving father

of Tyler Iubelt.

       On behalf of the Estate of Tyler Iubelt, Plaintiffs assert a survival cause of action against

Defendant APS.      Plaintiffs are either an heir at law or representative of the Estate of Tyler

Iubelt, and assert such claim for all damages that the Estate may be justly entitled because of the



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wrongful conduct of Defendant APS, including but not limited to damages for conscious pain

and suffering, torment, disfigurement, and mental anguish.

       Plaintiffs also assert a wrongful death cause of action against Defendant APS. Plaintiffs

are the spouse, parents and child of Tyler Iubelt. Plaintiffs seek any and all wrongful death

damages to which they may be entitled, including but not limited to grief, bereavement, torment,

mental anguish, and pecuniary loss, past and future.

       B.      Family of Staff Sgt. John Perry

       Plaintiff Julianne Perry is the surviving spouse of Staff Sgt. John Perry, deceased. She

brings claims individually, on behalf of the estate of John Perry and as next friend of their

children with John Perry, L.P. and G.P., minors. Kathleen Perry is the surviving mother of John

Perry. Stewart Perry is the surviving father of John Perry.

       On behalf of the Estate of John Perry, Plaintiffs assert a survival cause of action against

Defendant APS. Plaintiffs are either an heir at law or representative of the Estate of John Perry,

and assert such claim for all damages that the Estate may be justly entitled because of the

wrongful conduct of Defendant APS, including but not limited to damages for conscious pain

and suffering, torment, disfigurement, and mental anguish.

       Plaintiffs also assert a wrongful death cause of action against Defendant APS. Plaintiffs

are the spouse, parents and children of John Perry. Plaintiffs seek any and all wrongful death

damages to which they may be entitled, including but not limited to grief, bereavement, torment,

mental anguish, and pecuniary loss, past and future.

       C.      Family of SFC Allan E. Brown

       Plaintiff Marissa Brown, is the surviving spouse of Sgt. First Class Allan E. Brown,

deceased. She brings claims individually and on behalf of the estate of Allan E. Brown.



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       On behalf of the Estate of Allan E. Brown, Plaintiff asserts a survival cause of action

against Defendant APS.     Plaintiff is the heir at law or representative of the Estate of Allan E.

Brown and asserts such claim for all damages that the Estate may be justly entitled because of

the wrongful conduct of Defendant APS, including but not limited to damages for conscious pain

and suffering, torment, disfigurement, and mental anguish.

       Plaintiff also asserts a wrongful death cause of action against Defendant APS. Plaintiff is

the spouse of Allan E. Brown. Plaintiff seeks any and all wrongful death damages to which she

may be entitled, including but not limited to grief, bereavement, torment, mental anguish, and

pecuniary loss, past and future.

       D.      Family of Peter Provost

       Plaintiff Gail Provost, is the surviving spouse of Peter Provost, deceased. She brings

claims individually and on behalf of the estate of Peter Provost.    Meghan Hollingsworth is the

surviving daughter of Peter Provost. Sarah Peterson is the surviving daughter of Peter Provost.

Brian Provost is the surviving son of Peter Provost.     Spencer Provost is the surviving son of

Peter Provost. Louis Provost is the surviving father of Peter Provost. Gertrude Provost is the

surviving mother of Peter Provost.

       On behalf of the Estate of Peter Provost, these Plaintiffs assert a survival cause of action

against Defendant APS.      Plaintiffs are either an heir at law or representative of the Estate of

Peter Provost, and assert such claim for all damages that the Estate may be justly entitled

because of the wrongful conduct of Defendant APS, including but not limited to damages for

conscious pain and suffering, torment, disfigurement, and mental anguish.

       These Plaintiffs also assert a wrongful death cause of action against Defendant APS.

Plaintiffs are the spouse, parents and children of Peter Provost. Plaintiffs seek any and all



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wrongful death damages to which they may be entitled, including but not limited to grief,

bereavement, torment, mental anguish, and pecuniary loss, past and future.

        E.     Family of Jarrold Reeves

        Katrina Reeves is the surviving spouse of Col. Jarrold Reeves (Ret), deceased. She

brings claims individually, on behalf of the estate of Jarrold Reeves, and as next friend of J.R., a

minor, daughter of Jarrold Reeves. Summer Dunn is the surviving daughter of Jarrold Reeves.

Plaintiff Hannah Mason is the surviving daughter of Jarrold Reeves. Mallory Reeves is the

surviving daughter of Jarrold Reeves.       Charlotte Reeves is the surviving mother of Jarrold

Reeves.

        On behalf of the Estate of Jarrold Reeves, these Plaintiffs assert a survival cause of action

against Defendant APS.      Plaintiffs are either an heir at law or representative of the Estate of

Jarrold Reeves, and assert such claim for all damages that the Estate may be justly entitled

because of the wrongful conduct of Defendant APS, including but not limited to damages for

conscious pain and suffering, torment, disfigurement, and mental anguish.

        These Plaintiffs also assert a wrongful death cause of action against Defendant APS.

Plaintiffs are the spouse, parent and children of Jarrold Reeves. Plaintiffs seek any and all

wrongful death damages to which they may be entitled, including but not limited to grief,

bereavement, torment, mental anguish, and pecuniary loss, past and future.

.       F.     Survivors

        As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Chris Colovita has incurred one or more of the following categories of damages:

conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;



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reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Samuel Gabara has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Lakeia Stokes has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Maggie Bilyeu has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past




                                               35
  Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19              Page 41 of 198 PageID 70



and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff India Sellers has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Addie Ford has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.

         As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Robert Healy has incurred one or more of the following categories of damages:

Conscious physical and mental pain, and suffering and anguish, past and future; physical

impairment, past and future; loss of enjoyment of life and peace of mind, past and future;

reasonable and necessary medical, counseling, psychiatric, therapeutic and related expenses, past

and future; loss of earnings and earning capacity; and such other damages that will be shown at

trial.



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       As a direct and proximate result of the Fluor Defendants’ acts and omissions described

above, Plaintiff Haylee Rodriguez has incurred one or more of the following categories of

damages: Conscious physical and mental pain, and suffering and anguish, past and future;

physical impairment, past and future; loss of enjoyment of life and peace of mind, past and

future; reasonable and necessary medical, counseling, psychiatric, therapeutic and related

expenses, past and future; loss of earnings and earning capacity; and such other damages that

will be shown at trial.

       Plaintiffs also seek exemplary damages in an amount within the jurisdictional limits of

this Court.

IX.    PRESERVATION OF EVIDENCE

       Plaintiffs request and demand that each Defendant preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

damages resulting therefrom, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes, business or medical records, incident reports, bills, telephone call

slips or records, correspondence, facsimiles, email, voicemail, text messages, any evidence

involving the incident in question, and any electronic image or information related to the

referenced incident or damages.

X.     REQUEST FOR DISCLOSURE

       Pursuant to TEX. R. CIV. P. 194, Plaintiffs request that each defendant disclose within

fifty days of service of this Request, the information and/or material described in Rule 194.2.

XI.    DEMAND FOR JURY TRIAL

       Plaintiffs respectfully demand a jury trial and have tendered the appropriate fee.




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                                             PRAYER

       WHEREFORE, Plaintiffs Charlotte Loquasto, Michael Iubelt, Shelby Iubelt, individually,

on behalf of the estate of PFC Tyler Iubelt, and as next friend of V.I., a minor, Julianne Perry,

individually, on behalf of the estate of Staff Sgt. John Perry, deceased, and as next friend of L.P.

and G.P., minors, Kathleen Perry, Stewart Perry, Marissa Brown, individually and on behalf of

the estate of Sgt. First Class Allan E. Brown, deceased, Gail Provost, individually and on behalf

of the estate of Peter Provost, deceased, Meghan Hollingsworth, Sarah Peterson, Brian Provost,

Spencer Provost, Louis Provost, Gertrude Provost, Katrina Reeves, individually and on behalf of

the estate of Col. Jarrold Reeves (Ret.), deceased, and as next friend of J.R., a minor, Summer

Dunn, Hannah Mason, Mallory Reeves, Charlotte Reeves, Chris Colovita, Samuel Gabara,

Lakeia Stokes, Maggie Bilyeu, India Sellers, Addie Ford, Robert Healy and Haylee Rodriguez

file this Original Petition against pray for judgment against Defendants Fluor Corporation, Inc.,

Fluor Enterprises, Inc., Fluor Intercontinental, Inc., Fluor Government Group, Inc., and Alliance

Project Services, Inc. for actual damages for pecuniary losses, mental anguish, loss of

companionship and society, loss of inheritance, pain and mental anguish, medical expenses and

all such other damages they are justly entitled, plus exemplary damages; plus pre- judgment and

post-judgment interest as allowed by law; all costs of court; and all such other and further relief,

at law and in equity, to which Plaintiffs may be justly entitled.




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Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19    Page 44 of 198 PageID 73




                                     Respectfully submitted,

                                     THE BUZBEE LAW FIRM
                                     /s/ Anthony G. Buzbee
                                     Anthony G. Buzbee
                                     State Bar No. 24001820
                                     tbuzbee@txattorneys.com
                                     Peter K. Taaffe
                                     State Bar No. 24003029
                                     ptaaffe@txattorneys.com
                                     JP Morgan Chase Tower
                                     600 Travis, Ste. 7300
                                     Houston, Texas 77002
                                     Telephone: (713) 223-5393
                                     Facsimile: (713) 223-5909

                                     David George
                                     Texas Bar No. 00793212
                                     BAKER•WOTRING LLP
                                     700 JPMorgan Chase Tower
                                     600 Travis Street
                                     Houston, Texas 77002
                                     Telephone: (713) 980-1700
                                     Fax: (713) 980-1701
                                     dgeorge@bakerwotring.com

                                     ATTORNEYS FOR PLAINTIFFS




                                    39
                                                                                                                                           FILED
3 CITS-ESERVE                                                  Christi Underwood
                                                                                                                               DALLAS COUNTY
                                                                                                                               5/14/2019 9:49 AM
          Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19 Page 45 of 198 PageID 74                                               FELICIA PITRE
2 CITS SOS-CERT                   CIVIL PROCESS REQUEST                                                                        DISTRICT CLERK

                           FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                          FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED
                      DC-19-06872
   CASE NUMBER:                                                 CURRENT COURT: DALLAS COUNTY DISTRICT COURT
                       --------------------------                                    -------------------------------------


   TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types):            ~~~_!~-~~£~~_Q!3_!~J~~~-~~-°'!:_!!_~~---------------­
   FILE DATE OF MOTION:           5.14.19
                                                                     Month/        Day/     Year

   SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
   1.   NAME:     Fluor Corporation, Inc.
                  -------------------------------------------------------------------------------------------

        ADDRESS:       211 E. 7th Street, Suite 620, Austin, TX 78701-3218
        AGENT, (if applicable):   Corporation Service Company dba CSC - Lawyers Incorporating Service Company
                                  --------------------------------------------------------------------------------

   TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): -Citation
                                                                          -------------------------------------------

        SERVICE BY (check one):
           D ATTORNEYPICK-UP                             D CONSTABLE
           llJ CIVIL PROCESS SERVER - Authorized Person to Pick-up: ~~~~~~~~~~~~~~---------- Phone: !_'.__~_?_?}_.:-_0~-~
           D MAIL                                        D CERTIFIED MAIL
           D PUBLICATION:
                 Type of Publication: 0 COURTHOUSE DOOR, or
                                      0 NEWSPAPEROFYOURCHOICE:
           D OTHER, explain ___________________________________________________________________________
   ******************************************************************************************************

   ****

   2.   NAME:     Fluor Enterprises, Inc.
                  ----------------~---------~----~----------------~----~----------------~----~------




        ADDRESS:      211 E. 7th Street, Suite 620, Austin, TX 78701-3218
                      ---------~----~---------~--------------------~----~----------------~----~------




        AGENT, (if applicable):   Corporation Service Company dba CSC - Lawyers Incorporating Service Company,
                                  -~----~---------~--------------------~----~----------------~----~------




   TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type):       _9~~1_!_~~--------------------------------­
        SERVICE BY (check one):
           D ATTORNEY PICK-UP                                   D    CONSTABLE

            llJ   CIVIL PROCESS SERVER- Authorized Person to Pick-up: -~~~~~~~_9~~~-~~~~~~~~-             Phone: !_'.__~_?_?}__.:-~~~-~
            D     MAIL                                          D    CERTIFIED MAIL

            D     PUBLICATION:
                    Type of Publication:    0   COURTHOUSE DOOR, or
                                            0   NEWSPAPEROFYOURCHOICE:
            D     OTHER, explain ___________________________________________________________________________



   ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
   NAME: Peter K. Taaffe                                               TEXAS BAR NO./ID NO.     24003029
             -----------------------------------                                               ----------------------------

   MAILING ADDRESS: 600 Travis St. Suite 7300
                           ------------------------------------------------------------------------------------

   PHONE NUMBER:         713                223-5393                          FAXNUMBER:   713-         223-5909
                            area code            phone number                               area code        fax number

   EMAIL ADDRESS: ptaaffe@txattorneys.com
                         --------------------------------------------------------------------------------------



                                                                Page 1 of 2
           Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19 Page 46 of 198 PageID 75
                                   CIVIL PROCESS REQUEST

                        FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                       FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER:                                                 CURRENT COURT: DALLAS COUNTY DISTRICT COURT
                                                                                  -------------------------------------


TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types):            ~~~_!~-~~£~~Q_!3_!~J~~~-~~_°!:_!!_~~---------------­
FILE DATE OF MOTION:           5.14.19
                                                                  Month/        Day/     Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
3.     NAME: Fluor Intercontinental, Inc.
                -------------------------------------------------------------------------------------------

     ADDRESS:       211 E. 7th Street, Suite 620, Austin, TX 78701-3218
     AGENT, (if applicable):   Corporation Service Company dba CSC - Lawyers Incorporating Service Company
                               --------------------------------------------------------------------------------

TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse/or specific type): -Citation
                                                                      -------------------------------------------

     SERVICE BY (check one):
        D ATIORNEYPICK-UP                            D CONSTABLE
        llJ CIVIL PROCESS SERVER- Authorized Person to Pick-up: ~~~~~~~~~~~~~~---------- Phone: !_~~_3_?}__:-_0~-~
         D     MAIL                                          D    CERTIFIED MAIL
         D     PUBLICATION:
                 Type of Publication:    0   COURTHOUSE DOOR, or
                                         0   NEWSPAPER OF YOUR CHOICE:
         D     OTHER, explain

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4.     NAME: Fluor Government Group, Inc.
                -------~----~----~---------~----~----------------~----~----------------~----~----




     ADDRESS:

     AGENT, (if applicable):   _! e~~~_Se_9_r:~!~~-9!~~~~~'2~_§_~~-1_~Q~~~~us~~~J e~~~_Z_~~~~-=~~!-~-------------
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): -~~~~_9_':1_________________________________
     SERVICE BY (check one):
        D ATTORNEYPICK-UP                                    D    CONSTABLE
         llJ   CIVIL PROCESS SERVER- Authorized Person to Pick-up: -~~~_r:l__!:_~~~_!:_~~!~~-~~-~~- Phone: !_~~_?_?}__.:-~~~-~
         D     MAIL                                          D    CERTIFIED MAIL

         D     PUBLICATION:
                 Type of Publication:    0   COURTHOUSE DOOR, or
                                         0   NEWSPAPEROFYOURCHOICE:
         D     OTHER, explain



ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: Peter K. Taaffe                                               TEXAS BAR NO./ID NO.     24003029
          -----------------------------------                                               ----------------------------

MAILING ADDRESS: 600 Travis St. Suite 7300
                        ------------------------------------------------------------------------------------

PHONE NUMBER:         713                223-5393                          FAXNUMBER:   713-         223-5909
                         area code            phone number                               area code       fax number

EMAIL ADDRESS: ptaaffe@txattorneys.com
                      --------------------------------------------------------------------------------------



                                                             Page 1 of 2
           Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19 Page 47 of 198 PageID 76
                                   CIVIL PROCESS REQUEST

                        FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                       FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER:                                                  CURRENT COURT: DALLAS COUNTY DISTRICT COURT
                                                                                  -------------------------------------

TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types):            _!:_~~_!~_°1]££~~Q_~_!~J~-~~-~~-"!:_!!_~~---------------­
FILE DATE OF MOTION:           5.14.19
                               --------------------------------------------------------------------------------
                                                                   Month/       Day/     Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
5.     NAME: Alliance Project Services, Inc.
                -------------------------------------------------------------------------------------------
     ADDRESS:

                    _!~~~~-~~_9~~!~~9L~!_a-~~J::_C2~_§_~~-1_~Q~~~~~~~~~_I__~~~~_Z_~~~~_:~~!-~---------------
     AGENT, (if applicable):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): -~~~~9~-------------------------------------
     SERVICE BY (check one):
        D ATTORNEYPICK-UP                            D CONSTABLE
        llJ CIVIL PROCESS SERVER- Authorized Person to Pick-up: ~~~r!__~~~5!._~~~~_!:_~---------- Phone: 713-227-3353
        D MAIL                                       D CERTIFIED MAIL
        D PUBLICATION:
              Type of Publication: 0 COURTHOUSE DOOR, or
                                   0 NEWSPAPEROFYOURCHOICE:
        D OTHER, explain _____________________________________________________________~----~----~---
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6.     NAME:

     ADDRESS:

     AGENT, (if applicable): --------------------------------------------------------------------------------
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): --------------------------------------------
     SERVICE BY (check one):
        D ATTORNEY PICK-UP                                    D    CONSTABLE
         0     CIVIL PROCESS SERVER- Authorized Person to Pick-up: _______________________             Phone:
         D     MAIL                                           D    CERTIFIED MAIL

         D     PUBLICATION:
                 Type of Publication:     0   COURTHOUSE DOOR, or
                                          0   NEWSPAPEROFYOURCHOICE:
         D     OTHER, explain _____________________________________________________________~----~----~---



ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: Peter K. Taaffe                                               TEXAS BAR NO./ID NO.     24003029
          ------~------~-------~------~------~--~                                           ----------------------------
MAILING ADDRESS: 600 Travis St. Suite 7300
                        ------------------------------------------------------------------------------------
PHONE NUMB ER:        713                223-5393                          FAXNUMBER:   713-         223-5909
                      ----------         -----------------------                        --------     ----------------------
                         area code             phone number                              area code        fax number

EMAIL ADDRESS: ptaaffe@txattorneys.com
                      --------------------------------------------------------------------------------------



                                                              Page 1 of2
                              Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                              Page 48 of 198 PageID 77



FORM NO. 353-3 - CITATION                                                                                                                                       ESERVE
THE STATE OF TEXAS                                                                                                                                          CITATION
To:        FLUOR CORPORATION, INC.
           BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
           DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY                                                                                                   DC-19-06872
           211E7TH ST STE 620
           AUSTIN TX 78701-3218
                                                                                                                                                     CHARLOTTE LOQUASTO, et al
GREETINGS:
                                                                                                                                                               vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were         FLUOR CORPORATION, INC., et al
served this citation and petition, a default judgment may be taken against you. Your answer should be addressed to the clerk of the 14th District
Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being                                                                                                                                        ISSUED THIS
 CHARLOTTE LOQUASTO, MICHAEL IUBELT, SHELBY IUBELT,INDIVIDUALLY, ON BEHALF OF THE ESTATE OF PFC                                                         16th day of May, 2019
TYLER IUBELT, AND AS NEXT FRIEND OF V.I., MINOR, JULIANNE PERRY, INDIVIDUALLY, ON BEHALF OF THE ESTATE
OF STAFF SGT. JOHN PERRY, DECEASED, AND AS NEXT FRIEND OF L.P. AND G.P., MINORS, KATHLEEN PERRY,
STEWART PERRY, MARISSA BROWN, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF SGT. FIRST CLASS ALLAN E.
BROWN, DECEASED, GAIL PROVOST, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF PETER PROVOST,                                                                 FELICIA PITRE
DECEASED, MEGHAN HOLLINGSWORTH, SARAH PETERSON, BRIAN PROVOST, SPENCER PROVOST, LOUIS PROVOST,
GERTRUDE PROVOST, KATRINA REEVES, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF COL. JARROLD REEVES
                                                                                                                                                        Clerk District Courts,
(RET.), DECEASED, AND AS NEXT FRIEND OF J.R., A MINOR, SUMMER DUNN, HANNAH MASON, MALLORY REEVES,                                                       Dallas County, Texas
CHARLOTTE REEVES, CHRIS COLOVITA, SAMUEL GABARA, LAKEIA STOKES, MAGGIE BILYEU, INDIA SELLERS, ADDIE
FORD, ROBERT HEALY and HAYLEE RODRIGUEZ

Filed in said Court 14th day of May, 2019 against                                                                                                     By: GAY LANE, Deputy
FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,FLUOR GOVERNMENT GROUP, INC., FLUOR
INTERCONTINENTAL, INC. ALLIANCE PROJECT SERVICES, INC
                                                                                                                                                        Attorney for Plaintiff
For Suit, said suit being numbered DC-19-06872, the nature of which demand is as follows:
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE, a copy of which accompanies this
                                                                                                                                                        ANTHONY G BUZBEE
citation. If this citation is not served, it shall be returned unexecuted.                                                                           JP MORGAN CHASE TOWER
                                                                                                                                                         600 TRAVIS STE 7300
                                                County Texas.
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas,                                                                                      HOUSTON             TX 77002
Given under my hand and the Seal of said Court at office this 16th day of May, 2019.                                                                         713-223-5393

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                                        DALLAS COUNTY
                                                                                                                                                      · RVICE   S
                                 By~-~~-1_._~_uv_,~--~~~~~~~~·'Deputy                                                                                  NOT PAID
                                         GAY LANE
                           Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                     Page 49 of 198 PageID 78




                                                                       OFFICER'S RETURN
Case No. : DC-19-06872
Court No.14th District Court
Style: CHARLOTTE LOQUASTO, et al
vs.
FLUOR CORPORATION, INC., et al
Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,
within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,
20_______________, by delivering to the within named
____________________________________________________________________________________________________
____________________________________________________________________________________________________________
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.


                               For serving Citation         $__________                    _______________________________________________
                               For mileage                   $__________                   of__________________County, ____________________
                               For Notary                    $__________                   By______________________________________Deputy
                                                              (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,
to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_________________
                              Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                              Page 50 of 198 PageID 79



FORM NO. 353-3 - CITATION                                                                                                                                       ESERVE
THE STATE OF TEXAS                                                                                                                                          CITATION
To:        FLUOR ENTERPRISES, INC
           BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
           DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY                                                                                                   DC-19-06872
           211E7TH ST STE 620
           AUSTIN TX 78701-3218
                                                                                                                                                     CHARLOTTE LOQUASTO, et al
GREETINGS:
                                                                                                                                                               vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were         FLUOR CORPORATION, INC., et al
served this citation and petition, a default judgment may be taken against you. Your answer should be addressed to the clerk of the 14th District
Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being                                                                                                                                        ISSUED THIS
 CHARLOTTE LOQUASTO, MICHAEL IUBELT, SHELBY IUBELT,INDIVIDUALLY, ON BEHALF OF THE ESTATE OF PFC                                                         16th day of May, 2019
TYLER IUBELT, AND AS NEXT FRIEND OF V.I., MINOR, JULIANNE PERRY, INDIVIDUALLY, ON BEHALF OF THE ESTATE
OF STAFF SGT. JOHN PERRY, DECEASED, AND AS NEXT FRIEND OF L.P. AND G.P., MINORS, KATHLEEN PERRY,
STEWART PERRY, MARISSA BROWN, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF SGT. FIRST CLASS ALLAN E.
BROWN, DECEASED, GAIL PROVOST, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF PETER PROVOST,                                                                 FELICIA PITRE
DECEASED, MEGHAN HOLLINGSWORTH, SARAH PETERSON, BRIAN PROVOST, SPENCER PROVOST, LOUIS PROVOST,
GERTRUDE PROVOST, KATRINA REEVES, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF COL. JARROLD REEVES
                                                                                                                                                        Clerk District Courts,
(RET.), DECEASED, AND AS NEXT FRIEND OF J.R., A MINOR, SUMMER DUNN, HANNAH MASON, MALLORY REEVES,                                                       Dallas County, Texas
CHARLOTTE REEVES, CHRIS COLOVITA, SAMUEL GABARA, LAKEIA STOKES, MAGGIE BILYEU, INDIA SELLERS, ADDIE
FORD, ROBERT HEALY and HAYLEE RODRIGUEZ

Filed in said Court 14th day of May, 2019 against                                                                                                     By: GAY LANE, Deputy
FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,FLUOR GOVERNMENT GROUP, INC., FLUOR
INTERCONTINENTAL, INC. ALLIANCE PROJECT SERVICES, INC
                                                                                                                                                        Attorney for Plaintiff
For Suit, said suit being numbered DC-19-06872, the nature of which demand is as follows:
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE, a copy of which accompanies this
                                                                                                                                                        ANTHONY G BUZBEE
citation. If this citation is not served, it shall be returned unexecuted.                                                                           JP MORGAN CHASE TOWER
                                                                                                                                                         600 TRAVIS STE 7300
                                                County Texas.
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas,                                                                                      HOUSTON             TX 77002
Given under my hand and the Seal of said Court at office this 16th day of May, 2019.                                                                         713-223-5393

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                                        DALLAS COUNTY
                                                                                                                                                      · RVICE   S
                                 By~-~~-1_._~_uv_,~--~~~~~~~~·'Deputy                                                                                  NOT PAID
                                         GAY LANE
                           Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                     Page 51 of 198 PageID 80




                                                                       OFFICER'S RETURN
Case No. : DC-19-06872
Court No.14th District Court
Style: CHARLOTTE LOQUASTO, et al
vs.
FLUOR CORPORATION, INC., et al
Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,
within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,
20_______________, by delivering to the within named
____________________________________________________________________________________________________
____________________________________________________________________________________________________________
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.


                               For serving Citation         $__________                    _______________________________________________
                               For mileage                   $__________                   of__________________County, ____________________
                               For Notary                    $__________                   By______________________________________Deputy
                                                              (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,
to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_________________
                              Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                              Page 52 of 198 PageID 81



FORM NO. 353-3 - CITATION                                                                                                                                       ESERVE
THE STATE OF TEXAS                                                                                                                                          CITATION
To:        FLUORINTERCONTINENTALINC
           BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
           DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY                                                                                                   DC-19-06872
           211E7TH ST STE 620
           AUSTIN TX 78701-3218
                                                                                                                                                     CHARLOTTE LOQUASTO, et al
GREETINGS:
                                                                                                                                                               vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were         FLUOR CORPORATION, INC., et al
served this citation and petition, a default judgment may be taken against you. Your answer should be addressed to the clerk of the 14th District
Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being                                                                                                                                        ISSUED THIS
 CHARLOTTE LOQUASTO, MICHAEL IUBELT, SHELBY IUBELT,INDIVIDUALLY, ON BEHALF OF THE ESTATE OF PFC                                                         16th day of May, 2019
TYLER IUBELT, AND AS NEXT FRIEND OF V.I., MINOR, JULIANNE PERRY, INDIVIDUALLY, ON BEHALF OF THE ESTATE
OF STAFF SGT. JOHN PERRY, DECEASED, AND AS NEXT FRIEND OF L.P. AND G.P., MINORS, KATHLEEN PERRY,
STEWART PERRY, MARISSA BROWN, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF SGT. FIRST CLASS ALLAN E.
BROWN, DECEASED, GAIL PROVOST, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF PETER PROVOST,                                                                 FELICIA PITRE
DECEASED, MEGHAN HOLLINGSWORTH, SARAH PETERSON, BRIAN PROVOST, SPENCER PROVOST, LOUIS PROVOST,
GERTRUDE PROVOST, KATRINA REEVES, INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF COL. JARROLD REEVES
                                                                                                                                                        Clerk District Courts,
(RET.), DECEASED, AND AS NEXT FRIEND OF J.R., A MINOR, SUMMER DUNN, HANNAH MASON, MALLORY REEVES,                                                       Dallas County, Texas
CHARLOTTE REEVES, CHRIS COLOVITA, SAMUEL GABARA, LAKEIA STOKES, MAGGIE BILYEU, INDIA SELLERS, ADDIE
FORD, ROBERT HEALY and HAYLEE RODRIGUEZ

Filed in said Court 14th day of May, 2019 against                                                                                                     By: GAY LANE, Deputy
FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,FLUOR GOVERNMENT GROUP, INC., FLUOR
INTERCONTINENTAL, INC. ALLIANCE PROJECT SERVICES, INC
                                                                                                                                                        Attorney for Plaintiff
For Suit, said suit being numbered DC-19-06872, the nature of which demand is as follows:
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE, a copy of which accompanies this
                                                                                                                                                        ANTHONY G BUZBEE
citation. If this citation is not served, it shall be returned unexecuted.                                                                           JP MORGAN CHASE TOWER
                                                                                                                                                         600 TRAVIS STE 7300
                                                County Texas.
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas,                                                                                      HOUSTON             TX 77002
Given under my hand and the Seal of said Court at office this 16th day of May, 2019.                                                                         713-223-5393

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                                        DALLAS COUNTY
                                                                                                                                                      · RVICE   S
                                 By~-~~-1_._~_uv_,~--~~~~~~~~·'Deputy                                                                                  NOT PAID
                                         GAY LANE
                           Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                     Page 53 of 198 PageID 82




                                                                       OFFICER'S RETURN
Case No. : DC-19-06872
Court No.14th District Court
Style: CHARLOTTE LOQUASTO, et al
vs.
FLUOR CORPORATION, INC., et al
Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,
within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,
20_______________, by delivering to the within named
____________________________________________________________________________________________________
____________________________________________________________________________________________________________
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.


                               For serving Citation         $__________                    _______________________________________________
                               For mileage                   $__________                   of__________________County, ____________________
                               For Notary                    $__________                   By______________________________________Deputy
                                                              (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,
to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_________________
                        Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                                         Page 54 of 198 PageID 83




FORM NO. 3534 C ITAT ION                                                                                                                                      C ERT MA IL (SOS)
THE STATE OF TEXAS

To:        FLUOR GOVERNMENT GROUP, INC.                                                                                                                                         CITAT ION
           BY SERVING T HE SECRETARY OF STATE
           OFFICE OF THE SECRETARY OF STATE
           C ITATIONS UNIT - P.O. BOX 12079
           AUST IN, TEXAS, 78711
                                                                                                                                                                            No.: DC- 19-06872            :J
                                                                                                                                                               C llARLOTTF. LOO UASTO ; MIC HA EL IUBELT;
                                                                                                                                                             SHELB Y IUBELT: JULIANl\E PERRY; KATll LEE~
GREETINGS:                                                                                                                                                    PERRY; STEWA RT PERR\': MARI SSA BROWN;
                                                                                                                                                              GA IL PROVOST; 1\IEGllAN ll O LLI NGSWORTH ;
You have been sued. You may employ an anorney. If you or you r attorney do not tile a written answer wit h the                                               SARA I! PETERSON; BR IAN PROVOST; SPf:NCF.R
c lerk who issued this c itation by I 0 o'clock a.m. of the Monday next following the expirat ion of twenty days after you                                        PROVOST; LO UIS PROVOST; GERTRUDE
were served this citation and petiti on, a defau lt j udgment may be taken agai nst you.                                                                      PROVO ST; KATRINA REF.VF.S; S tlMMER DUNN;
  Your answer should be addressed to the clerk of the 14th District Court at 600 Commerce Street, Dallas Texas, 75202.                                             llANNAH MASON; MA LLORY REEVES;
                                                                                                                                                                 CllARLOTTE RE EVES; C HRI S COLOVITA;
                                                                                                                                                              SA MUE L GA BARA; LAK EIA STOKES; MAGG IE
 Said PLAINTIFF being CllARLOTrE LOQt'ASTO: \llCllAEL 1rnELT: SHEt,tl\ fllBELT: Jt Ll,\;"NEPERR\ :"'' ntLEEN                                                 BILYEU; INDIA SELLERS; ADDI E FORD; ROBERT
 PERR\': Sf EWART PERR\: \t/\RI SS \ BllOWN: GAIL l'll0 \'0~ r: \I EGllA'I llOLLl"GS\\ Oll 111: SARAHPETERSON: llRIA'\                                                llEALE\'; HA VI.EE RODRIGUEZ
 PRO\'OS-1: Sl' El'C"ER PRO\'O!>I: t.Ot IS l'RO\'C)ST: GER1 Rt llt. l'llO\.OST: ..,,·r111:-;,, ll f. t:\ 't~'i: Sl \l\lt::ll or:-;:-: llA'\'\All \ IASO'\:
 MAI.I.OR\ ll(f.\'t~'i: ('ll ARl.Orrr.11u:n :s: CllRIS COl.O\'l IA: s \ ~fll •:L GABAIV\: l.AKt:IAS l OKES: MAGG IE 1111 .\ El : l'\OIA                                               vs.
 Sf.1.1.t:llS: ADOI•: FORO: llOHt:RT ll t:ALEY: llAn .n : llOOlllGllt::f.                                                                                           FLUOR CORPORATION, INC.; FLUOR
                                                                                                                                                               f. NTERPRISES. INC.; FLUOR GOVERNMENT
Filed in said Court 14th day of May, 2019 against                                                                                                             G ltOlJP. INC.; ALLIANC E PRO.JECT SERV ICES,
                                                                                                                                                                  INC.; FLUOR INTERCONTI NENTAL. INC.
 FLUOR CORPORATION, INC.
 FLUOR ENTERPRISES, INC.
 FLUOR GOVERNMENT GROUP, INC.                                                                                                                                               ISSUED
 ALLIA NCE PROJECT SERVICES, INC.                                                                                                                             ON TH IS THE 16TH DAY OF MAY, 2019
 FLUOR I 'TERCONTI NE TAL, INC.
                                                                                                                                                             FELICIA PITRE
 For suit, said suit being numbered DC-19-06872 the nature of wh ich demand is as follows:                                                                   Clerk District Courts.
 Suit On OTHER PERSONAL INJURY etc.                                                                                                                          Dallas County. Texas
served. it shall be returned uncxccu1ed.                                                                                                                      By ANGELA CONEJ O, Deputy

WITNESS: FELICIA PITRE. Clerk of the District Courts of Dallas, County Texas.                                                                                Attorney for: PlaintilT
 Given under my hand and the Seal of said Court at omc7 on th i he 16th day of May, 201                                                                       ANTHO NY G BUZBEE
ATrEST: FELICIA PITRE                                                                                                                                         JP MORGAN CHASE TOWER
Clerk of the District Courts of Dallas ounty, · . s /                                                                                                         600 TRAVIS, STE., 7300
                                                                                                                                                              HOUSTON, T EXAS 77002
                                By                                                                                                                            713-223-5393


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                                                                                                                                                                      n:ES            fEES NOT
                                                                                                                                                                     f AID              f AU)
                   Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                             Page 55 of 198 PageID 84




                                                                            OFFICER'S RETURN
                                                                            FOR I NDI VIDUALS
Cause No. DC-19-06872
Court No: 14th District Cou11
Style: Cl li\RLOrrE LOQUASTO, et al vs. FLUOR CORPORATION. INC., ct al

          Received this Citation the _ _ _ _day of·_ _ _ _ ___. 20                     at __ ___o'clock. Executed at                . within the County of
- - - - - - -- - - - -- - - - -·State of_ _____. on the                                            day of            , 20_ _ , at _ __o'clock, by
deli\ ering to the within named                      - -- - - - - -- - - each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition. having first indorscd on same the date of delivery.
                                                                             ----------000000----------
                                                                            0FFICER'S RETURN
                                                                           FOR CORPORAT IONS
Received this Citation the _ __ _ day of_ _ _ _ __ , 20      at            o'clock    .M. Executed at - -- -- - ' within the County of
- - - - - - - - - - - - - - - - - · State of____-      _--------~~-' on the        -     day of                   . 20_, at                 o'clock                            .M.
by summoning the within named Corporation, - - -- -- - - - by de livering to - - - - -- - - - - - -- - - -
                                                                     President - Vice President - Registered Agent - in person, of the said

a true copy of this citation together with the accompanying copy of PLA INTIFF'S OR IG INAL PETIT ION & REQUEST FOR OISCLOSll Rt:. having first indorscd on same the date of
de livery.
                                                                               --·-·····-000000----·····-

The distance actually traveled by me in serving such process was _ _ _ _ miles and my fees are as follows:            To certify '~hich witness b) my hand.
For Serving Citation     $                               Sheriff_ _ _ _ __ _ _ __ __ _ __
For Mileage              $                               County of_ _ _ __ _ _ _ _ __ _ __
For Notary               $                               State of._ _ _ __ _ _ __ __ __ _
        Total Fees       $                               By_ _ __ _ _ _ _ _ _ _ _ __ __

(Must be verified if served outside the State of Texas)
State of_ _ _ _ _ __ _ _ _ __
County of
         Signed :md sworn to me by the said__ _                             before me this_ _ __
day of _                                    , 20 ___. to certify which witness my hand and seal of office.


                                                  Seal                                                                         State & County of
          FELICIA PITRE
          DISTRICT CLERK                  Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                                                                                                           Page 56 of 198 PageID 85

                                                                                                                                                                                                                           II
          GEORGE L. ALLEN, SR COURTS BU
          600 COMM ERCE ST STE 101
          DALLAS TX 75202-<1604
                                                                                             I 1111
                                                                                                                     9214 8901 0661 5400 0138 2467 89
          RETURN RECEIPT (ELECTRONIC)




          DC-19-06872 FLUOR GOVERNMENT GROUP, INC.
          FLUOR GOVERNMENT GROUP, INC.
          OFFICE OF THE SECRETARY OF STATE
          CITATIONS UNIT
          PO BOX 12079
          AUSTIN, TX 78711-2079




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                     Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                Page 57 of 198 PageID 86




FORM NO. 3534 C ITATION                                                                                                         CERT MA IL (SOS)
THE STATE OF TEXAS

To:      ALLI ANCE PROJECT SERVICES, INC.                                                                                                         crTATION
         BY SERVING THE SECRET ARY OF ST ATE
         OFFICE OF T HE SECRETARY OF STATE
         CITATIONS UN IT- P.O. BOX 12079                                                                                                       No.: OC- 19-06872
         AUSTIN, TEXAS, 787 11                                                                                                   CHARLOTTE LOQ UASTO; MICHAEL IUBELT;
                                                                                                                               SHELBY IUBELT; .J ULIANNE PERRY; K,\THLEEN
                                                                                                                                 PERRY: STEWART PERRY: MARISSA BROWN;
GREETINGS:                                                                                                                      CA IL PllOVOST; MEGHAN HOLLINGSWORTH:
You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with         the          SARAH PETERSON; BRIAN PROVOST; SPENCER
clerk who issued this citation by I 0 o'clock a.m. of the Monday next following the exp iration of twenty days after you           PROVOST ; LOUIS PROVOST; GERTRUDE
were served this citation and petition, a default judgment may be taken against you .                                           PROVOST; KATRI NA REEVES; SUMMER DUNN;
 Your answer should be addressed to 1he clerk of1he I 41h District Court a1 600 Commerce S1ree1 , Dallas Texas, 75202.              HANNAH MASON; MALLORY REEVES;
                                                                                                                                   CHARLffITE REEVES; CHRIS COLOVITA;
                                                                                                                                SAMUEL GA BARA; LAKEI A STOKES; MAGGIE
 Said PLAINTIFF being CHARLO'ITE LOQUASTO: MICllAEL lllBELT: SHELBY lllBELT: ,J(ILIAi'iNE PERR~': lo:ATHLEEN                   BILYEU; INDI A SE LLERS; ADDI E FORD; ROBERT
 PERR\': STEWART PERRY: MARISSA BROWN: GAIL PROVOST: MEGHAN 1101.LINGSWORTll : SARAll PETERSON: BRIAN                                  II EALEY; HA YLEE RODR IGUEZ
 PROVOST: SPENCER PROVOST: LOUIS PROVOST: GF.RTRllDE PIH>VOST: KATRl!"A REEVES: Sl lMMf:R OtlNN: llANNAll MASO.\':
 MALLORY REEVF.S: C'llAR l.O'ITE REF:Vf,'i: CllRIS ('01.0VITA: SAMllf.I. GABARA: 1.AKEIA ~TOKt:S: MAGGIE 811.\'El l; l ~D IA                             vs.
 SE LLERS: AUDIE FORD: ROBERT llEALE\': llA \'I.EE RODRIGt :t:z                                                                     FLUOR CORPORATION. INC.; FLUOR
                                                                                                                                 ENTERPR ISES, INC.; FLUOR GOVERNMENT
                                                                                                                                GROUP. INC.; ALLI ANCE PROJECT SERVICES.
Filed in said Court 14th day of May, 2019 against
                                                                                                                                  INC.; FLUOR INTERCONTIN ENTAL. INC.
 FLUOR CORPORATION, I NC.
 FLUOR ENTERPRISES, INC.
 FLUOR GOVERNMENT GROUP, INC.                                                                                                                       ISSUED
 ALLI ANCE PROJECT SERVICES, I NC.                                                                                              ON T HIS THE 16TH OA Y OF MAY, 20 19
 FLUOR I NTERCONTINENTAL, I NC.
                                                                                                                               FELICIA PITRE
 For suit, sa id suit being numbered OC- 19-06872 the nature of w hich demand is as follows:                                   Clerk District Cou rts,
 Suit On OTHER PERSO NAL I NJURY etc.                                                                                          Dallas County, Texas
as shown on said petition & REQUEST FOR DISCLOSU RE a copy of which accompanies this citation. If th is citation is not
served, it shall be returned unexecuted.                                                                                        By ANGELA CONEJO, Deputy

                                                                                                                               Attomey for: Plaintiff
                                                                                                                                ANTHONY G BUZBEE
                                                                                                                                JP MORGAN CHASE TOWER
                                                                                                                                600 TRAVIS, STE., 7300
                                                                                                                                HOUSTON, TEXAS 77002
                                                                                                                                713-223-5393


                                                                                                                               DALLASCOU"
                                                                                                                                     FEES
                                                                                                                                    ~ -
                   Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                             Page 58 of 198 PageID 87




                                                                            OFFICER'S RET URN
                                                                             FOR INDIVID UA LS
Cause No. DC- 19-06872
Court No: 14th District Court
Style: CHA RLOITE LOQUASTO, et al vs. FLUOR CORPORATION. INC., et al

         Received this Citation the _____day of_ _ _ _ _ _ _, 20_ _ at_ ____o'clock. Executed at                                               . within the County of
--,----- -- - - - - - -- - - - -· State of                                    , on the              day of                    , 20_ _, at ___o'clock. by
delivering to the within named _ _ _ _ _ _ _ _ _ __ __ __ _ _ _ _ each in person, a copy of this Citation together with the accompanying copy of
Plaintiff's original petition. having first indorsed on same the date of delivery.
                                                                              ----------000000----------
                                                                              OFFICER'S RETURN
                                                                             FO R CORPORATIONS
Received this Citation the _____day of_ _ _ _ _ _ _. 20_ _at                                  o'clock _ .M. Executed at - - -- - - -·• with in the County of
- - - -. . . , . . . - - - - - - - - - - - - -·State of_ __ ______, on the                                 day of                   . 20_ _. at                o'clock .M.
by summoning the within named Corporation, - - -- - - - - - - by delivering to - - - -- - - - -- - - - - - - -
                                                                                        President - Vice President - Registered Agent - in person. of the said

a true copy of this citation together with the accompany ing copy of PLAINTIFF'S OR IGINA L PETITI ON & REQUEST FOR DI SCLOSU RE, havi ng first indorsed on same the date of
del ivery.
                                                                            ----------000000----------

The distance actua lly trave led by me in serving such process was _ _ _ _ miles and my fees are as fol lows:         To certify which witness by my hand.
For Serving Citation      $                                Sheriff_ __ _ _ _ _ _ _ _ _ _ _ _ __
For Mileage               $                                County of_ _ _ _ _ _ _ _ _ _ _ _ __
For Notary                $                                State of_ _ _ _ _ _ __ _ _ _ _ _ __
        Total Fees        $                                By_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

(Must be verified if served outside the State of Texas)
State of_ _ _ _ _ _ _ _ _ _ __ __
County of_ _ _ _ _ _ _ _ _ _ _ _ __
        Signed and sworn to me by the said                                  before me this_ _ _ __
day of                                       , 20___, to cc11ify which witness my hand and seal of office.


                                                  Seal                                                                         State & County of
        FELICIA PITRE
        DISTRICT CLERK
                                         Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                                                                                                     Page 59 of 198 PageID 88
        GEORGE L ALLEN SR COURTS                                 au

                                                                                     111111111 I                                                                                                 1111
        600 COMMERCE ST STE 101
        DALLAS TX 75202..4604




                                                                                                                9214 8901 0661 5400 0138 2468 88
         RETURN RECEIPT (ELECTRONIC)




         DC-19-06872 ALLIANCE PROJECT SERVICES, INC.
         ALLIANCE PROJECT SERVICES. INC.
         OFFICE OF THE SECRETARY OF STATE
         CITATIONS UNIT
         PO BOX 12079
         AUSTIN, TX 78711·2079




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    Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19            Page 60 of 198 PageID 89               FELICIA PITRE
                                                                                                    DISTRICT CLERK

                                                                              Shirley Montgomery
                                       NO. DC19-06872

CHARLOTTE LOQUASTO, ET AL.,                     §           IN THE DISTRICT COURT
                                                §
              PLAINTIFFS,                       §
V.                                              §
                                                §
FLUOR CORPORATION, INC., FLUOR                  §           DALLAS COUNTY, TEXAS
ENTERPRISES, INC., FLUOR                        §
GOVERNMENT GROUP, INC., FLUOR                   §
INTERCONTINENTAL, INC., AND                     §
ALLIANCE PROJECT SERVICES, INC.,                §
                                                §          A-14 JUDICIAL DISTRICT
              DEFENDANTS.

    FLUOR GOVERNMENT GROUP INTERNATIONAL, INC.’S1 ORIGINAL ANSWER

TO THE HONORABLE JUDGE MOYÉ:

        Defendant FLUOR GOVERNMENT GROUP INTERNATIONAL, INC. (“Fluor”) files

this Original Answer to Plaintiffs’ Original Petition, respectfully showing this Court the

following:

                                     GENERAL DENIAL

        1.    Under Rule 92 of the Texas Rules of Civil Procedure, Fluor generally denies all

material allegations contained within Plaintiffs’ Original Petition, as well as any amendments or

supplements thereto.

                       AFFIRMATIVE OR ADDITIONAL DEFENSES

        2.    This Court lacks subject matter jurisdiction because Plaintiffs’ claims raise

nonjusticiable political questions under Baker v. Carr, 369 U.S. 186 (1962), and its progeny.

Plaintiffs’ suit questions the reasonableness of force protection and security at a United States

Military base in an active conflict zone. Such military matters are quintessential sources of



1Plaintiff improperly names Fluor Government Group International, Inc. as “Fluor Government
Group, Inc.”

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political questions. See Taylor v. Kellogg Brown & Root Serv., Inc., 658 F.3d 402, 411-12 (4th

Cir. 2011), Smith v. Halliburton Co., No. H-06-0462, 2006 WL 2521326 (S.D. Tex. Aug. 30,

2006), and Am. K-9 Detection Servs., Inc. v. Freeman, 556 S.W.3d 246 (Tex. 2018).

       3.      The political question doctrine bars Plaintiffs’ claims because the Military

exercised plenary control over Fluor’s alleged conduct at issue. “When a contractor operates

under the military’s plenary control, the contractor’s decisions may be considered de facto

military decisions.” Freeman, 556 S.W.3d at 255 (citing Carmichael v. Kellogg, Brown & Root

Servs., Inc., 572 F.3d 1271, 1276-77 (11th Cir. 2009)).

       4.      Even assuming arguendo that Fluor shared responsibilities regarding the base

security or force protection matters at issue—though Fluor did not do so—Plaintiffs’ suit

implicates sensitive Military decisions and judgments because Fluor was invariably “operating

pursuant to the military’s orders, instructions, and regulations.” Smith, 2006 WL 2521326, at *5.

When a plaintiff claims that a contractor performed paradigmatic military functions like force

protection or base security, his or her suit will raise “the same political questions.” See id. at *5

(quoting Whitaker v. Kellogg, Brown & Root, Inc., 444 F. Supp. 2d 1277, 1281 (M.D. Ga.

2006)). “[T]he use of [ ] civilian contractors to accomplish [a] military objective does not lessen

the deference due to the political branches in this area.” Whitaker, 444 F. Supp. 2d at 1281.

       5.      Plaintiffs’ suit—both on its face and in substance—raises political questions

because it implicates the reasonableness of Military decisions and judgments that directly

“contribut[ed] to causation.” Freeman, 556 S.W.3d at 255 (quoting Lane v. Halliburton, 529

F.3d 548, 561 (5th Cir. 2008)). Where the Military’s acts or omissions contribute to causation, a

“political question will loom large.” Id.




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       6.      Absent explosive material, there could be no bombing. The Military’s negligent

failure to prevent Ahmed Nayeb from bringing explosive material into BAF was the sole

proximate cause of the incident in question, or alternatively, a superseding, intervening, and/or

new and independent cause of the incident.

       7.      Fluor’s causation defenses will “pose political questions [because] the court must

disentangle the military’s and the contractor’s respective causal roles.” Freeman, 556 S.W.3d at

255. Doing so will require the Court to question the reasonableness of Military decisions and

judgments. See id. at 255-57.

       8.      Fluor invokes all rights, privileges, protections, and immunities under Chapters 32

and 33 of the Texas Civil Practice and Remedies Code. Fluor’s invocation includes inter alia

comparative responsibility; contributory negligence; and apportionment of responsibility to

parties designated as responsible third parties under § 33.004. See Tex. Civ. Prac. & Rem. Code

§ 33.001 et seq.

       9.      The Military is subject to designation and apportionment under Chapter 33 of the

Texas Civil Practice and Remedies Code. See id. “[T]he jury should allocate responsibility

among all persons who are responsible for the claimant’s injury, regardless of whether they are

subject to the court’s jurisdiction or whether there is some other impediment to the imposition of

liability on them, such as statutory immunity.” Galbraith Eng’g Consultants, Inc. v. Pochucha,

29 S.W.3d 863, 868 (Tex. 2009). .

       10.     Because the suicide bomber (“Nayeb”) managed to enter the base with explosives,

“the court would [ ] have to examine base perimeter security,” as well as screening measures,

security badge issuance protocols, and escort procedures. Smith, 2006 WL 2521326, at *6.

Perimeter security at a United States Military base is textually committed to coordinate branches




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of the Government. Cafeteria and Restaurant Union, Local 473, AFL-CIO v. McElroy, 367 U.S.

886, 890 (1961). The Military is in fact responsible for these—and all other—base security/force

protection measures even in the absence of LOGCAP directives. Smith, 2006 WL 2521326, at *3

(citing DoD Instruction 2000.16, Enclosure 3, at § E3.1.1.14.1 (June 14, 2001), and Army Field

Manual 100-21 (Contractors on the Battlefield, at § 6-3 (Jan. 2003)).

        11.    The Military2 knew in March of 2011 that Nayeb had ties to the Taliban.

Nevertheless, the Military sponsored Nayeb’s admittance to the Provincial Reconstruction Team

Parwan (ROK)’s Vocational Training Center at BAF (“Parwan”). The Military granted Nayeb

access to work at BAF because it believed that vocational training and employment would

provide Nayeb “with the skills necessary to obtain honest employment and allow him to reject

the insurgency’s promise of money.”

        12.    That Military action was part and parcel of the Military’s larger “Afghan First”

strategy to counter the Afghan insurgency. Through developing the Afghan economy, the

Military believed that it would effectively “reduc[e] the pool of frustrated, unemployed men and

women from which insurgents can readily recruit.” See U.S. Government Counterinsurgency

Guide, at p. 3 (Jan. 2009). “In times of turmoil, political, social, security, and economic benefits

can often entice people to support one side or the other.” See Army Field Manual 3-24

(Counterinsurgency), at 1-9, § 1-42 (Dec. 2006).

        13.    The Afghan First program was a direct outgrowth of these Military strategies,

judgments, and beliefs that were at the heart of the Military’s strategy in fighting an asymmetric

war in Afghanistan. Correspondingly, Nayeb’s employment and presence at BAF under Afghan

First was a direct result of strategic and sensitive Military decisions and judgments.


2 Fluor was not aware before the bombing that Nayeb had previous ties to the Taliban because
the Military did not share this intelligence with Fluor.

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       14.       The Military—not Fluor—dictated and controlled all aspects of Nayeb’s

screening and access to BAF. Nonexclusive examples include—

                The Military’s “Task Force Red Bulls” decided that, pursuant Afghan
                 First, sponsoring Nayeb for training and LOGCAP employment would
                 further the Military’s COIN strategies.

                The Military decided to sponsor Nayeb for training and LOGCAP
                 employment even though it knew that Nayeb had ties to the Taliban.

                The Military contractually required Fluor to hire and retain Afghan
                 nationals cleared for LOGCAP work, even requiring quarterly progress
                 reports on the percentage of Afghans employed through LOGCAP
                 contracts.

                The Military’s Force Protection Screening Cell (“FPSC”) vetted Nayeb
                 and cleared him for enrollment at Parwan.

                The Military issued Nayeb the access badge that allowed him to enter
                 BAF.

                After Nayeb completed training at Parwan, the Military again screened,
                 interviewed, and approved Nayeb for LOGCAP work on December 11,
                 2011.

                The Military’s screening and approval of Nayeb for LOGCAP
                 employment resulted in Nayeb’s placement in the pool of Military-
                 approved Afghan nationals to support LOGCAP work under the Military’s
                 Afghan First initiative.

                The Military subsequently screened, interviewed, and continued to
                 approve Nayeb for LOGCAP work on six occasions before the bombing,
                 including a March 2016 Preliminary Credibility Assessment Screening
                 System (“PCASS”) screening—a field expedient lie detector.

                The Military alone operated and directed daily perimeter security at BAF,
                 to include searching Nayeb and all other Afghan nationals that entered
                 BAF through its quarter-mile long Entry Control Point 1 (“ECP-1”) and/or
                 other entry control points at BAF.

       15.       The Military negligently directed and approved Nayeb’s employment for

LOGCAP contract work when it alone had actual knowledge of Nayeb’s ties to the Taliban. The




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Military negligently failed to detect and report Nayeb’s apparent re-radicalization. The Military

negligently failed to prevent Nayeb from bringing explosive material into BAF.

       16.    Each of these nonexclusive acts and/or omissions constituted negligence that

proximately caused the subject incident and injuries. The Military’s negligence will bar

Plaintiffs’ claims in whole, or alternatively, in part, under §§ 33.003 and 33.012 of the Texas

Civil Practice and Remedies Code.

       17.    Fluor’s proportionate liability defense will inject political questions into this case.

Freeman, 556 S.W.3d at 255-57 (citing Harris v. Kellogg, Brown & Root Servs., Inc., 724 F.3d

458, 466 (3d Cir. 2013), and Fisher v. Halliburton, 667 F.3d 602, 621 (5th Cir. 2012)). “Courts

lack the facts, expertise, and standards necessary to evaluate whether reasonable care was taken

in these circumstances.” Smith, 2006 WL 2521326, at *6; see also Freeman, 556 S.W.3d at 256

(citing Harris, 724 F.3d at 474).      This is especially true where—as here—the Military’s

decision-making relates to battlefield strategy and intelligence gathering. Smith, 2006 WL

2521326, at *5.

       18.    Deciding these issues would require the fact-finder to adjudicate the

reasonableness of Military strategy and judgments in an active conflict zone. This Court cannot

review such subject matter because it impermissibly concerns “how the executive, or executive

officers, perform duties in which they have discretion.” Marbury v. Madison, 5 U.S. (1 Cranch)

137, 170, 177 (1803).

       19.    Pleading further, Fluor asserts that this court lacks subject matter jurisdiction in

regard to the claims of the families of Peter Provost and Jarrold Reeves, as these claims are

subject to the exclusive remedy provisions of the Longshore and Harbor Workers’ Compensation

Act, 33 U.S.C. § 905, as extended by the Defense Base Act , 42 U.S.C. §§ 1651-1654.




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        THEREFORE, Defendant FLUOR GOVERNMENT GROUP INTERNATIONAL,

INC. respectfully requests that Plaintiffs take nothing by way of their suit, and that Fluor have

judgment for costs of suit, general relief, and such other and further relief to which it may show

itself entitled in law or in equity.


                                             Respectfully submitted,

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                                             Counsel for Fluor Government Group
                                             International, Inc.




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                                  Certificate of Service

        The undersigned certifies that on June 10, 2019, Defendant Fluor Government Group
International, Inc. served a true and correct copy of the foregoing document on all known
counsel of record under the Texas Rules of Civil Procedure.



                                         /s/ J. Reid Simpson
                                         Darrell L. Barger




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                                                                                 Kellie Juricek


                          CAUSE NO. DC-19-06872

CHARLOTTE LOQUASTO, MICHAEL             §      IN THE DISTRICT COURT
IUBELT, SHELBY IUBELT,                  §
INDIVIDUALLY, ON BEHALF OF THE          §
ESTATE OF PFC TYLER IUBELT, AND AS      §
NEXT FRIEND OF V.I., MINOR,             §
JULIANNE PERRY, INDIVIDUALLY, ON        §
BEHALF OF THE ESTATE OF STAFF SGT.      §
JOHN PERRY, DECEASED, AND AS NEXT       §
FRIEND OF L.P. AND G.P., MINORS,        §
KATHLEEN PERRY, STEWART PERRY,          §
MARISSA BROWN, INDIVIDUALLY AND         §
ON BEHALF OF THE ESTATE OF SGT.         §
FIRST CLASS ALLAN E. BROWN,             §
DECEASED, GAIL PROVOST,                 §
INDIVIDUALLY AND ON BEHALF OF           §
THE ESTATE OF PETER PROVOST,            §
DECEASED, MEGHAN                        §
HOLLINGSWORTH, SARAH PETERSON,          §
BRIAN PROVOST, SPENCER PROVOST,         §      OF DALLAS COUNTY, TEXAS
LOUIS PROVOST, GERTRUDE PROVOST,        §
KATRINA REEVES, INDIVIDUALLY AND        §
ON BEHALF OF THE ESTATE OF COL.         §
JARROLD REEVES (RET.), DECEASED,        §
AND AS NEXT FRIEND OF J.R., A MINOR,    §
SUMMER DUNN, HANNAH MASON,              §
MALLORY REEVES, CHARLOTTE               §
REEVES, CHRIS COLOVITA, SAMUEL          §
GABARA, LAKEIA STOKES, MAGGIE           §
BILYEU, INDIA SELLERS, ADDIE FORD,      §
ROBERT HEALY and HAYLEE                 §
RODRIGUEZ                               §
                                        §
VS.                                     §
                                        §
FLUOR CORPORATION, INC.,                §
FLUOR ENTERPRISES, INC.,                §
FLUOR GOVERNMENT GROUP, INC.,           §
FLUOR INTERCONTINENTAL, INC. and        §
ALLIANCE PROJECT SERVICES, INC.         §      14 JUDICIAL DISTRICT COURT




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                 DEFENDANT ALLIANCE PROJECT SERVICES, INC.'S
                       VERIFIED SPECIAL APPEARANCE

       Defendant Alliance Project Services, Inc. ("APS") asks the Court to sustain its Verified

Special Appearance and dismiss the above-named Plaintiffs' suit as to APS.            This special

appearance is made to the entire proceeding asserted by Plaintiffs, as against APS.

                                        INTRODUCTION

        1.     Texas courts may not exercise either general personal jurisdiction over APS or

specific personal jurisdiction over APS.          The evidence filed with this Special Appearance

demonstrates that: ( 1) Texas cannot exercise specific personal jurisdiction over APS because the

tort causes of action asserted against APS have no connection to Texas; and (2) APS is not "at

home" in the State of Texas-Texas courts may not exercise general personal jurisdiction over

APS.

       2.      Defendant APS is a Delaware corporation with its principal place of business in

Virginia.

       3.      On information and belief, Defendant Fluor Corporation, Inc. 1s a Delaware

corporation.

       4.      On information and belief, Defendant Fluor Enterprises, Inc. 1s a California

corporation.

       5.      On information and belief, Defendant Fluor Intercontinental, Inc. ("Fluor

Intercontinental") is a California corporation.

       6.      On information and belief, Defendant Fluor Government Group, Inc. 1s a

Delaware corporation.




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       7.      Plaintiffs sued Defendant APS alleging negligence and gross negligence arising

out of a November 12, 2016 suicide bombing at Bagram Air Field ("BAF") in Bagram,

Afghanistan.

       8.      The suicide bomber was an Afghan national who worked in a vehicle yard at

BAF.

       9.      Pursuant to a contract between APS and Defendant Fluor Intercontinental (the

"Contract"), APS provided labor supply management services with respect to Host Country

National (HCN) employees for Fluor Intercontinental's operations in Afghanistan.

        10.    The Contract was formed, performed, and administered between Virginia, South

Carolina, and Bagram, Afghanistan. No performance by APS under the Contract was due or

rendered within the State of Texas.

        11.    The Plaintiffs' Petition fails to allege specific facts that their cause of action

against APS has any relation to Texas.

        12.    This motion is supported by the Verification ("Verification") and the Affidavit of

Tod E. Nickles ("Nickles' Affidavit"), attached as Exhibit 1, which demonstrate jurisdiction

against APS in Texas fails because: an assertion of personal jurisdiction over APS by Texas

courts would violate APS's due process rights, APS lacks minimum contacts, and Texas lacks

personal jurisdiction, either general or specific, over APS.

        13.    This special appearance motion is filed before any motion or any other plea,

pleading, or motion filed by APS.

                                   JURISDICTIONAL FACTS

        14.    APS is a corporation organized under Delaware law.             Its principal place of

business is located in Leesburg, Virginia. See Exhibit 1, Nickles' Affidavit, i-f3.

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         15.         On November 12, 2016, Ahmed Nayeb ("Nayeb"), an Afghan national who

worked in a vehicle yard at BAF in Bagram, Afghanistan, conducted a suicide bombing at BAF.

See Exhibit 1, Nickles' Affidavit, ,-r4.

         16.         Pursuant to a contract between APS and Fluor Intercontinental (the "Contract"),

APS provided labor supply management services with respect to Host Country National (HCN)

employees for Fluor's operations in Afghanistan, including services related to Nayeb's

employment. See Exhibit 1, Nickles' Affidavit, ,-rs.

         17.         APS was awarded the Contract after it responded to a request for proposal (RFP)

generated out of Bagram, Afghanistan.                   The Contract was awarded out of Fluor

Intercontinental's Greenville, South Carolina office.              The Contract was performed and

administered by APS employees located in Virginia and Bagram, and Fluor employees located in

South Carolina and Bagram. No performance by APS under the Contract was due or rendered

within the State of Texas. APS did not have any contacts with the State of Texas that relate to

Nayeb, the Contract, or Plaintiff. See Exhibit 1, Nickles' Affidavit, ,-r6.

         18.         APS has no offices in Texas. See Exhibit 1, Nickles' Affidavit, ,-r7.

         19.         APS has no employees in Texas. See Exhibit 1, Nickles' Affidavit, ,-rs.

         20.         APS is not registered to do business in Texas. See Exhibit 1, Nickles' Affidavit,

,-r9.

         21.         APS has not appointed an agent for service of process in Texas. See Exhibit 1,

Nickles' Affidavit, ,-rlO.

         22.         APS does not direct advertising to the State of Texas. See Exhibit 1, Nickles'

Affidavit, ,-rl 1.




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        23.         APS operates a "passive" website used only for providing information,

advertising, and allowing a potential customer to contact APS. The APS website does not allow

a user to consummate a transaction with APS for its products or services. See Exhibit 1, Nickles'

Affidavit, i-fl2.

        24.         APS made a single product sale delivered to Texas for goods valued at $659.92.

That product sale had no connection with Nayeb, the Contract, or Plaintiffs. See Exhibit 1,

Nickles' Affidavit, i-f 13.

                                  ARGUMENT & AUTHORITIES

        25.         Plaintiffs' Petition acknowledges that APS is a Delaware corporation with its

principal place of business in Virginia. Plaintiffs' sole jurisdictional allegation against APS is

that "[APS] does and continues to do extensive business in the State of Texas[.]" (Petition p.

21.) Plaintiffs' jurisdictional allegation as to APS is not only false, it is facially insufficient to

establish specific or general jurisdiction over APS in Texas.          APS's de minimus business

activities in Texas have no connection to the injuries suffered by Plaintiffs and cannot give rise

to specific jurisdiction over APS in Texas. Nor are they even close to sufficient to make APS "at

home" in Texas under controlling Supreme Court precedent. As a result, personal jurisdiction is

lacking over APS and the court should dismiss APS.

        26.         Texas courts do not have jurisdiction over a nonresident defendant unless the

defendant has purposefully established "minimum contacts" with Texas and the court's exercise

of jurisdiction comports with "fair play and substantial justice."           Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 474-76 (1985); TV Azteca, S.A.B. de C. V. v. Ruiz, 490 S.W.3d 29, 36

(Tex. 2016); Mold Mac River Expeditions v. Drugg, 221 S.W.3d 569, 575 (Tex. 2007); BMC

Software Belg., NV. v. Marchand, 83 S.W.3d 789, 795 (Tex. 2002).


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       NO MINIMUM CONTACTS

       27.     Texas courts must determine whether a nonresident defendant has purposefully

established minimum contacts with Texas. Moki Mac, 221 S.W.3d at 575–76; CSR Ltd. v. Link,

925 S.W.2d 591, 594, 596 (Tex. 1996); Guardian Royal Exch. Assur., Ltd. v. English China

Clays, P.L.C., 815 S.W.2d 223, 226 (Tex. 1991). To prove it had no minimum contacts with

Texas, the defendant must show that (1) it did not purposefully avail itself of the privilege of

conducting activities within Texas, and (2) any contacts it may have had with Texas do not give

rise to specific or general jurisdiction. See M&F Worldwide Corp. v. Pepsi-Cola Metro. Bottling

Co., 512 S.W.3d 878, 886 (Tex. 2017); Moki Mac, 221 S.W.3d at 575–76; Commonwealth Gen.

Corp. v. York, 177 S.W.3d 923, 925 (Tex. 2005); BMC Software, 83 S.W.3d at 795–96.

       28.     To establish purposeful availment, a defendant’s acts must be purposeful rather

than random, isolated, or fortuitous, and the defendant must have sought some benefit,

advantage, or profit in availing itself of Texas jurisdiction. M&F Worldwide, 512 S.W.3d at 886;

Searcy v. Parex Res., Inc., 496 S.W.3d 58, 67 (Tex. 2016); TV Azteca, 490 S.W.3d at 37–38;

Retamco Operating, Inc. v. Republic Drilling Co., 278 S.W.3d 333, 338–39 (Tex. 2009); Moki

Mac, 221 S.W.3d at 575; Michiana Easy Livin’ Country, Inc. v. Holten, 168 S.W.3d 777, 785

(Tex. 2005). Specifically, APS did not purposefully avail itself of the privilege of conducting

activities within Texas for the following reasons:

               a.     APS does not direct advertising to the State of Texas.

               b.     APS operates a “passive” website used only for providing information,

                      advertising, and allowing a potential customer to contact APS. The APS

                      website does not allow a user to consummate a transaction with APS for

                      its products or services.

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               c.      APS made one product sale delivered to Texas for goods valued at

                       $659.92, which was unrelated to Nayeb, the Contract, or Plaintiffs.

       NO SPECIFIC JURISDICTION

       29.     Texas courts cannot exercise specific jurisdiction over a nonresident defendant

unless the plaintiff’s litigation results from injuries that are alleged to arise from or relate to the

defendant’s contacts with Texas. M&F Worldwide, 512 S.W.3d at 886; Moncrief Oil Int’l v.

OAO Gazprom, 414 S.W.3d 142, 156 (Tex. 2013); Moki Mac, 221 S.W.3d at 575–76; BMC

Software, 83 S.W.3d at 796; see Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

408, 414 & n.8 (1984); TV Azteca, 490 S.W.3d at 52; Michiana, 168 S.W.3d at 784–85. The

defendant’s acts must have a substantial connection with the operative facts of the litigation.

M&F Worldwide, 512 S.W.3d at 890; TV Azteca, 490 S.W.3d at 52; Spir Star AG v. Kimich, 310

S.W.3d 868, 874 (Tex. 2010); Retamco Operating, 278 S.W.3d at 340; Moki Mac, 221 S.W.3d at

585. This Court does not have specific jurisdiction over APS because Plaintiffs’ cause of action

does not arise from or relate to APS’s limited contact with Texas. Plaintiffs’ cause of action

arises from APS’s contacts with South Carolina and Bagram, Afghanistan. Plaintiffs allege no

lawsuit-related contacts with the State of Texas, and no such contacts exist. Accordingly, there

is no basis for specific personal jurisdiction over APS.

       NO GENERAL JURISDICTION

       30.     Texas courts cannot exercise general jurisdiction over a nonresident defendant

unless the defendant has affiliations with Texas that are so continuous and systematic as to

render the defendant essentially “at home” in Texas. See Daimler AG v. Bauman, 571 U.S. 117,

138–39, 134 S. Ct. 746, 761 (2014); PHC-Minden, L.P. v. Kimberly-Clark Corp., 235 S.W.3d

163, 169 (Tex. 2007); Booth v. Kontomitras, 485 S.W.3d 461, 478 (Tex. App.—Beaumont 2016,

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no pet.); Bautista v. Trinidad Drilling Ltd., 484 S.W.3d 491, 499 (Tex. App.—Houston [1st

Dist.] 2016, no pet.). A corporation is considered at home where it is incorporated or where it

has its principal place of business. Daimler AG, 571 U.S. at 137, 134 S. Ct. at 760; Bautista, 484

S.W.3d at 500. A corporate defendant will be subject to general jurisdiction in a forum other

than its place of incorporation or principal place of business only in an exceptional case in which

its affiliations with that forum are so substantial to render it at home there. See Daimler AG, 571

U.S. at 139 n.19, 134 S. Ct. at 761; Searcy, 496 S.W.3d at 73; Booth, 485 S.W.3d at 479; In re

Deutsche Bank Sec. Inc., No. 03-14-00744-CV (Tex. App.—Austin 2015, orig. proceeding)

(memo op.; 7-3-15). This Court does not have general jurisdiction over APS because APS is not

incorporated in Texas and does not have its principal place of business in Texas. Moreover, APS

has no offices in Texas, no employees in Texas, is not registered to do business in Texas, directs

no advertising towards Texas, and has made only one product sale that was delivered to Texas,

which was valued at $659.92. Under these facts, this is not an exceptional case in which APS’s

affiliations with Texas are so substantial as to render it at home in Texas. Accordingly, general

jurisdiction is lacking over APS in Texas.

       NO FAIR PLAY AND SUBSTANTIAL JUSTICE

       31.     An assertion of jurisdiction over APS by this Court will offend traditional notions

of fair play and substantial justice and will be inconsistent with the constitutional requirements of

due process; therefore, the Court should decline to exercise jurisdiction over APS. See Int'l Shoe

Co. v. Washington, 326 U.S. 310, 316 (1945); TV Azteca, 490 S.W.3d at 55; Moncrief, 414

S.W.3d at 154-55; Spir Star, 310 S.W.3d at 878; Guardian Royal, 815 S.W.2d at 231.

       32.     However, given the insufficient bases for personal jurisdiction over APS based on

either general or specific jurisdiction, the Court actually need not reach a fair play and substantial

                                                  8
 Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                 Page 76 of 198 PageID 105



justice analysis in order to dismiss APS from this case. To the extent the Court is inclined to do

so, hailing APS into court in Texas offends due process because APS has had no interaction with

Texas relevant to the facts of this case. Given the existence of other suitable domestic forums in

which jurisdiction could be established over all parties, it would offend traditional notions of fair

play and substantial justice to force APS to litigate in a forum to which it has no relevant

connection.

                                           CONCLUSION

        33.     APS does not have the minimum contacts with the State of Texas to justify a

Texas court's assertion of jurisdiction. If this Court asserts jurisdiction over APS, it will offend

traditional notions of fair play and substantial justice.

                                              PRAYER

        34.     For these reasons, APS asks the Court to set its special appearance for hearing

and, after the hearing, sustain APS 's special appearance and sign a final judgment dismissing

Plaintiffs' cause of action as asserted against APS.




                                                   9
Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19     Page 77 of 198 PageID 106



                                  Respectfully submitted,

                                  FOX ROTHSCHILD LLP

                                  By: Isl C. Dunham Biles
                                        David Grant Crooks
                                        State Bar No. 24028168
                                        C. Dunham Biles
                                        State Bar No. 24042407
                                  Two Lincoln Centre
                                  5420 LBJ Freeway, Suite 1200
                                  Dallas, Texas 75240
                                  972-991-0889 - Phone
                                  972-404-0516 - Fax
                                  dcrooks@foxrothschild.com
                                  cbiles@foxrothschild.com

                                  ATTORNEY FOR DEFENDANT
                                  ALLIANCE PROJECT SERVICES, INC.




                                     10
Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                    Page 78 of 198 PageID 107



                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 10th day of June, 2019, a true and correct copy of the above

and foregoing document was served upon all counsel of record through the electronic filing

service.




                                              /s/ C. Dunham Biles
                                              C. Dunham Biles




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 Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19               Page 79 of 198 PageID 108



                                         VERIFICATION

STATE OF VIRGINIA                    §
                                     §
COUNTY OF LOUDOUN                    §


        Before me, the undersigned Notary Public, on this day personally appeared Tod E. Nickles,
and after being duly sworn stated under oath that he is an authorized representative of Defendant
Alliance Project Services, Inc. and has read the above Special Appearance Motion and that every
factual statement contained in the Special Appearance Motion in paragraphs 14-24 is within his
P"''""" lcrmwlOOgo '"' ie true ~d oo=ct.                         J/
                                            ~JIL
                                            By: Tod E. Nickles
                                            For: Alliance Project Services, Inc.
                                            Its: President & CEO

                    .,-Hi.
       On this the __L__ day of June, 2019, before me, a Notary Public, personally appeared Tod
E. Nickles, known to me to be the person whose name is subscribed to the within instrument, and
acknowledged executing the same.



                                            Not~lic in and for the
                                            State of Virginia

                                            My Commission Expires:
Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19   Page 80 of 198 PageID 109




       EXHIBIT 1
Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19   Page 81 of 198 PageID 110



                          CAUSE NO. DC-19-06872

CHARLOTTE LOQUASTO, MICHAEL            §       IN THE DISTRICT COURT
IUBELT, SHELBY IUBELT,                 §
INDIVIDUALLY, ON BEHALF OF THE         §
ESTATE OF PFC TYLER IUBELT, AND AS     §
NEXT FRIEND OF V.I., MINOR,            §
JULIANNE PERRY, INDIVIDUALLY, ON       §
BEHALF OF THE ESTATE OF STAFF SGT.     §
JOHN PERRY, DECEASED, AND AS NEXT      §
FRIEND OF L.P. AND G.P., MINORS,       §
KATHLEEN PERRY, STEWART PERRY,         §
MARISSA BROWN, INDIVIDUALLY AND        §
ON BEHALF OF THE ESTATE OF SGT.        §
FIRST CLASS ALLAN E. BROWN,            §
DECEASED, GAIL PROVOST,                §
INDIVIDUALLY AND ON BEHALF OF          §
THE ESTATE OF PETER PROVOST,           §
DECEASED, MEGHAN                       §
HOLLINGSWORTH, SARAH PETERSON,         §
BRIAN PROVOST, SPENCER PROVOST,        §       OF DALLAS COUNTY, TEXAS
LOUIS PROVOST, GERTRUDE PROVOST,       §
KATRINA REEVES, INDIVIDUALLY AND       §
ON BEHALF OF THE ESTATE OF COL.        §
JARROLD REEVES (RET.), DECEASED,       §
AND AS NEXT FRIEND OF J.R., A MINOR,   §
SUMMER DUNN, HANNAH MASON,             §
MALLORY REEVES, CHARLOTTE              §
REEVES, CHRIS COLOVITA, SAMUEL         §
GABARA, LAKEIA STOKES, MAGGIE          §
BILYEU, INDIA SELLERS, ADDIE FORD,     §
ROBERT HEALY and HAYLEE                §
RODRIGUEZ                              §
                                       §
VS.                                    §
                                       §
FLUOR CORPORATION, INC.,               §
FLUOR ENTERPRISES, INC.,               §
FLUOR GOVERNMENT GROUP, INC.,          §
FLUOR INTERCONTINENTAL, INC. and       §
ALLIANCE PROJECT SERVICES, INC.        §       14 JUDICIAL DISTRICT COURT
 Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19               Page 82 of 198 PageID 111



                               AFFIDAVIT OF TOD E. NICKLES

STATE OF VIRGINIA                       §
                                        §
COUNTY OF LOUDOUN                       §

        BEFORE ME, the undersigned Notary Public, on this day personally appeared Tod E.

Nickles, known to me to be the person whose name is subscribed below, who being duly sworn,

deposed and states as follows:

        1.     My name is Tod E. Nickles. I am over eighteen (18) years of age of sound mind

and am competent to make this affidavit. I have personal knowledge of the facts contained in

this affidavit and they are true and correct.

       2.      I am the President and Chief Executive Officer of Alliance Project Services, Inc.

("APS"). I have personal knowledge of APS's business and dealings described in this affidavit.

        3.     APS is a corporation organized under the Delaware law. Its principal place of

business is located in Leesburg, Virginia.

       4.      On November 12, 2016, Ahmed Nayeb ("Nayeb"), an Afghan national who

worked in a vehicle yard at Bagram Air Field ("BAF") in Bagram, Afghanistan, conducted a

suicide bombing at BAF.

       5.      Pursuant to a contract between APS and Fluor Intercontinental, Inc. ("Fluor

Intercontinental") (the "Contracf'), APS provided labor supply management services with

respect to Host Country National (HCN) employees for Fluor's operations in Afghanistan,

including services related to Nayeb's employment.

       6.      APS was awarded the Contract after it responded to a request for proposal (RFP)

generated out of Bagram, Afghanistan.           The Contract was awarded out of Fluor

Intercontinental's Greenville, South Carolina office.      The Contract was performed and
 Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                 Page 83 of 198 PageID 112



administered by APS employees located in Virginia and Bagram, and Fluor employees located in

South Carolina and Bagram. No performance by APS under the Contract was due or rendered

within the State of Texas. To my knowledge, APS did not have any contacts with the State of

Texas that relate to Nayeb, the Contract, or Plaintiff.

        7.     APS has no offices in Texas.

        8.     APS has no employees in Texas.

       9.      APS is not registered to do business in Texas.

        10.    APS has not appointed an agent for service of process in Texas.

        11.    APS does not direct advertising to the State of Texas.

        12.    APS operates a website used only for providing information, advertising, and

allowing a potential customer to contact APS.        The APS website does not allow a user to

consummate a transaction with APS for its products or services.

       13.     APS made a single product sale delivered to Texas for goods valued at $659.92.

That product sale had no connection with Nayeb, the Contract, or Plaintiffs.

       FURTHER AFFIANT SAYETH NOT.                                        11   I
                                                   ~AIL
                                                    TOD E. NICKLES


       SUBSCRIBED AND SWORN TO before me this
                                                           ·1 t~ day of June, 2019.


                     Lisa Gaito Mowery                Nota     c, State ofVirgini
                  Commonwealth of Virginia
                       Notmry Public                  My Commission Expires:-+..,,._.~'-"'"""---
                  Comml,§lon No, 71iO@Q34
                 My commlHlllli ~1plrn11m1~g~a
                    Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                            Page 84 of 198 PageID 113




FORM NO. 3534 CITATION
THE STATE OF TEXAS
                                                                                                                                                                                                           ,
To:      FLUOR GOVERNMENT GROU P, INC.                                                                                                                            C ITATION
         BY SERVING T HE SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                                                                   I• '    J. ,,e,
                                                                                                                   . . .. ~\
         C ITATIONS UN IT- P.O. BOX 12079
         AUSTIN, TEXAS, 787 11
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                                                                                                                                                             No.: DC- 19-06872
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                                                                                                                                                                                       - :STO; MICHAEL IUBELT;
                                                                                             -   - -j'V '--:-:"'_i' - ti ' TY            SHf.l.RY IUBELT; JULIANN E PERRY; KATH LEE
GREETINGS:                                                                                                                                 PF:RRY; s·rEWART PERR\ ; .\1ARISSA BROWN;
                                                                                                                                          CA ii. PROVOST ; MECllAN 1101.LINCSWORTll ;
You have been sued. You may employ an anorney. If you or you r attorney do not fi le a written answer with the                           SARAI! PETERSON; BRIAN PROVOST; SPENCER
clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you                             PROVOST; LOUIS PROVOST; GERTRUDE
were served this citation and petition, a default judgment may be taken against you.                                                      PROVOST; KATR INA RF.EVES; SUMMER DUNN;
 Your answer shou ld be addressed 10 the clerk of the 14th District Court at 600 Commerce Street. Dallas Texas, 75202.                                HANNA H MASON; MALLORY REEVES;
                                                                                                                                                 C llARLOTTE REEVES; CH IU S COl.OVll'A;
                                                                                                                                           SAMUEl.CABARA; LAKEIA STOKES; l\IACGIE
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 PERR\ : ~EWART PERR\": \I \IUSS.A BROWN: GAIL PR0\"0. f : ~IEGllAN HOLLINGSWORTll: SARAHPETERSON: RRIA'                                                     H f.ALEY; HA YL££ RODRI GUEZ
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 \!Al.I.OR\' REE\'f~'i: CllAR l.0 r n : R.:t.\"ES: CllRISCOLO\ 11 A:~ \ \ll't:L GABARi\: LJ\Kt:IAS'l OKES: MAGG lt: Bii.\ •:t : INDIA                                   vs.
 SEl.Lt.;!(S: AD DIE FORI>: lWllt:R r 11t:ALE\': " " n .EE ROORIC:llt:z                                                                       FLUOR CORPORATION, INC.; FLUOR
                                                                                                                                           ENTERPR ISES, INC.; FLUOR GOVERNMENT
Filed in said Court 14th day of May, 2019 against                                                                                         CROUP. INC.; ALLIANC E PRO.JECT SERVICES.
                                                                                                                                            INC.; FLUOR INTf: RCONTINf.NTAL, INC.
 FLUOR CORPORATION, I NC.
 FLUOR ENTERPRISES, INC.
 FLUOR GOVERNMENT GROUP, INC.                                                                                                                                       ISSUED
 ALLIANCE PROJECT SERVICES, INC.                                                                                                          ON THIS THE 16TH DAYOFMAY,2019
 FLUOR I TERCO T I NENTAL. I NC.
                                                                                                                                        FELICIA PITRE
 For suit. said suit being numbered OC- 19-06872 the nature of which demand is as follows:                                              Clerk District Couns,
 Suit On OTH ER PERSONAL INJURY etc.                                                                                                    Dallas County. Texas

                                                                                                                                         By ANGELA CONEJO. Deputy

                                                                                                                                        Attomey for: Plaintiff
                                                                                                                                         ANTHONY G BUZBEE
                                                                                                                                         JP MORGAN CHASE TOWER
Clerk of the District Couns of Dallas                                                                                                    600 TRAVIS, STE., 7300
                                                                                                                                         HOUSTON, TEXAS 77002
                                                                                                                                         713-223-5393


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                  Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                           Page 85 of 198 PageID 114




                                                                          OFFICER' S RETURN
                                                                          FOR INDI VIDUALS
Cause No. DC-19-06872
Court No: 14th District Court
Style: C llJ\R LOTfE LOQUJ\STO. el al vs. FLUOR CORPORATION. INC., ct al

     Received this Citation the _ _ _ _ day of_ _ _ _ _ _. 20_ _at      o'clock. Executed al                     • within the County of
- - -- - -- -- - - - __ _ _ _.State of                     , on the  day of                      . 20_ _, al _ __o'clock. by
                             - - - - - -- - - -- - -- - - _ each in person. a copy or this Citation together with the accompanying copy of




a true copy of this citation together with the accompanying copy of PLAI NTIFF'S ORIG INAL PETITION & REQUEST FOR OISCLOS l RE. having first indorsed on same the date of
delivery.
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The distance actually traveledx mejn serving such process was _ __ _ miles and my fees arc as fo llows:             To certify whic h witness by my hand.
For Serving Citation     S   ./\,\J '/"               Sheriff_ _ __ _ _ _ _ __ __ _ __
For Mileage              $_ __ _ _ _
                                                      County of_ __ - -- - - - -- --
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                                                          ~;te                                          FELICIA PITRE
For Notary
        Total Fees      $ _ _ _ __ __                      of ANG&ACONf..,,
                                                                                                        DISTRICT CLERK
(Musi be verified if served ou1side the State of Texas)                               '00 COMMERCE STREET
State of_ __ __ _ _ __ __ _ _ __                                                      DALLAS, TEXAS 75202-4606
County of_ _ _ _ _ __ _ _ __ _ __
        Signed and sworn to me by the said                     before me this_ __ _
day of _ _ __ _ _ __ - - -- -- 20_ _ _ . to certify which witness my hand and seal of office.


                                                 Seal                                                                       State & County of
 ~         UNITED STIJTES
l!ifilposTJJLSERVi    -
   Case 3:19-cv-01455-BIC
                        _Document
                         E._~~~~~~~~~~~~~~~~~
                                  1-3 Filed 06/19/19 Page 86 of 198 PageID 115




Date Produced: 05/21/2019

THE MAIL GROUP INC - 1 I CONFIRM DELIVERY INC:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 0661 5400
0138 2467 89. Our records indicate that this item was delivered on 05/20/2019 at 10:17 a.m. in AUSTIN ,
TX 78711 . The scanned i mag~e..r.ecipier:itinformation js provided below.

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                                    DC-19-06872 FLUOR GOVERNMENT GROUP, INC.
                                    FLUOR GOVERNMENT GROUP, INC.
                                    OFFICE OF THE SECRETARY OF STATE
                                    Citations Unit
                                    PO Box 12079
                                    Austin , TX 78711-2079
                      Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                                  Page 87 of 198 PageID 116




FORM NO. 3534 C ITATION
                                                                           CJ\
                                                                                                                                                     CERT MA IL (SOS)
THE STATE OF TEXAS

To:       AL LI ANCE PRO.JEC T S E R VICES, INC.                                                                                                                       C ITATION
          BY SERVING T H E SECRETARY OF STATE                                                                '     . \ •· 1,   .u:.,
          OFFICE OF T H E SECRETARY OF STATf:
          C ITATIONS UN IT - P.O. BOX 12079
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                                                                                                                                                                  No.: DC-19-06872
          AUSTIN, TEXAS, 7871 1                                                                    _ _       cpr;y'--- ···~urv
                                                                                                                                                      CHARl,O'rrt: LOOUASTO; MICHAE L llJBELT;
                                                                                                                                                    SHELBY IUBE LT: .JULIA:--1:--IE PERRY; KATH LEE'.\'
GR EETINGS:                                                                                                                                          PERRY; STEWART PERRY; MARISSA BROWN;
                                                                                                                                                     CAil. PROVOST; i'\IEG HAN HOLLINGSWORT H;
You have been sued. You may employ an attorney. If yo u o r your attorney do not file a written ans\Ner with the                                    SA KAH PETERSON; BRIAN PROVOST; SPENCER
c lerk who issued this citation by I0 o'clock a.m. of the Monday next following the expiration of twenty days after you                                 PIWVOST; l.OUtS PROVOST; GERTRUDE
were served this citation and petition. a default judgment may be taken against you.                                                                 PIWVOST; KATRINA REF:VF.S; SU MM ER DU NN;
  Your answer should be addressed to the clerk of 1he 14th District Court at 600 Commerce Street, Dallas Texas, 75202.                                   llANNA H MASON; MALI.ORY REEVES;
                                                                                                                                                       CHAR LOTTE REEVES; CHRIS COLOVITA;
                                                                                                                                                     SAMUEL GA BARA; LAKEIA STOKES; MAGGI!::
 Said PLAINTIFF being CllARl.O ITE LOQl ASTO: MICllAEL lllBELT : SHELB\ I\ BEL'r: Jlll.IA'\NE PERRY: IV\'1111.H #'\                                 BILVF.U; INDIA SELLERS; ADD IE F'ORO; ROBERT
 PERR\ : STEWART PERRY: MAR IS&\ BRO\\ N: GAIL PRO\'OSl : \l t:GHAN llOLLl:-.'GS\\ ORl II: SARAll PETERSOX: BRIA'\                                          HF.ALEY; HAYLEE ROD RIGUEZ
 PRO\'OSl : SPE'\('F.R PROVOST: l.OlllS rRO\'OSf: C:tRTRI DE PRO\'OSl : KATRli\ \ Rt: E\'F.'I: Sl ,\ IM t:R or "'\: llA '\;NAii \IASO:-.':
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 s.:1.u:RS: ADOlt: FOKD: ROUU'I m:ALE' : llAYl.t:t: KOllKIGI EZ                                                                                            FLUOR CORPORATION, INC.; FLUOR
                                                                                                                                                       F.NTEllPRISES. INC.; FLUOR GOVERNMENT
Filed in said Court 14th day of May, 20 19 aga inst                                                                                                   GROU P. INC.; ALLIANCE PKOJECT SERV ICES,
                                                                                                                                                         INC.; FLUOR INTf:RCONTINENTAL. INC.
 FLUOR CORPORATION, INC.
 FLUOR ENTERPRISES, INC.
 FLUOR COV ERNM ENT GROUP, INC.                                                                                                                                     ISSUED
 ALLI ANCE PROJECT SERVICES, INC.                                                                                                                    O N TH IS THE 16TH DAY OF MAY, 2019
 FLUOR INT ERCO T INE TAL, INC.
                                                                                                                                                    f'ELI C IA PITRE
  Fo r suit, said suit being numbered DC- 19-06872 the nature of which demand is as follows:                                                        C lerk District Courts,
 Suit On OTHER PERSONAL INJURY e1c.                                                                                                                 Dallas County, Texas
as shown on said petition & REQUEST FOR DISCLOSURE a copy of which accompanies 1his cita1ion. lf1his citation is not
served, ii shall be returned uncxecutcd.                                                                                                             By ANGE LA CONE.JO , Deputy

                                                                                                                                                    Auorney for : Plaintiff
                                                                                                                                                     ANTHONY G BUZBEE
                                                                                                                                                     JP MORGAN CH ASE TOWER
                                                                                                                                                     600 TRAV IS, STE., 7300
                                                                                                                                                     HOUSTON, TEXAS 77002
                                                                                                                                                     7 13-223-5393


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                       Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                                                                 Page 88 of 198 PageID 117




                                                                                             OFFIC ER'S RETURN
                                                                                             FOR INDIVIDUALS
Cause No. DC-19-06872
Court No: 14th District Court
Style: Cl t/\RLOTTE LOQUASTO. ct al vs. FLUOR CORPORATION. INC .. ct al

         Received this Citation the _ __ _ day of_ _ _ _ _ _ . 20_ _at_ _ _ _o'clock. Executed at                        • within the Count) or
          - - - - - -- - - -- - - - '· State of                               . on the              day o f . 20_ _. at ___o'clock, by
delivering to the within named_ - - -- -- - - -- - - - -- --each in person, a cop) of this Citation together with the accornp3n) ing copy of
Plaintill's original petition, having first indorscd on same the date of delivery.
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a 1rue copy of this cita1ion 1ogcthcr wi1h lhe accompanying copy of PLA INTIFF'S ORIG INA L PETITION & REQUEST FOR DI SCLOSU RE. having firs1 indorsed on same 1hc dale of
delivery.
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The di stance actually tra ve led b?":iJJ serving such process was _ _ _ _ miles and my fees are as fo llows:                                    To ceni fy which witness by my hand.
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                                                                                                         O"-------                                 DISTRICT CLERK
                                                                                                                                                   600 COMMERCE STREET
(Must be verified if served outside the State of Texas)                                                                                            DALLAS, TEXAS 75202-4606
State of_ _ __ _ _ _ _ __ _ _ __
County of_ _ _ _ _ _ _ _ _ __ __
        Signed and sworn to me by the said                               before me this_ _ __
day of                                      _20___. to ccnify which "itncss my hand and seal of onicc.


                                                              Seal                                                                                          State & County of
 ~        UNITED STIJTES
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                         ..      1-3              Filed 06/19/19    Page 89 of 198 PageID 118




Date Produced: 05/21/2019

THE MAIL GROUP INC - 1 I CONFIRM DELIVERY INC:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 0661 5400
0138 2468 88. Our records indicate that this item was delivered on 05/20/2019 at 10:17 a.m. in AUSTIN ,
TX 78711 . The scanned image..o,LJ!te..r.eSpientinformation js pra"ided below.

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                                    DC-19-06872 ALLIANCE PROJECT SERVICES, INC.
                                    ALLIANCE PROJECT SERVICES, INC.
                                    OFFICE OF THE SECRETARY OF STATE
                                    Citations Unit
                                    PO Box 12079
                                    Austin, TX 78711 -2079
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Case 3:19-cv-01455-B Document 1-3 Filed 06/19/19                Page 90 of 198 PageID 119               FELICIA PITRE
                                                                                                    DISTRICT CLERK
                                                                                                       Kellie Juricek


                                        No. DC19-06872

Charlotte Loquasto, et al.,                       §         IN THE DISTRICT COURT
                                                  §
                Plaintiffs,                       §
v.                                                §
                                                  §
Fluor Corporation, Inc., Fluor Enterprises, Inc., §         DALLAS COUNTY, TEXAS
Fluor Government Group, Inc., Fluor               §
Intercontinental, Inc., and Alliance Project      §
Services, Inc.,                                   §
                                                  §
                Defendants.                       §        A-14 JUDICIAL DISTRICT

              FLUOR GOVERNMENT GROUP INTERNATIONAL, INC.'S 1
                         FIRST AMENDED ANSWER

TO THE HONORABLE JUDGE MOYE:

       Defendant FLUOR GOVERNMENT GROUP INTERNATIONAL, INC. ("Fluor") files

this First Amended Answer to Plaintiffs' Original Petition, respectfully showing this Court the

following:

                                      GENERAL DENIAL

        1.     Under Rule 92 of the Texas Rules of Civil Procedure, Fluor generally denies all

material allegations contained within Plaintiffs' Original Petition, as well as any amendments or

supplements thereto.

                       AFFIRMATIVE OR ADDITIONAL DEFENSES

       2.      This Court lacks subject matter jurisdiction because Plaintiffs' claims raise

nonjusticiable political questions under Baker v. Carr, 369 U.S. 186 (1962), and its progeny.

Plaintiffs' suit questions the reasonableness of force protection and security at a United States

Military base in an active conflict zone. Such military matters raise quintessential political



1
 Plaintiffs improperly name Fluor Government Group International, Inc. as "Fluor Government
Group, Inc."


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questions. See Taylor v. Kellogg Brown & Root Serv., Inc., 658 F.3d 402, 411-12 (4th Cir. 2011),

Smith v. Halliburton Co., No. H-06-0462, 2006 WL 2521326 (S.D. Tex. Aug. 30, 2006), and

Am. K-9 Detection Servs., Inc. v. Freeman, 556 S.W.3d 246 (Tex. 2018).

       3.      The political question doctrine bars Plaintiffs’ claims because the Military

exercised plenary control over Fluor’s alleged conduct at issue. “When a contractor operates

under the military’s plenary control, the contractor’s decisions may be considered de facto

military decisions.” Freeman, 556 S.W.3d at 255 (citing Carmichael v. Kellogg, Brown & Root

Servs., Inc., 572 F.3d 1271, 1276-77 (11th Cir. 2009)).

       4.      Even assuming arguendo that Fluor shared responsibilities regarding the base

security or force protection matters at issue—though Fluor did not do so—Plaintiffs’ suit

implicates sensitive Military decisions and judgments because Fluor was invariably “operating

pursuant to the military’s orders, instructions, and regulations.” Smith, 2006 WL 2521326, at *5.

When a plaintiff claims that a contractor performed paradigmatic military functions like force

protection or base security, his or her suit will raise “the same political questions.” See id. at *5

(quoting Whitaker v. Kellogg, Brown & Root, Inc., 444 F. Supp. 2d 1277, 1281 (M.D. Ga.

2006)). “[T]he use of [ ] civilian contractors to accomplish [a] military objective does not lessen

the deference due to the political branches in this area.” Whitaker, 444 F. Supp. 2d at 1281.

       5.      Plaintiffs’ suit—both on its face and in substance—raises political questions

because it implicates the reasonableness of Military decisions and judgments that directly

“contribut[ed] to causation.” Freeman, 556 S.W.3d at 255 (quoting Lane v. Halliburton, 529

F.3d 548, 561 (5th Cir. 2008)). Where the Military’s acts or omissions contribute to causation, a

“political question will loom large.” Id.




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       6.      Absent explosive material, there could be no bombing. The Military’s negligent

failure to prevent the suicide bomber, Ahmed Nayeb (“Nayeb”), from bringing explosive

material into BAF was the sole proximate cause of the incident in question, or alternatively, a

superseding, intervening, and/or new and independent cause of the incident.

       7.      Fluor’s causation defenses will “pose political questions [because] the court must

disentangle the military’s and the contractor’s respective causal roles.” Freeman, 556 S.W.3d at

255. Doing so will require the Court to question the reasonableness of Military decisions and

judgments. See id. at 255-57.

       8.      Fluor invokes all rights, privileges, protections, and immunities under Chapters 32

and 33 of the Texas Civil Practice and Remedies Code. Fluor’s invocation includes inter alia

comparative responsibility; contributory negligence; and apportionment of responsibility to

parties designated as responsible third parties under § 33.004. See Tex. Civ. Prac. & Rem. Code

§ 33.001 et seq.

       9.      The Military is subject to designation and apportionment under Chapter 33 of the

Texas Civil Practice and Remedies Code. See id. “[T]he jury should allocate responsibility

among all persons who are responsible for the claimant’s injury, regardless of whether they are

subject to the court’s jurisdiction or whether there is some other impediment to the imposition of

liability on them, such as statutory immunity.” Galbraith Eng’g Consultants, Inc. v. Pochucha,

29 S.W.3d 863, 868 (Tex. 2009).

       10.     Because Nayeb managed to enter the base with explosives, “the court would [ ]

have to examine base perimeter security,” as well as screening measures, security badge issuance

protocols, and escort procedures. Smith, 2006 WL 2521326, at *6. Perimeter security at a United

States Military base is textually committed to coordinate branches of the Government. Cafeteria




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and Restaurant Union, Local 473, AFL-CIO v. McElroy, 367 U.S. 886, 890 (1961). The Military

is in fact solely responsible for these-and all other-base security/force protection measures

even in the absence of LOGCAP directives. Smith, 2006 WL 2521326, at *3 (citing DoD

Instruction 2000.16, Enclosure 3, at§ E3.1.1.14.l (June 14, 2001), and Army Field Manual 100-

21 (Contractors on the Battlefield), at§ 6-3 (Jan. 2003)).

         11.   The Military2 knew in March of 2011 that Nayeb had ties to the Taliban.

Nevertheless, the Military sponsored Nayeb's admittance to the Provincial Reconstruction Team

Parwan (ROK)'s Vocational Training Center at BAF ("Parwan"). The Military granted Nayeb

access to work at BAF because it believed that vocational training and employment would

provide Nayeb with the skills necessary to obtain honest employment and allow him to reject the

insurgency's promise of money.

         12.   That Military action was part and parcel of the Military's larger "Afghan First"

strategy to counter the Afghan insurgency. Through mandating the employment of Afghans and

developing the Afghan economy, the Military believed that it would effectively "reduc[e] the

pool of frustrated, unemployed men and women from which insurgents can readily recruit." See

U.S. Government Counterinsurgency Guide, at p. 3 (Jan. 2009). "In times of turmoil, political,

social, security, and economic benefits can often entice people to support one side or the other."

See Army Field Manual 3-24 (Counterinsurgency), at 1-9, § 1-42 (Dec. 2006).

         13.   The Afghan First program was a direct outgrowth of these Military strategies,

judgments, and beliefs that were at the heart of the Military's larger strategy to prevail in an

asymmetric war in Afghanistan. Thus, N ayeb' s employment and presence at BAF pursuant to the




2
  Fluor was not aware before the bombing that N ayeb had previous ties to the Taliban because
the Military did not share that information with Fluor.


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Afghan First program was a direct result of strategic and sensitive Military decisions and

judgments.

      14.        The Military—not Fluor—dictated and controlled all aspects of Nayeb’s

screening and access to BAF. Nonexclusive examples include—

                The Military’s “Task Force Red Bulls” decided that, pursuant Afghan
                 First, sponsoring Nayeb for training and LOGCAP employment would
                 further the Military’s counterinsurgency (“COIN”) strategies.

                The Military decided to sponsor Nayeb for training and LOGCAP
                 employment even though it knew that Nayeb had ties to the Taliban in a
                 failed gambit to rehabilitate him.

                The Military contractually required Fluor to hire and retain Afghan
                 nationals cleared for LOGCAP work, even requiring quarterly progress
                 reports on the percentage of Afghans employed through LOGCAP
                 contracts.

                The Military’s Force Protection Screening Cell (“FPSC”) vetted Nayeb
                 and cleared him for enrollment at Parwan.

                The Military issued Nayeb the access badge that allowed him to enter
                 BAF.

                After Nayeb completed training at Parwan, the Military again screened,
                 interviewed, and approved Nayeb for LOGCAP work on December 11,
                 2011.

                The Military’s screening and approval of Nayeb for LOGCAP
                 employment resulted in Nayeb’s placement in the pool of Military-
                 approved Afghan nationals to support LOGCAP work under the Military’s
                 Afghan First initiative.

                The Military subsequently screened, interviewed, and continued to
                 approve Nayeb for LOGCAP work on six occasions before the bombing,
                 including a March 2016 Preliminary Credibility Assessment Screening
                 System (“PCASS”) screening—a field expedient lie detector.

                The Military alone operated and directed daily perimeter security at BAF,
                 to include searching Nayeb and all other Afghan nationals that entered
                 BAF through its quarter-mile long Entry Control Point 1 (“ECP-1”) and/or
                 other entry control points at BAF.



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       15.     The Military negligently directed and approved Nayeb’s employment for

LOGCAP contract work when it alone had actual knowledge of Nayeb’s ties to the Taliban. The

Military negligently failed to detect and report Nayeb’s apparent re-radicalization. The Military

negligently failed to prevent Nayeb from bringing explosive material into BAF.

       16.     Each of these nonexclusive acts and/or omissions constituted negligence that

proximately caused the subject incident and injuries. The Military’s negligence will bar

Plaintiffs’ claims in whole, or alternatively, in part, under §§ 33.003 and 33.013 of the Texas

Civil Practice and Remedies Code.

       17.     Fluor’s proportionate liability defense will inject political questions into this case.

Freeman, 556 S.W.3d at 255-57 (citing Harris v. Kellogg, Brown & Root Servs., Inc., 724 F.3d

458, 466 (3d Cir. 2013), and Fisher v. Halliburton, 667 F.3d 602, 621 (5th Cir. 2012)). “Courts

lack the facts, expertise, and standards necessary to evaluate whether reasonable care was taken

in these circumstances.” Smith, 2006 WL 2521326, at *6; see also Freeman, 556 S.W.3d at 256

(citing Harris, 724 F.3d at 474).      This is especially true where—as here—the Military’s

decision-making relates to battlefield strategy, force protection, and intelligence gathering.

Smith, 2006 WL 2521326, at *5.

       18.     Deciding these issues would require the fact-finder to adjudicate the

reasonableness of Military strategy and judgments in an active conflict zone. This Court cannot

review such subject matter because it impermissibly concerns “how the executive, or executive

officers, perform duties in which they have discretion.” Marbury v. Madison, 5 U.S. (1 Cranch)

137, 170, 177 (1803).

       19.     Fluor further asserts that this Court lacks subject matter jurisdiction in regard to

the claims of the families of Peter Provost and Jarrold Reeves, as these claims are subject to the




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exclusive remedy provisions of the Longshore and Harbor Workers' Compensation Act, 33

U.S.C. § 905, as extended by the Defense Base Act, 42 U.S.C. §§ 1651-1654.

       20.     Pleading further, the state secrets doctrine bars Plaintiffs' claims in their entirety.

On its face, the case sub Judice concerns matters with respect to which the Government will

assert the state secrets privilege. "[I]f military secrets are 'so central to the subject matter of the

litigation that any attempt to proceed will threaten disclosure of the privilege,' dismissal of the

case is appropriate." Zuckerbraun v. Gen. Dynamics Corp., 755 F. Supp. 1134, 1138 (D. Conn.

1990), ajf'd 935 F.2d 544 (2d Cir. 1991) (quoting Fitzgerald v. Penthouse Internat'l, Ltd., 776

F.2d 1236, 1241-42 (4th Cir. 1985)). Such is the case on these facts.

       21.     Fluor maintains that no court may exercise subject matter jurisdiction over this

case because Plaintiffs' suit raises nonjusticiable political questions. See pp. 1-6, iii! 1-18.

However, in the unlikely event that the Court does not dismiss this case on political question

grounds, the Government's invocation of state secrets privilege with respect to matters central to

the determination of this action will so hamper Fluor' s defense "that the trier of fact is likely to

reach an erroneous conclusion." See, e.g., Zuckerbraun v. Gen. Dynamics Corp., 935 F.2d 544,

547 (2d Cir. 1991) (citing Molerio v. F.B.I., 749 F.2d 815, 825 (D.C. Cir. 1984)). Such

circumstances independently warrant dismissal under the state secrets doctrine. See id.

     PROPORTIONATE RESPONSIBILITY OF UNKNOWN CRIMINAL ACTORS

       22.     Fluor collectively designates unknown criminal actors as responsible "John Does"

under Texas Civil Practice and Remedies Code § 33.004(j). The unknown persons are

responsible third parties because they committed criminal acts that caused "the loss or injury that

is the subject of [Plaintiffs'] lawsuit." See Tex. Civ. Prac. & Rem. Code§ 33.004(j).




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         23.   Major General Thomas S. James, Jr., U.S. Army, issued a “Report of

Investigation” under Army Regulation (“AR”) 15-6 with regard to the incident at issue in this

case. Plaintiffs rely on Major General James’ AR 15-6 Report in making their alleged liability

claims against Fluor in this case. Compare Plaintiffs’ Petition with Ex. 1 (AR 15-6 Report),

supra.

         24.   The Government fashioned the AR 15-6 Report to suit is own interests and

purposes and released only a heavily redacted version of the Report. Even the redacted version of

the AR 15-6 Report released by the Government confirms that the suicide bombing was

perpetrated not by Nayeb acting alone, but by Nayeb acting with unnamed co-conspirators.

         25.   The text of the AR 15-6 Report states that “no evidence suggests other Bagram

Airfield Local National[s], including Nayeb’s cousins, were coconspirators.” See Ex. 1 (AR 15-6

Report), at p. 7 (para. 11.a(2)). At the same time, the exhibits to the Report also make clear that

there were “co-conspirators to the suicide bomber,” including inter alia a sworn statement by an

officer of the Army’s Criminal Investigation Division (“CID”). See Ex. 1 (AR 15-6 Report) at

Exhibit 2A.

         27.   The Army CID officer averred under oath that he had “classified exhibits in [his]

investigation produced from other military agencies who identified co-conspirators to the suicide

bomber.” Id. (emphasis added). He goes on—“[a]t this time, CID does not plan on listing the co-

conspirators as subjects in the unclassified LER [Law-Enforcement Report] due to the classified

means in which they were identified as subjects/co-conspirators.” Id.

         28.   Other 15-6 interviewees averred that they have actual knowledge of “facilitation”

that directly compromised Military-directed security measures and protocols in place at the time

of the incident. For example, Afghan nationals were smuggling goods to trade for favors like




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"look[ing] away." See Ex. 1 (AR 15-6 Report), Exhibit 2J, at 3; and Exhibit 30, at 7. The

redacted report does not identify any persons that accepted payment for "look[ing] away," but it

does assert that Nayeb was able to smuggle explosive material into BAF through one or more of

BAF's ECPs during a four-month period.

            29.   According to a press report, "[t]he Afghan Taliban claimed responsibility soon

after the bombing, saying the assailant was one of their fighters and that they had been planning

it for four months," referring to unnamed Taliban co-conspirators. Harooni & Shams,

Intelligence gaps may have helped Afghan Taliban breach NATO fortress, Reuters Nov. 23,

2016, https://www.reuters.com/article/us-afghanistan-usa-bomber-insight/intelligence-gaps-may-

have-helped-afghan-taliban-breach-nato-fortress-idUSKBN13I2NN (emphasis added).

            30.   Fluor collectively designates as "John Does" all persons that assisted Nayeb;

conspired with Nayeb; or facilitated Nayeb's suicide bombing attack at BAF, whether they

worked at BAF or remained off base, whether such assistance occurred before or during the

course of Nayeb's attack. See Tex. Civ. Prac. & Rem. Code § 33.004(j). Section 33.004(j)

authorizes Fluor' s designation of the John Does as responsible third parties because the John

Does committed criminal acts that caused the losses and/or injuries that are the subject of this

suit. Id.

            31.   It is beyond dispute that Nayeb's suicide attack constituted criminal behavior.

Nayeb intentionally, knowingly, recklessly, and/or negligently caused the deaths of multiple

persons. See Tex. Penal Code §§ 19.02(b) (Murder), 19.04 (Manslaughter), and 19.05

(Criminally Negligent Homicide). Nayeb intentionally, knowingly, or recklessly caused serious

bodily injury to multiple persons through use of a deadly weapon. See Tex. Penal Code §§

22.0l(a)(l) (Assault) and 22.02(a)(l), (2) (Aggravated Assault). Nayeb recklessly engaged in




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conduct that placed others in imminent danger of serious bodily injury. See Tex. Penal Code §

22.05 (Deadly Conduct).

          32.   Under Texas Penal Code § 15.02, the John Does committed criminal acts by—(1)

agreeing with Nayeb and/or one or more other persons that Nayeb would conduct the suicide

attack in question, and (2) performing one or more overt acts in pursuance of their agreement and

Nayeb’s suicide attack. See Tex. Penal Code § 15.02(a)(1), (2) (Criminal Conspiracy).

          33.   Nayeb was a low-skilled laborer in the HAZMAT area of BAF’s Non-Tactical

Vehicle (“NTV”) yard. He had access to benign, non-explosive substances pursuant to Military

directives. His only formal education or vocational training consisted of training at BAF’s

Parwan vocation school. The Parwan vocational training school did not teach or instruct its

attendees how to make or construct explosive devices such as that which Nayeb used in his

attack.

          34.   On information and belief, Fluor asserts that one or more of the John Does

“perform[ed] an overt act” in furtherance of Nayeb’s suicide attack by constructing—or assisting

Nayeb in the construction of—his suicide vest. See Tex. Penal Code § 15.02(a)(1), (2) (Criminal

Conspiracy). Such criminal activity proximately caused the harm for which Plaintiffs seek

recovery.

          35.   Military and Coalition Security Task Forces in charge of the BAF Ground Area

Defense (“BAF GAD”) were responsible for ensuring that personnel at ECPs performed physical

security inspections on any personnel or vehicles entering or exiting BAF. Fluor had no input

into the means, methods, or details of such physical searches of Nayeb or other Afghan Nationals

entering or exiting BAF. Fluor also did not have input or control over the Military’s random




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searches or counterintelligence screenings of Nayeb. The Military—not Fluor—was responsible

for ensuring that responsible personnel properly conducted all such searches.

       36.     Fluor asserts that one or more of the John Does facilitated and furthered Nayeb’s

suicide attack by “look[ing] away” and allowing Nayeb to smuggle explosive material through

one or more BAF ECPs. See Ex. 1 (AR 15-6 Report), at 49 (para. 18.b(2)), Exhibit 2J (p. 3); and

Exhibit 3O (p. 7). Further, on information and belief, one or more of the John Does furnished

and/or accepted bribes, kickbacks, or payoffs to ensure that persons responsible for searching

Nayeb “look[ed] away” and allowed Nayeb to smuggle explosive material into BAF. See id.

Such activity in furtherance of Nayeb’s suicide attack was criminal in nature and proximately

caused the harm for which Plaintiffs seek recovery. See Tex. Penal Code § 15.02(a)(1), (2)

(Criminal Conspiracy).

       37.     On the morning of the incident, Nayeb was supposed to take a transport bus or a

“Tata” vehicle with other Afghan Nationals to depart BAF via ECP-1. Per the Military’s Base

Access Policy, three Military-trained escorts with yellow, Military-issued access badges were

permitted to transport Nayeb and other Afghan nationals to ECP-1. Despite these Military-

provided safety protocols and measures, the Military alleges that Nayeb evaded the escorts and

walked from the NTV to the bombing site.

       38.     On information and belief, Fluor asserts that one or more of the John Does—

including inter alia one or more of the John Does on BAF premises—acted as Nayeb’s

accomplice and facilitated and/or assisted Nayeb in evading escort on the morning of the

incident. On information and belief, Fluor further asserts that one or more of the John Does

facilitated and/or assisted Nayeb in traveling from the NTV yard to the site of the bombing.




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       39.     Again, such activity—(1) furthered Nayeb’s suicide attack, (2) constituted

criminal activity, and (3) proximately caused the harm for which Plaintiffs seek recovery. See

Tex. Penal Code § 15.02(a)(1), (2) (Criminal Conspiracy), and Tex. Civ. Prac. & Rem. Code §

33.004(j).

       40.     At this time, and on information and belief, the following is the only identifying

characteristic of the John Does of which Fluor is aware—the John Does are members of or

associated with the Taliban. The Government’s heavy redaction of the AR 15-6 report—and the

classified nature of information supporting the AR 15-6 report—prevent Fluor from providing

any other identifying characteristics of one or more of the John Does.

       41.     Fluor’s designation meets the requirements that the Legislature prescribed under

§ 33.004(j). Fluor “has pleaded facts sufficient for the court to determine that there is a

reasonable probability that the act[s] of the unknown person[s] w[ere] criminal.” See Tex. Civ.

Prac. & Rem. Code § 33.004(j)(1). Fluor has stated in this Answer “all identifying characteristics

of the unknown person[s], known at the time of th[is] answer.” Id. at § 33.004(j)(2). Fluor’s

pleadings and allegations satisfy the fair notice pleading requirements of the Texas Rules of Civil

Procedure. Id. at § 33.004(j)(3); see also Tex. R. Civ. P. 47, and In re CVR Energy, Inc., 500

S.W.3d 67, 80 (Tex. App.—Houston [1st Dist.] 2016, orig. proceeding) (“The applicable Rule of

Civil Procedure is Rule 47, which is our ‘notice’ pleading rule.”).

       42.     Fluor’s designation is also timely. Under § 33.004(j), the defendant must

designate unknown criminal actors “not later than 60 days after the filing of the defendant’s

original answer.” Fluor files this Amended Answer and § 33.004(j) designation within seven

days of its June 10, 2019 Original Answer.




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        43.     Accordingly, under § 33.004G), "the court shall grant" a motion for leave to

designate the John Does (collectively) as responsible third parties.

                                            PRAYER

        THEREFORE, Defendant FLUOR GOVERNMENT GROUP INTERNATIONAL,

INC. respectfully requests that Plaintiffs take nothing by way of their suit, and that Fluor have

judgment for costs of suit, general relief, and such other and further relief to which it may show

itself entitled in law or in equity.


                                              Respectfully submitted,

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                                  Certificate of Service

        The undersigned certifies that on June 17, 2019, Defendant Fluor Government Group
International, Inc. served a true and correct copy of the foregoing document on all known
counsel of record under the Texas Rules of Civil Procedure.

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                                                                                                       Kellie Juricek


                                         No. DC19-06872

Charlotte Loquasto, et al.,                       §            IN THE DISTRICT COURT
                                                  §
                Plaintiffs,                       §
v.                                                §
                                                  §
Fluor Corporation, Inc., Fluor Enterprises, Inc., §           DALLAS COUNTY, TEXAS
Fluor Government Group, Inc., Fluor               §
Intercontinental, Inc., and Alliance Project      §
Services, Inc.,                                   §
                                                  §
                Defendants.                       §          A-14 JUDICIAL DISTRICT

      FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., AND FLUOR
              INTERCONTINENTAL, INC.'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE MOYE:

       Defendant FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., and

FLUOR INTERCONTINENTAL, INC. (collectively, "Fluor") file this Original Answer to

Plaintiffs' Original Petition, respectfully showing this Court the following:

                                      GENERAL DENIAL

        1.     Under Rule 92 of the Texas Rules of Civil Procedure, Fluor generally denies all

material allegations contained within Plaintiffs' Original Petition, as well as any amendments or

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                       AFFIRMATIVE OR ADDITIONAL DEFENSES

       2.      This Court lacks subject matter jurisdiction because Plaintiffs' claims raise

nonjusticiable political questions under Baker v. Carr, 369 U.S. 186 (1962), and its progeny.

Plaintiffs' suit questions the reasonableness of force protection and security at a United States

Military base in an active conflict zone. Such military matters raise quintessential political

questions. See Taylor v. Kellogg Brown & Root Serv., Inc., 658 F.3d 402, 411-12 (4th Cir. 2011),




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Smith v. Halliburton Co., No. H-06-0462, 2006 WL 2521326 (S.D. Tex. Aug. 30, 2006), and

Am. K-9 Detection Servs., Inc. v. Freeman, 556 S.W.3d 246 (Tex. 2018).

       3.      The political question doctrine bars Plaintiffs’ claims because the Military

exercised plenary control over Fluor’s alleged conduct at issue. “When a contractor operates

under the military’s plenary control, the contractor’s decisions may be considered de facto

military decisions.” Freeman, 556 S.W.3d at 255 (citing Carmichael v. Kellogg, Brown & Root

Servs., Inc., 572 F.3d 1271, 1276-77 (11th Cir. 2009)).

       4.      Even assuming arguendo that Fluor shared responsibilities regarding the base

security or force protection matters at issue—though Fluor did not do so—Plaintiffs’ suit

implicates sensitive Military decisions and judgments because Fluor was invariably “operating

pursuant to the military’s orders, instructions, and regulations.” Smith, 2006 WL 2521326, at *5.

When a plaintiff claims that a contractor performed paradigmatic military functions like force

protection or base security, his or her suit will raise “the same political questions.” See id. at *5

(quoting Whitaker v. Kellogg, Brown & Root, Inc., 444 F. Supp. 2d 1277, 1281 (M.D. Ga.

2006)). “[T]he use of [ ] civilian contractors to accomplish [a] military objective does not lessen

the deference due to the political branches in this area.” Whitaker, 444 F. Supp. 2d at 1281.

       5.      Plaintiffs’ suit—both on its face and in substance—raises political questions

because it implicates the reasonableness of Military decisions and judgments that directly

“contribut[ed] to causation.” Freeman, 556 S.W.3d at 255 (quoting Lane v. Halliburton, 529

F.3d 548, 561 (5th Cir. 2008)). Where the Military’s acts or omissions contribute to causation, a

“political question will loom large.” Id.

       6.      Absent explosive material, there could be no bombing. The Military’s negligent

failure to prevent the suicide bomber, Ahmed Nayeb (“Nayeb”), from bringing explosive




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material into BAF was the sole proximate cause of the incident in question, or alternatively, a

superseding, intervening, and/or new and independent cause of the incident.

       7.      Fluor’s causation defenses will “pose political questions [because] the court must

disentangle the military’s and the contractor’s respective causal roles.” Freeman, 556 S.W.3d at

255. Doing so will require the Court to question the reasonableness of Military decisions and

judgments. See id. at 255-57.

       8.      Fluor invokes all rights, privileges, protections, and immunities under Chapters 32

and 33 of the Texas Civil Practice and Remedies Code. Fluor’s invocation includes inter alia

comparative responsibility; contributory negligence; and apportionment of responsibility to

parties designated as responsible third parties under § 33.004. See Tex. Civ. Prac. & Rem. Code

§ 33.001 et seq.

       9.      The Military is subject to designation and apportionment under Chapter 33 of the

Texas Civil Practice and Remedies Code. See id. “[T]he jury should allocate responsibility

among all persons who are responsible for the claimant’s injury, regardless of whether they are

subject to the court’s jurisdiction or whether there is some other impediment to the imposition of

liability on them, such as statutory immunity.” Galbraith Eng’g Consultants, Inc. v. Pochucha,

29 S.W.3d 863, 868 (Tex. 2009).

       10.     Because Nayeb managed to enter the base with explosives, “the court would [ ]

have to examine base perimeter security,” as well as screening measures, security badge issuance

protocols, and escort procedures. Smith, 2006 WL 2521326, at *6. Perimeter security at a United

States Military base is textually committed to coordinate branches of the Government. Cafeteria

and Restaurant Union, Local 473, AFL-CIO v. McElroy, 367 U.S. 886, 890 (1961). The Military

is in fact solely responsible for these—and all other—base security/force protection measures




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even in the absence of LOGCAP directives. Smith, 2006 WL 2521326, at *3 (citing DoD

Instruction 2000.16, Enclosure 3, at§ E3.1.1.14.1 (June 14, 2001), and Army Field Manual 100-

21 (Contractors on the Battlefield), at§ 6-3 (Jan. 2003)).

       11.     The Military 1 knew in March of 2011 that Nayeb had ties to the Taliban.

Nevertheless, the Military sponsored Nayeb's admittance to the Provincial Reconstruction Team

Parwan (ROK)'s Vocational Training Center at BAF ("Parwan"). The Military granted Nayeb

access to work at BAF because it believed that vocational training and employment would

provide Nayeb with the skills necessary to obtain honest employment and allow him to reject the

insurgency's promise of money.

       12.     That Military action was part and parcel of the Military's larger "Afghan First"

strategy to counter the Afghan insurgency. Through mandating the employment of Afghans and

developing the Afghan economy, the Military believed that it would effectively "reduc[e] the

pool of frustrated, unemployed men and women from which insurgents can readily recruit." See

U.S. Government Counterinsurgency Guide, at p. 3 (Jan. 2009). "In times of turmoil, political,

social, security, and economic benefits can often entice people to support one side or the other."

See Army Field Manual 3-24 (Counterinsurgency), at 1-9, § 1-42 (Dec. 2006).

       13.     The Afghan First program was a direct outgrowth of these Military strategies,

judgments, and beliefs that were at the heart of the Military's larger strategy to prevail in an

asymmetric war in Afghanistan. Thus, N ayeb' s employment and presence at BAF pursuant to the

Afghan First program was a direct result of strategic and sensitive Military decisions and

judgments.




1
  Fluor was not aware before the bombing that N ayeb had previous ties to the Taliban because
the Military did not share that information with Fluor.


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      14.       The Military—not Fluor—dictated and controlled all aspects of Nayeb’s

screening and access to BAF. Nonexclusive examples include—

               The Military’s “Task Force Red Bulls” decided that, pursuant Afghan
                First, sponsoring Nayeb for training and LOGCAP employment would
                further the Military’s counterinsurgency (“COIN”) strategies.

               The Military decided to sponsor Nayeb for training and LOGCAP
                employment even though it knew that Nayeb had ties to the Taliban in a
                failed gambit to rehabilitate him.

               The Military contractually required Fluor to hire and retain Afghan
                nationals cleared for LOGCAP work, even requiring quarterly progress
                reports on the percentage of Afghans employed through LOGCAP
                contracts.

               The Military’s Force Protection Screening Cell (“FPSC”) vetted Nayeb
                and cleared him for enrollment at Parwan.

               The Military issued Nayeb the access badge that allowed him to enter
                BAF.

               After Nayeb completed training at Parwan, the Military again screened,
                interviewed, and approved Nayeb for LOGCAP work on December 11,
                2011.

               The Military’s screening and approval of Nayeb for LOGCAP
                employment resulted in Nayeb’s placement in the pool of Military-
                approved Afghan nationals to support LOGCAP work under the Military’s
                Afghan First initiative.

               The Military subsequently screened, interviewed, and continued to
                approve Nayeb for LOGCAP work on six occasions before the bombing,
                including a March 2016 Preliminary Credibility Assessment Screening
                System (“PCASS”) screening—a field expedient lie detector.

               The Military alone operated and directed daily perimeter security at BAF,
                to include searching Nayeb and all other Afghan nationals that entered
                BAF through its quarter-mile long Entry Control Point 1 (“ECP-1”) and/or
                other entry control points at BAF.

      15.       The Military negligently directed and approved Nayeb’s employment for

LOGCAP contract work when it alone had actual knowledge of Nayeb’s ties to the Taliban. The



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Military negligently failed to detect and report Nayeb’s apparent re-radicalization. The Military

negligently failed to prevent Nayeb from bringing explosive material into BAF.

       16.     Each of these nonexclusive acts and/or omissions constituted negligence that

proximately caused the subject incident and injuries. The Military’s negligence will bar

Plaintiffs’ claims in whole, or alternatively, in part, under §§ 33.003 and 33.013 of the Texas

Civil Practice and Remedies Code.

       17.     Fluor’s proportionate liability defense will inject political questions into this case.

Freeman, 556 S.W.3d at 255-57 (citing Harris v. Kellogg, Brown & Root Servs., Inc., 724 F.3d

458, 466 (3d Cir. 2013), and Fisher v. Halliburton, 667 F.3d 602, 621 (5th Cir. 2012)). “Courts

lack the facts, expertise, and standards necessary to evaluate whether reasonable care was taken

in these circumstances.” Smith, 2006 WL 2521326, at *6; see also Freeman, 556 S.W.3d at 256

(citing Harris, 724 F.3d at 474).      This is especially true where—as here—the Military’s

decision-making relates to battlefield strategy, force protection, and intelligence gathering.

Smith, 2006 WL 2521326, at *5.

       18.     Deciding these issues would require the fact-finder to adjudicate the

reasonableness of Military strategy and judgments in an active conflict zone. This Court cannot

review such subject matter because it impermissibly concerns “how the executive, or executive

officers, perform duties in which they have discretion.” Marbury v. Madison, 5 U.S. (1 Cranch)

137, 170, 177 (1803).

       19.     Fluor further asserts that this Court lacks subject matter jurisdiction in regard to

the claims of the families of Peter Provost and Jarrold Reeves, as these claims are subject to the

exclusive remedy provisions of the Longshore and Harbor Workers’ Compensation Act, 33

U.S.C. § 905, as extended by the Defense Base Act , 42 U.S.C. §§ 1651-1654.




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       20.     Pleading further, the state secrets doctrine bars Plaintiffs' claims in their entirety.

On its face, the case sub Judice concerns matters with respect to which the Government will

assert the state secrets privilege. "[I]f military secrets are 'so central to the subject matter of the

litigation that any attempt to proceed will threaten disclosure of the privilege,' dismissal of the

case is appropriate." Zuckerbraun v. Gen. Dynamics Corp., 755 F. Supp. 1134, 1138 (D. Conn.

1990), ajf'd 935 F.2d 544 (2d Cir. 1991) (quoting Fitzgerald v. Penthouse Internat'l, Ltd., 776

F.2d 1236, 1241-42 (4th Cir. 1985)). Such is the case on these facts.

       21.     Fluor maintains that no court may exercise subject matter jurisdiction over this

case because Plaintiffs' suit raises nonjusticiable political questions. See pp. 1-6, ,-r,-r 1-18.

However, in the unlikely event that the Court does not dismiss this case on political question

grounds, the Government's invocation of state secrets privilege with respect to matters central to

the determination of this action will so hamper Fluor' s defense "that the trier of fact is likely to

reach an erroneous conclusion." See, e.g., Zuckerbraun v. Gen. Dynamics Corp., 935 F.2d 544,

547 (2d Cir. 1991) (citing Molerio v. F.B.I., 749 F.2d 815, 825 (D.C. Cir. 1984)). Such

circumstances independently warrant dismissal under the state secrets doctrine. See id.

     PROPORTIONATE RESPONSIBILITY OF UNKNOWN CRIMINAL ACTORS

       22.     Fluor collectively designates unknown criminal actors as responsible "John Does"

under Texas Civil Practice and Remedies Code § 33.004G). The unknown persons are

responsible third parties because they committed criminal acts that caused "the loss or injury that

is the subject of [Plaintiffs'] lawsuit." See Tex. Civ. Prac. & Rem. Code§ 33.004(j).

       23.     Major General Thomas S. James, Jr., U.S. Army, issued a "Report of

Investigation" under Army Regulation ("AR") 15-6 with regard to the incident at issue in this

case. Plaintiffs rely on Major General James' AR 15-6 Report in making their alleged liability




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claims against Fluor in this case. Compare Plaintiffs’ Petition with Ex. 1 (AR 15-6 Report),

supra.

         24.   The Government fashioned the AR 15-6 Report to suit is own interests and

purposes and released only a heavily redacted version of the Report. Even the redacted version of

the AR 15-6 Report released by the Government confirms that the suicide bombing was

perpetrated not by Nayeb acting alone, but by Nayeb acting with unnamed co-conspirators.

         25.   The text of the AR 15-6 Report states that “no evidence suggests other Bagram

Airfield Local National[s], including Nayeb’s cousins, were coconspirators.” See Ex. 1 (AR 15-6

Report), at p. 7 (para. 11.a(2)). At the same time, the exhibits to the Report also make clear that

there were “co-conspirators to the suicide bomber,” including inter alia a sworn statement by an

officer of the Army’s Criminal Investigation Division (“CID”). See Ex. 1 (AR 15-6 Report) at

Exhibit 2A.

         27.   The Army CID officer averred under oath that he had “classified exhibits in [his]

investigation produced from other military agencies who identified co-conspirators to the suicide

bomber.” Id. (emphasis added). He goes on—“[a]t this time, CID does not plan on listing the co-

conspirators as subjects in the unclassified LER [Law-Enforcement Report] due to the classified

means in which they were identified as subjects/co-conspirators.” Id.

         28.   Other 15-6 interviewees averred that they have actual knowledge of “facilitation”

that directly compromised Military-directed security measures and protocols in place at the time

of the incident. For example, Afghan nationals were smuggling goods to trade for favors like

“look[ing] away.” See Ex. 1 (AR 15-6 Report), Exhibit 2J, at 3; and Exhibit 3O, at 7. The

redacted report does not identify any persons that accepted payment for “look[ing] away,” but it




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does assert that N ayeb was able to smuggle explosive material into BAF through one or more of

BAF's ECPs during a four-month period.

            29.   According to a press report, "[t]he Afghan Taliban claimed responsibility soon

after the bombing, saying the assailant was one of their fighters and that they had been planning

it for four months," referring to unnamed Taliban co-conspirators. Harooni & Shams,

Intelligence gaps may have helped Afghan Taliban breach NATO fortress, Reuters Nov. 23,

2016, https://www.reuters.com/article/us-afghanistan-usa-bomber-insight/intelligence-gaps-may-

have-helped-afghan-taliban-breach-nato-fortress-idUSKBNl 3I2NN (emphasis added).

            30.   Fluor collectively designates as "John Does" all persons that assisted Nayeb;

conspired with Nayeb; or facilitated Nayeb's suicide bombing attack at BAF, whether they

worked at BAF or remained off base, whether such assistance occurred before or during the

course of Nayeb's attack. See Tex. Civ. Prac. & Rem. Code § 33.004(j). Section 33.004(j)

authorizes Fluor' s designation of the John Does as responsible third parties because the John

Does committed criminal acts that caused the losses and/or injuries that are the subject of this

suit. Id.

            31.   It is beyond dispute that Nayeb's suicide attack constituted criminal behavior.

Nayeb intentionally, knowingly, recklessly, and/or negligently caused the deaths of multiple

persons. See Tex. Penal Code §§ 19.02(b) (Murder), 19.04 (Manslaughter), and 19.05

(Criminally Negligent Homicide). Nayeb intentionally, knowingly, or recklessly caused serious

bodily injury to multiple persons through use of a deadly weapon. See Tex. Penal Code §§

22.0l(a)(l) (Assault) and 22.02(a)(l), (2) (Aggravated Assault). Nayeb recklessly engaged in

conduct that placed others in imminent danger of serious bodily injury. See Tex. Penal Code §

22.05 (Deadly Conduct).




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          32.   Under Texas Penal Code § 15.02, the John Does committed criminal acts by—(1)

agreeing with Nayeb and/or one or more other persons that Nayeb would conduct the suicide

attack in question, and (2) performing one or more overt acts in pursuance of their agreement and

Nayeb’s suicide attack. See Tex. Penal Code § 15.02(a)(1), (2) (Criminal Conspiracy).

          33.   Nayeb was a low-skilled laborer in the HAZMAT area of BAF’s Non-Tactical

Vehicle (“NTV”) yard. He had access to benign, non-explosive substances pursuant to Military

directives. His only formal education or vocational training consisted of training at BAF’s

Parwan vocation school. The Parwan vocational training school did not teach or instruct its

attendees how to make or construct explosive devices such as that which Nayeb used in his

attack.

          34.   On information and belief, Fluor asserts that one or more of the John Does

“perform[ed] an overt act” in furtherance of Nayeb’s suicide attack by constructing—or assisting

Nayeb in the construction of—his suicide vest. See Tex. Penal Code § 15.02(a)(1), (2) (Criminal

Conspiracy). Such criminal activity proximately caused the harm for which Plaintiffs seek

recovery.

          35.   Military and Coalition Security Task Forces in charge of the BAF Ground Area

Defense (“BAF GAD”) were responsible for ensuring that personnel at ECPs performed physical

security inspections on any personnel or vehicles entering or exiting BAF. Fluor had no input

into the means, methods, or details of such physical searches of Nayeb or other Afghan Nationals

entering or exiting BAF. Fluor also did not have input or control over the Military’s random

searches or counterintelligence screenings of Nayeb. The Military—not Fluor—was responsible

for ensuring that responsible personnel properly conducted all such searches.




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       36.     Fluor asserts that one or more of the John Does facilitated and furthered Nayeb’s

suicide attack by “look[ing] away” and allowing Nayeb to smuggle explosive material through

one or more BAF ECPs. See Ex. 1 (AR 15-6 Report), at 49 (para. 18.b(2)), Exhibit 2J (p. 3); and

Exhibit 3O (p. 7). Further, on information and belief, one or more of the John Does furnished

and/or accepted bribes, kickbacks, or payoffs to ensure that persons responsible for searching

Nayeb “look[ed] away” and allowed Nayeb to smuggle explosive material into BAF. See id.

Such activity in furtherance of Nayeb’s suicide attack was criminal in nature and proximately

caused the harm for which Plaintiffs seek recovery. See Tex. Penal Code § 15.02(a)(1), (2)

(Criminal Conspiracy).

       37.     On the morning of the incident, Nayeb was supposed to take a transport bus or a

“Tata” vehicle with other Afghan Nationals to depart BAF via ECP-1. Per the Military’s Base

Access Policy, three Military-trained escorts with yellow, Military-issued access badges were

permitted to transport Nayeb and other Afghan nationals to ECP-1. Despite these Military-

provided safety protocols and measures, the Military alleges that Nayeb evaded the escorts and

walked from the NTV to the bombing site.

       38.     On information and belief, Fluor asserts that one or more of the John Does—

including inter alia one or more of the John Does on BAF premises—acted as Nayeb’s

accomplice and facilitated and/or assisted Nayeb in evading escort on the morning of the

incident. On information and belief, Fluor further asserts that one or more of the John Does

facilitated and/or assisted Nayeb in traveling from the NTV yard to the site of the bombing.

       39.     Again, such activity—(1) furthered Nayeb’s suicide attack, (2) constituted

criminal activity, and (3) proximately caused the harm for which Plaintiffs seek recovery. See




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Tex. Penal Code § 15.02(a)(1), (2) (Criminal Conspiracy), and Tex. Civ. Prac. & Rem. Code §

33.004(j).

       40.     At this time, and on information and belief, the following is the only identifying

characteristic of the John Does of which Fluor is aware—the John Does are members of or

associated with the Taliban. The Government’s heavy redaction of the AR 15-6 report—and the

classified nature of information supporting the AR 15-6 report—prevent Fluor from providing

any other identifying characteristics of one or more of the John Does.

       41.     Fluor’s designation meets the requirements that the Legislature prescribed under

§ 33.004(j). Fluor “has pleaded facts sufficient for the court to determine that there is a

reasonable probability that the act[s] of the unknown person[s] w[ere] criminal.” See Tex. Civ.

Prac. & Rem. Code § 33.004(j)(1). Fluor has stated in this Answer “all identifying characteristics

of the unknown person[s], known at the time of th[is] answer.” Id. at § 33.004(j)(2). Fluor’s

pleadings and allegations satisfy the fair notice pleading requirements of the Texas Rules of Civil

Procedure. Id. at § 33.004(j)(3); see also Tex. R. Civ. P. 47, and In re CVR Energy, Inc., 500

S.W.3d 67, 80 (Tex. App.—Houston [1st Dist.] 2016, orig. proceeding) (“The applicable Rule of

Civil Procedure is Rule 47, which is our ‘notice’ pleading rule.”).

       42.     Fluor’s designation is also timely. Under § 33.004(j), the defendant must

designate unknown criminal actors “not later than 60 days after the filing of the defendant’s

original answer.” Fluor files this Amended Answer and § 33.004(j) designation within seven

days of its June 10, 2019 Original Answer.

       43.     Accordingly, under § 33.004(j), “the court shall grant” a motion for leave to

designate the John Does (collectively) as responsible third parties.




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                                             PRAYER

       THEREFORE, Defendant FLUOR CORPORATION, INC., FLUOR ENTERPRISES,

INC., and FLUOR INTERCONTINENTAL, INC. respectfully request that Plaintiffs take

nothing by way of their suit, and that Fluor have judgment for costs of suit, general relief, and

such other and further relief to which it may show itself entitled in law or in equity.


                                               Respectfully submitted,

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                                         Inc.


                                  Certificate of Service

        The undersigned certifies that on June 17, 2019, Defendant Fluor Government Group
International, Inc. served a true and correct copy of the foregoing document on all known
counsel of record under the Texas Rules of Civil Procedure.

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                                                                                                   6/18/2019 9:00 AM
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                                                                                                   DISTRICT CLERK
                                                                                                      Kellie Juricek


                                         No. DC19-06872

Charlotte Loquasto, et al.,                       §            IN THE DISTRICT COURT
                                                  §
                Plaintiffs,                       §
v.                                                §
                                                  §
Fluor Corporation, Inc., Fluor Enterprises, Inc., §           DALLAS COUNTY, TEXAS
Fluor Government Group, Inc., Fluor               §
Intercontinental, Inc., and Alliance Project      §
Services, Inc.,                                   §
                                                  §
                Defendants.                       §           A-14 JUDICIAL DISTRICT

         FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., FLUOR
         INTERCONTINENTAL, INC., AND FLUOR GOVERNMENT GROUP
           INTERNATIONAL, INC.’S SUPPLEMENT TO THEIR ORIGINAL
                      AND FIRST AMENDED ANSWERS

TO THE HONORABLE JUDGE MOYÉ:

       Defendants FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC., FLUOR

INTERCONTINENTAL, INC., and FLUOR GOVERNMENT GROUP INTERNATIONAL,

INC. (collectively, “Fluor Defendants”) file this Supplement to their Original and First Amended

Answers in the above-styled cause, respectfully showing this Court the following:

       1.      On June 17, 2019, the Fluor Defendants made the following filings—(1) Fluor

Government Group International, Inc. filed a First Amended Answer; and (2) Fluor Corporation,

Inc., Fluor Enterprises, Inc., and Fluor Intercontinental, Inc. filed an Original Answer.

       2.      In both Answers, the Fluor Defendants asserted the responsibility of unknown

criminal actors under Texas Civil Practice and Remedies Code § 33.004(j). Although no

affirmative evidence is necessary to make such designations, the Fluor Defendants designated

the United States Army’s AR 15-6 Report—with certain exhibits—as Exhibit 1 to their

respective Answers.




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       3.      The Fluor Defendants inadvertently omitted Exhibit 1 when they filed their

Answers on June 17, 2019. Thus, the Fluor Defendants file this Supplement to those Answers,

including the inadvertently omitted Exhibit 1.

       4.      The Fluor Defendants hereby supplement for all relevant purposes—(1) Fluor

Government Group International, Inc.’s First Amended Answer, and (2) Fluor Corporation, Inc.,

Fluor Enterprises, Inc., and Fluor Intercontinental, Inc.’s Original Answer.

                                             Respectfully submitted,

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                                   Certificate of Service

       The undersigned certifies that on June 18, 2019, Defendants served a true and correct
copy of the foregoing document on all known counsel of record under the Texas Rules of Civil
Procedure.

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                                  DEPARTMENT OF THE ARMY
                                HEADQUARTERS, 7TH INFANTRY DIVISION
                                       BOX 339500, MAIL STOP 59
                               JOINT BASE LEWIS-MCCHORD, WA 98433-9500



  AFZC-CG                                                                        31 December 2016


  MEMORANDUM FOR Commander, United States Forces-Afghanistan, Kabul, Afghanistan,
  APO, AE 09356

  SUBJECT: Army Regulation 15-6 Investigation on the 12 November 2016 Attack on Bagram




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  Airfield, Afghanistan




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  1. (U/i'FOUO) The purpose of this memorandum and its enclosures is to enumerate relevant




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  facts, findings, and recommendations pertaining to the circumstances and events surrounding the
  suicide vest attack that occurred on Bagram Airfield on 12 November 2016. Based upon the




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  appointment orders dated 25 November 2016, the undersigned and nine other personnel from 7th
  Infantry Division deployed to Afghanistan and - with the addition of two in-country personnel
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  with theater expertise in force protection and contracting - conducted an administrative
  investigation from 07 December 2016 to 30 December 2016 in accordance with Chapter 5 of
  Army Regulation 15-6. The scope of the investigation included six formal site visits and 53
  formal interviews reduced to sworn statements utilizing Department of the Army Form 2823,
                                      fo
  among other informal inquiries and background research, to weigh considerations pertinent to
  force protection, intelligence, contracting, and combat operations.

  2. (U//FOUO) The suicide attack on Bagram Airfield on 12 November 2016 resulted in the
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  death of six personnel - three U.S. Soldiers, two civilian Fluor employees, and the suicide
  bomber (a Fluor subcontractor employee)- and the wounding of sixteen U.S. Army Soldiers and
  one Polish Soldier. At 0538 hours, several hundred personnel residing on the base were
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  preparing for a Veteran's Day five kilometer run, many of them already assembling in the
  vicinity of the landmark known as the "Disney Clamshell" on Disney Avenue for a 0615 hours
  start time. The explosion, initiated by a local national employed on the base for over five years
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  and that passed a counterintelligence screening earlier this year, occurred approximately 300
  meters southwest of the start point and less than 300 meters northeast of the base headquarters.
  Though the ultimate target for the attack remains indeterminable, the group of Soldiers and Fluor
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  employees unwittingly induced the assailant to detonate his suicide vest, likely preventing a far
  greater tragedy at the Disney Clamshell.

  3. (U//FeUe) Close to 2,000 personnel secure Bagram Airfield, the largest international
  military base in Afghanistan. Though upwards of 15,000 personnel operate from this base -
  many of them armed as well - the majority of occupants contribute to Base Life Support and
  sustainment operations or enable operations beyond the Bagram Ground Defense Area. The 1st
  Cavalry Division Commander, who also serves as 1) the Deputy Commanding General (Support)
  for United States Forces-Afghanistan, 2) the Commander of the United States National Security
  Element, 3) the Commander of Bagram Airfield, and 4) the Commander of Joint Task Force 1,
  has both local and theater-wide responsibilities. While his staff oversees Bagram Airfield


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  security, the day-to-day security inside and outside of the Bagram Ground Defense Area is
  principally orchestrated by 1st Squadron, 3rd Cavalry Regiment's "Task Force Tiger." Also
  under the Commander of Bagram Airfield, the Area Support Group - which has responsibility
  for base life support on Bagram Airfield and six other major Forward Operating Bases
  throughout Afghanistan - manages the installation's emergency services.

  4. (U//FOUO) The leadership at Bagram Airfield orchestrates an assortment of multinational
  security providers and dozens of military units and contracted agencies that operate on the




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  installation. Initiatives that began at Bagram Airfield prior to the 12 November 2016 attack and
  accelerated thereafter have already mitigated many of the force protection gaps and seams that




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  enabled the assailant to conduct the attack. Yet, the inherent risks associated with operating in
  the midst of force protection threats coupled with evolving capabilities remains, requiring further
  analysis and the inculcation of lessons learned from this particular attack.




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  5. (U/fFOUO) Beyond pursuing understanding of the contributing conditions that enabled the




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  attack, the scope of this investigation includes analysis on the actions taken by the chain of
  command to prevent future attacks. The responses that follow answer the specific questions
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  within the appointment memorandum to present facts and commensurate findings and
  recommendations pertinent to security operations at Bagram Airfield. Specifically, they
  highlight the presence or absence of 1) published standards, 2) the resources and individual and
  collective training required, and 3) the engaged and disciplined leadership empowered to attain
                                      fo
  those standards. Inspired by the sacrifice of those lost or forever impacted by the attack on 12
  November 2016, this investigation seeks to provide value to the ongoing efforts in Afghanistan,
  with hopes that it can contribute to the understanding required to keep Service member and
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  civilians as safe as possible.

  6. (U//FOUO) The investigation determined that the primary contributing factor to the 12
  November 2016 attack was Fluor's complacency and its lack of reasonable supervision of its
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  personnel. These conditions enabled the suicide bomber to construct and employ a suicide vest
  inside the Bagram Airfield perimeter.
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  7. (U//FOUO) There are eight major findings within the investigation that enabled the primary
  contributing factor to present risk that was not sufficiently mitigated before the attack:
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     a. (U//f'OUO) Local National access and supervision was not properly enforced;

     b. (U//f?OUO) Unity of effort, unity of command, and interoperability challenges were
  compounded by multi-national and contracted security providers;

     c. (U//f?OUO) The Bagram Airfield security forces' span of control is too broad and lacks
  adequate forces;




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    d. (U//FOUO) Counterintelligence shortages impaired Coalition Forces' capability to screen
 Local National employees and to identify Nayeb's threat indicators;

     e. (U//FOUO) Complexity of intelligence and force protection mission command and
 interoperability of networks, architecture, and analytical tools impaired intelligence fusion;

     f. (U//ffiOO) Disjointed antiterrorism and force protection efforts increased susceptibility to
 attacks;




                                                                         e
                                                                       as
    g. (U//FeUe) Contracting Officer's Representatives were not aligned by location, duties, or
 experience; and




                                                               e
     h. (U//FOUO) Commanders and supervisors of Contracting Officer's Representatives were
 not appropriately engaged in contract formation, administration, and oversight.




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 8. (U//FOUO) Based upon these key findings, the below recommendations may best apply
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 lessons learned from the 12 November 2016 attack to neutralize future force protection threats:
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                                                (b)(5)




  9. (U//FOUO) In summary, the investigation finds that the current leadership at Bagram
  Airfield, has pushed since assuming command on 13 September 2016 to reverse a pervasive




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  "culture of complacency" and indiscipline - specifically within the civilian portions of the base -




                                                                      as
  that permeated the forward operating base. Addressing the key findings delineated above
  consistent with the corresponding key recommendations will prevent another local national
  subcontractor employee - with poorly vetted access and unreasonable supervision - from




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  operating with impunity and conducting a similar attack on Bagram Airfield.




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  10. ~ ) (8a) Identify the names, ages, country of origin, and status/employer of those killed
  in action (KIA) and wounded in action (WIA) from the 12 November 2016 incident.

      a. ( ~ ) Identify the names, ages, country of origin, and status/employer of those killed in
  action (KIA).

        (1) (U//r'OUO) Sergeant First Class Brown, Allan Eric; 46 years old; Headquarters and
  Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army




                                                                                   e
                                                                                 as
        (2) (U/A<OUO) Staff Sergeant Perry, John William; 30 years old; Headquarters and
  Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army




                                                                         e
        (3) (U//FOUO) Private First Class Iubelt, Tyler Ray; 20 years old; Headquarters and
  Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Anny




                                                                      el
         (4) (U//ffitf6)                                (b)(6)                        U.S. Fluor Government
  Group International, Inc.
                                                  rR
          (5) (U//FOUO)                        (b)(6)                         U.S. Fluor Government Group
  International, Inc.
                                          fo
      b. (SifNF) Identify the names, ages, country of origin, and status/employer of those wounded
  in action (WIA).
                              ed


        (1) (U//FOUO~                      (b)(3), (b)(6)               Headquarters and
  Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army
                   ov




        (2) (U//FOUO)                      (b)(3), (b)(6)                          Headquarters and
  Headquarters Battalion, 1st Cavalry Division; U.S. Anny
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         (3) (U//FOUO)                                       (b)(3), (b)(6)                     412th
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  Contracting Support Brigade; U.S. Army

          (4) (U//POUO}                  (b)(3), (b)(6)                        Headquarters and Headquarters
  Battalion, 1st Cavalry Division; U.S. Anny

        (5) (U//FOUO)                    (b)(3), (b)(6)              years old; Headquarters
  and Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army




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       (6) (U//FOUO)                          (b)(3), (b)(6)              36 years old;
 Headquarters and Headquarters Battalion, 1st Cavalry Division; U.S. Army

       (7) (U//FOUO)                  (b)(3), (b)(6)                            Detachment 19, 3rd
 Medical Command Deployment Support; U.S. Army Reserve

       (8) (U//POUO)                     (b)(3), (b)(6)               Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army




                                                                              e
                                                                            as
        (9) (U//FOUO)                     (b)(3), (b)(6)                       607th Contracting Team;
 412th Contracting Support Brigade; U.S. Army




                                                                       e
                                               (b)(3), (b)(6)                   901 st Contracting
 Battalion; 418th Contracting Support Brigade; U.S. Army




                                                                    el
       (11) (U//f<OUO)                   (b)(3), (b)(6)            Headquarters and
                                                rR
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army

       (12) (U//FOUO~                       (b)(3), (b)(6)               Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army
                                         fo

       (13) (U//FOUO)                    (b)(3), (b)(6)             Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army
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       (14) (U//FOUO)                     (b)(3), (b)(6)              Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army
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       (15) (U/fFOUO)                    (b)(3), (b)(6)            Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army
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       (16) (U//FOUO)                     (b)(3), (b)(6)            Headquarters and
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 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army

       (17) (U//FOUO)                        (b)(3), (b)(6)               Headquarters and
 Headquarters Company, 1st Cavalry Division Sustainment Brigade; U.S. Army

        (18) (U//FOUO)                                          (b)(6)




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     c. (U//Ft:)t:rfl) Line of duty actions are complete and all service members were found in the
 line of duty (Exhibits IE, lF).
 11. ('Sn'NF) (8b) Identify any/all Local Nationals (LNs) involved in the incident. Were any LNs
 connected to the Taliban or any other group(s)? Is so, describe the connection.

    a. ('Sn'NF) Identify any/all Local Nationals (LNs) involved in the incident.

         (1) (U//fi'OUO) The only evidence of Local National involvement in the incident




                                                                              e
 concerns the suicide bomber, Ahmad Nayeb (variant: Qari Nayab, Ahmad Naib Hafzi, Hafezi




                                                                            as
 Nieb, Abdul Zuhoor), herein referred to as Nayeb, matched using DNA evidence (Exhibits 2Q,
 3P, 4P, 4W, and 4AQ).




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        (2) (U//FOUO) At this time, no evidence suggests other Bagram Airfield Local National,
 including Nayeb's cousins, were co-conspirators. Nayeb had familial ties to three cousins who




                                                                el
 worked on base (Exhibits 2Q, 4AF, 4CV, and 5A).          (b)(6)      was a cousin of Nayeb and
 was employed on Bagram Airfield as a day shift worker at the Morale, Welfare, and Recreation
 Center (Exhibits 4AA, 4AF, 4CV, and 5A).
                                              rR  (b)(6)         was a cousin of Nayeb and was
 employed on Bagram Airfield as a night shift worker at the Warrior Gym (Exhibits 4AA, 4AF,
 4CV, and 5B at 16).       (b)(6)  was a cousin ofNayeb and was employed on Bagram Airfield
 as a Dining Facility worker (Exhibits 4AA, 4AF, 4CV, and 5A).
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         (3) (S/iNF)                                      (b)(1)1.4d
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                                             (b)(1)1.4d
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                           (b)(1 )1.4d                                 (Exhibits 4CJ, 4BY, 4AK, and
 4AL).

    b. (Sl,'P.JF) Were any LNs connected to the Taliban or any other group(s)? Is so, describe the
 connection.




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          (l)(SffNA                                             (b)(1)1.4c




                                                 (b)(1)1.4c




                            (b)(1)1.4c                                       (Exhibits 4BW, 4BZ, 4CA, 4CC,
  4CD, 4CG, 4CH, 4CQ, 4CM, 4CR, and 4CV).




                                                                                  e
                                                                                as
          (2) U'sffl•ff)                                      (b)(1)1.4c



                                                (b)(1 )1.4c




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                                                                  el
  12. ~//t~F) (Sc) Describe the Local Nationals' connection(s) to any US/Coalition Forces (CF).
                                                rR
  Were they employed on Bagram Airfield? If so, by whom and for what position? When were
  they hired? What were the work days/hours of the involved Local Nationals on Bagram
  Airfield? Were the Local Nationals hired and supervised by Fluor Corporation or a
  subcontractor? Were there any failings by Fluor Corporation or another company in the hiring or
                                         fo
  continued employment of the Local Nationals involved in this incident? You will make
  recommendations as appropriate given your findings, on the hiring and supervision of Local
  Nationals by Fluor Corporation or involved companies.
                           ed


      a. (SffltiF)                                 (b)(1)1.4a, (b)(1)1.4c

  (St/NF)
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                                                 (b)(1)1.4a, (b)(1)1.4c
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                                           (b)(1 )1.4a, (b)(1 )1.4c




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    b. (Sh't.JF) Were they employed on Bagram Airfield? If so, by whom and for what position?
 When were they hired? What were the work days/hours of the involved Local Nationals on
 Bagram Airfield?

        (1) (U/fFOUO) Nayeb was employed by Alliance Project Services, Inc. (APS), a
 subcontractor to Fluor, on Bagram Airfield in the Non-Tactical Vehicle Yard. At the time of the
 bombing, he was working the 1800-0600 shift and was responsible for managing the hazardous
 material in the HAZMAT section of the Non-Tactical Vehicle Yard, which Fluor supervises




                                                                                      e
 (Exhibits SD at 8, SD at 2).




                                                                                    as
         (2) (U//FOUO) On 01 April 2011, Nayeb entered the Provincial Reconstruction Team-
 Parwan (Republic Of Korea) Vocational Training Center on Bagram Airfield as a construction




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 trainee (Exhibit SH). Nayeb was a transitioning Taliban member who went through reintegration
 as part of the Afghanistan Peace and Reintegration Program efforts funded by the Commander's




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 Emergency Response Program pursuant to the FY2010 National Defense Authorization Act
 (Exhibits SK at 331, 5AB). Nayeb was sponsored by Task Force Red Bulls in a memorandum
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 dated 25 March 2011, which accompanied his request for a Ba gram Airfield access badge
 (Exhibit SH).

        (3) (~//Wfi)                                       (b)(1)1.4a, (b)(1)1.4c
                                          fo

                                             (b)(1)1.4a, (b)(1)1.4c
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               (b)(1)1.4a, (b)(1)1.4c            (Exhibits SD, SA, and SH).
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         (4) (U//FOUO) During his five years of employment, Nayeb worked varying shifts under
 numerous and diverse Fluor supervisors - shift changes are not uncommon among Local
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 National employees. His first day of work in the Fluor Non-Tactical Vehicle Yard was 11
 December 2011, initially on night shift (Exhibits SD, 50). Nayeb briefly worked the day shift
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 from 24 July 2012 until 14 November 2012, then changed back to the night shift (Exhibit 50).
 Nayeb stayed on the night shift until 28 April 2014, then changed to day shift for almost one full
 year, transitioning back to night shift on 14 April 2015 (Exhibit 50). Nayeb then worked the
 night shift until 05 June 2016, when he transferred to the day shift from 05 June 2016 until 06
 August 2016 (Exhibit 50). From 06 August 2016 until 12 November 2016, Nayeb worked the
 night shift (Exhibit 50).




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     c. "tSfOO') Were the Local Nationals hired and supervised by Fluor Corporation or a
  subcontractor?

          (1) (U//fOUO) Nayeb was hired by Alliance Project Services, Inc. a subcontractor of
  Fluor (Exhibits 5D, 5F, 5C). Alliance Project Services, Inc. is a U.S. veteran owned business in
  Alexandria, Virginia, which specializes in hiring host nation personnel in a labor broker capacity.
  Although Alliance Project Services, Inc. was responsible for administration ofNayeb (payroll,
  time and attendance, etc.), Nayeb's work performance was supervised by Fluor while he was




                                                                       e
  employed at the Bagram Airfield Non-Tactical Vehicle Yard. The paragraphs below will show




                                                                     as
  that Fluor did not reasonably supervise Nayeb at the work facility, nor reasonably supervise the
  transport of Nayeb or other employees between the Entry Control Point and the work facility.




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          (2) (U//FOUO) Fluor is the prime contractor for LOGCAP IV (Task Order 005), which
  encompasses services and base life support for the eastern and northern portions of Afghanistan.




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  In support of the Afghanistan First Policy- a U.S. Government policy encouraging Afghan
  employment (Exhibit 5n - Local Nationals are hired by Fluor through a subcontract with
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  Alliance Project Services, Inc. which specializes in labor broker services (Exhibits 5D at 6, 5C at
  4, 5E para 01.07). As the prime contractor with the U.S. Government, and as the contractor with
  oversight of the Bagram Airfield Non-Tactical Vehicle Yard, Fluor is responsible for all of its
  employees, subcontractors, and subcontractor employee actions (Exhibit 5E para 01.07).
                                       fo
  Specific to the Non-Tactical Vehicle Yard, Fluor states that "site supervision was accomplished
  by Fluor Other Country Nationals and Fluor U.S. National supervisors and foremen in
  accordance with the base access control policy" (Exhibit 5D). This supervisory responsibility is
                           ed


  also clearly stated in the Performance Work Statement, paragraphs 01.07a and 01.07b, dated 01
  April 2013:
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         (a) (U//FOUO) 01.07a. "[Fluor] is responsible for ensuring all personnel supporting
  [LOGCAP IV 005] comply with the standards of conduct, and all terms/conditions set forth in
  [the] PWS and the Basic Contract. [Fluor] shall provide the necessary supervision for personnel
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  required to perform this contract" (5E para 01.07).
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          (b) (U//FeUe) 01.07b. "[Fluor] shall hire HN personnel and Subcontractors to the
  maximum extent possible in performance of this contract when such recruitment practices meet
  legal requirements. [Fluor] is responsible for oversight of such personnel or Subcontractors to
  ensure compliance with all terms of the Basic Contract and this PWS." (5E para 01.07).

          (3) (U//FOUO) Interviews with employees of the Non-Tactical Vehicle Yard conducted
  by Counterintelligence Agents from Task Force Odin and Task Force Crimson following the
  suicide blast illustrate that Fluor employees (Other Country Nationals, U.S. Nationals, and



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  specific Local Nationals) were responsible for the supervision of Local National employees
  (Exhibits 5A, 5B).

          (4) (U//FOUO) There were at least three areas where Fluor did not reasonably supervise
  its employees, to include Nayeb, at the Non-Tactical Vehicle Yard. The lack ofreasonable
  supervision includes, but is not limited to: 1) lack of direct supervision over the HAZMAT area,
  2) lack of supervising employee performance, and 3) failure to supervise use of tools by
  employees.




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                                                                   as
         (a) (U//FOUO) The Non-Tactical Vehicle Yard where Nayeb worked consisted of a Light
  Non-Tactical Vehicle work center, a Heavy Non-Tactical Vehicle work center, and a HAZMAT
  work center (Exhibit 5A at 67). All three areas are disassociated sites occupying a larger work




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  area known as the Non-Tactical Vehicle Yard. Both the Heavy and Light Non-Tactical Vehicle
  work centers are enclosed "clamshell" tents to provide protection from the elements and are




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  separated by approximately 75 feet (Exhibit 5A at 67). The HAZMAT work center is a row of
  containers placed adjacent to one another and built up with carpentry which adds a stable
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  walking area, some overhead cover, and two work areas with minimal lighting or visibility from
  other work sites (Exhibit 5A at 67). The HAZMAT area is toward the south side of the Non-
  Tactical Vehicle Yard- approximately 75 feet from the Heavy Non-Tactical Vehicle center and
  Light Non-Tactical Vehicle center - and otherwise outside and exposed to the elements and
                                      fo
  approximately 200 feet from the Non-Tactical Vehicle Yard office (Exhibit 5A at 67).

          (b) (U//FOUO) As the only HAZMAT employee on night shift, Nayeb worked at the
                          ed


  HAZMAT work center alone and with sporadic supervision (Exhibit 5B at 30-31 ). There was
  also confusion by Fluor supervisors as to who was responsible for Nayeb and the HAZMAT
  work center (Exhibit 5B at 29).            (b)(6)         was the Fluor Other Country National
                 ov




  Heavy Non-Tactical Vehicle Lead Senior Mechanic for the night shift on 12 November 2016,
  and when questioned about Nayeb informed Counterintelligence personnel that he had little
  interaction with Nayeb and insisted that "the light vehicle maintenance bay employees were
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  responsible for ensuring Nayeb was supervised and employed" (Exhibit 5B at 27-29). When
  interviewed by Counterintelligence Agents,        (b)(6)  recognized Nayeb as the HAZMAT
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  worker but could not recall his name (Exhibit 5B, para 2.18).

         (c) (U/,~OUO) When HAZMAT responsibilities were reduced, or when Non-Tactical
  Vehicle maintenance operations were high, Nayeb would occasionally help out in either the
  Heavy Non-Tactical Vehicle Yard or Light Non-Tactical Vehicle Yard as workload dictated
  (Exhibit 5C, page 15).   (b)(3), (b)(6) was the Fluor Other Country National Light Non-Tactical
  Vehicle Lead Senior Mechanic for the night shift on 12 November 2016, and-when questioned
  about Nayeb- informed Counterintelligence Agents that he "was only accountable for local



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 national employees when they worked for him in the light vehicle bay" (Exhibit 5B at 27-29).
 Rexhep Rexhepi, the Fluor Other Country National Non-Tactical Vehicle Yard General
 Foreman, reported to Counterintelligence Agents that once Nayeb's work at HAZMAT was
 complete, he would work in the light vehicle bay (Exhibit 5B at 27-29). At a later interview,
 Rexhep Rexhepi stated that     (b)( 6 ) the Heavy Non-Tactical Vehicle Lead, was responsible
 forNayeb.

        (d) (U//FOUO) The statements of Fluor employees obtained by Counterintelligence




                                                                       e
 Agents, coupled with the statements provided by Fluor, reveals a poor understanding by Fluor




                                                                     as
 supervisors as to who was responsible for Nayeb's supervision (Exhibits 5A, 5B at 28). This
 ambiguity on supervisory responsibility demonstrates an unreasonable complacency by Fluor to
 ensure Local National employees were properly supervised at all times, as required by their




                                                             e
 contract and non-contractual, generally recognized supervisor responsibility. This lack of
 reasonable supervision facilitated Nayeb's ability to freely acquire most of the components




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 necessary for the construction of the suicide vest and the freedom of movement to complete its
 construction (Exhibit 1B, 5B at 28).         rR
          (e) (U//FOUO~ According to Alliance Project Services, Inc. Performance and
 Disciplinary Policy and the LOGCAP IV Afghanistan HCN Labor Support Statement of Work,
                                       fo
 sleeping while at work or unsatisfactory job performance are "cause for disciplinary action up to
 and including termination" (Exhibit SF, Exhibit 5G).     (b)(3), (b)(6) Fluor Other Country
 National Light Non-Tactical Vehicle Lead Senior Mechanic, states that he had caught Nayeb
 sleeping in the HAZMAT area in a sleeping bag (Exhibit 5B, pages 27-29). In addition, on
                           ed


 separate occasions, he caught Nayeb reading the Quran during work hours (Exhibit 5B, pages
 27-29). Interviews collected by Counterintelligence Agents show that Nayeb was often not
 present at the HAZMAT area when workers would go there to drop off oils (Exhibit 5A, para
                 ov




 2.62).       (b)(6) a Local National who worked in the Light Non-Tactical Vehicle Yard, stated
 that "it was normal for [Nayeb] not to be in the work area" (Exhibit 5A, para 2.65). No formal
 counseling or disciplinary action can be found for Nayeb despite reported instances of sleeping at
          pr




 work and absences without authority. This failure to enforce a work-related standard of
 performance and the unjustified retention ofNayeb amounts to a lack ofreasonable supervision
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 on behalf of Fluor.

         (f) (U//FOUO) Following the suicide bombing, Counterintelligence Agents collected the
 tool room logs from the Non-Tactical Vehicle Yard. Those logs revealed that between 10
 August 2016 and 10 November 2016, Nayeb checked out multiple tools not associated with his
 duty as the HAZMAT employee, to include checking out a multimeter nine times for up to six
 hours at a time (a multimeter is a tool used to measure voltage, current, and resistance) (Exhibit
 5A at 49-50, at 129-213). Fluor employees confirmed that there were no tools identified as



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 restricted use, or controlled use, by force protection or base policy (Exhibit 5C). Fluor
 employees also provided that any employee was able to check out any tool, regardless of where
 that employee worked. However, interviews of Non-Tactical Vehicle Yard personnel suggest
 that only certain individuals could check out specific tools within the Non-Tactical Vehicle Yard
 (Exhibit 5A para 2.49, 2.56, 2.57, 2.62, 2.66).

          (g) (U//fOUO) An interview of Other Country National                 (b)(6)         stated that
 "HAZMAT workers would only check out tools if one of the maintenance guys requested help"




                                                                             e
 and that the HAZMAT worker would tell him the name of the mechanic that needed the tool




                                                                           as
 (Exhibit 5A para 2.56).         (b)(6)        further stated that "HAZMAT workers do not require
 any tools in the performance of their job" (Exhibit 5A para 2.56).               (b)(3), (b)(6)      a Fluor
 U.S. National employee stated in an interview with Counterintelligence Agents that "he did not




                                                                  e
 think it was normal for the HAZMAT worker to sign out tools" (Exhibit 5A para 2.57). Another
 Fluor employee, Local National         (b)(6)      stated to Counterintelligence Agents that "only the




                                                               el
 person who needed the tool could sign the tool in or out from the tool room" (Exhibit 5A para
 2.62). A further Fluor employee, Local National  rR         (b)(6)  stated that Nayeb "did not require
 the use of any special tools to complete his HAZMAT job" (Exhibit 5A para 2.66). Fluor Local
 National             (b)(6)            who ran the Non-Tactical Vehicle Yard tool room at night,
 asked Nayeb why he needed a multimeter tool during work, to which Nayeb replied that he
 needed it because he was fixing a radio on one occasion and hair clippers on another occasion
                                          fo
 (Exhibit 5A para 2.49). This apathy demonstrates that there was general knowledge of who was
 properly able to check out tools associated with job performance, but that the standard was
 poorly enforced. It also demonstrates Nayeb was not gainfully employed without the issue being
                             ed


 raised to a supervisor's attention. Lastly, it illustrates a work culture of minimal supervision.
 This evidence supports complacency and a lack of reasonable supervision by Fluor supervisors
 over Nayeb and other Local Nationals at the Non-Tactical Vehicle Yard work facility that
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 enabled Nayeb's nefarious plan.

          (h) (U//FOUOJ Fluor was also deficient in their performance of executing and
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 supervising escort duties during the transportation of employees, to include Nayeb, between the
 Entry Control Point and the Non-Tactical Vehicle Yard. The lack of reasonable supervision is
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 evidenced by, but is not limited to, a 1) lack of accountability over employees getting on the bus
 at the end of each shift, and a 2) lack of positive control while escorting Local National
 employees to and from the Entry Control Point. As the contractor responsible for the Non-
 Tactical Vehicle Yard, Fluor is responsible to provide "transportation and supervision" necessary
 for its employees to accomplish their work (Exhibit 5E paras 03.03 and 05.00). This includes the
 supervision and transportation of Local Nationals to and from the work facility. Various Fluor
 Non-Tactical Vehicle Yard employees - U.S. Civilians, Other Country Nationals, and Local
 Nationals- served as escorts for Local Nationals who worked in the Non-Tactical Vehicle Yard



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  (Exhibits 5B at 28, 5D at 5). These Fluor escorts were responsible for supervising the transport
  of Local Nationals from the Entry Control Point to the Non-Tactical Vehicle Yard, and from the
  Non-Tactical Vehicle Yard back to the Entry Control Point, at shift change (Exhibit SC). The
  Bagram Airfield Badging and Screening Policy requires that escorts remain in close proximity
  and remain in constant view of the individuals they are escorting (Exhibits 2AB, SJ).

          (i) (U//FOUO) The mechanism Fluor used to ensure that Local National employees were
  on the bus at the end of each shift consisted of a sign in/sign out sheet filled out by the night shift




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  Local National Team Lead,         (b)(6)   (Exhibit 5A para 2.47). In lieu of a physical or visual




                                                                             as
  inspection to ensure every Local National employee was on the bus, he would attest to the same
  by observing that all the employees had signed out on the sheet (Exhibit 5A para 2.47). The bus
  would then move to the Entry Control Point without additional supervisory accountability. The




                                                                   e
  Fluor U.S. National and Other Country National supervisors relied upon the Local Nationals to
  ensure everyone was accounted for and actually on the bus at the end of shift (Exhibit SC at 7).




                                                                el
  On 11 November 2016, Nayeb informed              (b)(6)     -his Local National co-worker- that
  he would miss the bus on 12 November 2016 because of a HAZMAT class requirement, despite
                                                   rR
  having taken the class on 02 October 2016 and not requiring the class for another year (Exhibits
  5A at 3 at 215, 5D at 17) and evidence supports that Nayeb never got on the bus (Exhibits 5A at
  3, 17, 27, 37 42, 43 47, 51, 55, 58, 80 and 5B at 31).
                                           fo
          (j) (U//FOUO) Fluor Other Country National escorts did not know who they were
 responsible for escorting, as evidenced by both          (bJ(6)       an Other Country National escort on
 the Heavy Non-Tactical Vehicle night shift, and                                        an Other Country
                             ed


                                                                     (b)(6)
 National escort for the Light Non-Tactical Vehicle night shift, admitting that they did not know
 the names of those they escorted (Exhibits 5A paras 2.25 and 2.26, 5B). Two Local National
 employees,                     and                 provided that if a night shift worker missed a ride to
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                    (b)(6)              (b)(6)

 Entry Control Point 1 at the end of shift, a day shift escort would take them at a later time after
 the shift change (Exhibit 5A paras 2.52 and 2.54).             (bJ(6)      a Local National working in the
 Light Non-Tactical Vehicle Yard and authorized unescorted access and escort privileges (yellow
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 badge), provided a specific example when he shared that there were two Heavy Alliance Project
 Services, Inc. Local Nationals -            (b)(6)       and            (b)(6)       - left behind by the
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 vehicle that transports Heavy Non-Tactical Vehicle Yard employees to the Entry Control Point
 on the morning of 12 November 2016 (Exhibit 5A para 2.45). Both men,                            (b)(6)    and
       (b)(6)      got on the light bus instead, unbeknownst to                (bJ(6)   (Exhibit 5A para 2.45).
 Separate statements from        (b)(6)    and by       (b)(6)      both from the Fluor Non-Tactical
 Vehicle Yard, confirm that the Fluor Non-Tactical Vehicle Yard changed escorts out every week
 (Exhibit 5A para 2.47 and Exhibit SC).




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         (k) (U//FOUO) The preponderance of evidence shows a lack of reasonable supervision
  by Fluor while escorting Local Nationals to and from the Non-Tactical Vehicle Yard. Fluor's
  systemic lack ofreasonable supervision enabled Nayeb to go undetected from 0445 until 0538 on
  12 November 2016, which coincides with the average walking time of 53 minutes from the Non-
  Tactical Vehicle Yard to the blast site (Exhibits 2Q, 4CE and Naismith's Rule).

     d. (SHNF) Were there any failings by Fluor Corporation or another company in the hiring or
  continued employment of the Local Nationals involved in this incident?




                                                                     e
                                                                   as
          (1) (U//FOUO) There were no failings by Fluor in the hiring oflocal nationals. Fluor
  complied with the Afghan First Program and the Afghan Peace and Reintegration Program in the
  hiring ofNayeb through a subcontracted labor broker, Alliance Project Services, Inc. (Exhibit




                                                             e
  5D at 4). Fluor performed the Biometrics Automated Toolset Services in March 2011, when
  Fluor subcontractor employee,      (b)(6)   nput Nayeb into the database along with the




                                                          el
  Reintegration Memorandum identifying Nayeb's previous Taliban affiliation (Exhibit 5P Line
  5399 of PERSTAT Tab). The Biometrics Automated Toolset Services entry form has the Fluor
                                            rR
  employee's signature for processing (Exhibit 5H).

         (2) (U//FOUO) There is evidence to support failings by Fluor in the continued
  employment ofNayeb. See previous analysis concerning Fluor's lack of supervision of
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  employee performance and unreasonable employee retention of Nayeb. Fluor did not provide
  any information concerning disciplinary action taken against Nayeb. In fact, Nayeb received a
  promotion from Skilled Laborer II to Skilled Laborer III on 05 July 2016 after known poor
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  performance (Exhibit 4AN).

     e. (-s-HNF) Make recommendations as appropriate given your findings, on the hiring and
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  supervision of Local Nationals by Fluor Corporation or involved companies.
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                                                (b)(5)




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                                                  (b)(S)




                                                                                e
                                                                   e          as
         (3) (U//FOUO)                                           (b)(S)




                                                                el
                                              (b)(S)



         (4)
                                         rR            (b)(S)



                                              (b)(S)
                                  fo

         (5) (U//FOUO)                                          (b)(S)
                         ed


                                         (b)(S)


                                     (b)(S)                                                   (Exhibit
  SW).
                    ov




         (6) (U//FOUO)                                           (b)(S)
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                                              (b)(S)




         (7) (U//FOUO)                                          (b)(S)

           (b)(S)                                                    (b)(S)




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                                                (b)(5)




 13. (Sffl~F) (8d) Did U.S. or Coalition Forces have any intelligence of value or indicators
 regarding the planning and execution of this incident before it occurred? If so, what information
 was known and by whom? Did this incident identify any flaws in communication, tracking of




                                                                                    e
 individuals, situational awareness, etc., between intelligence analysis, dissemination, and those




                                                                                  as
 responsible for force protection on Bagram Airfield?

     a. (SHNF) Did U.S. or Coalition Forces have any intelligence of value or indicators regarding




                                                                     e
 the planning and execution of this incident before it occurred?




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        (1) €81,LNF)                                           (b)(1)1.4a

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                                                (b)(1)1.4a
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       (b)(1)1.4a      (Exhibits 4B and 4CP).
                           ed


        (2) (S~tf)                                       (b)(1)1.4a, (b)(1)1.4c
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                                          (b)(1)1.4a, (b)(1)1.4c
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                           (b)(1)1.4a, (b)(1)1.4c              (Exhibits 4U, 4BF,
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 4BG, 4BH, 4BI, 4BJ, 4BK, 4BL, 4BM, 4BN, 4BO, 4BP, 4BQ, 4BS, 4BT, 4BU, and 4BX).

        (3) (-sHNF)                                      (b)(1)1.4a, (b)(1)1.4c




                                         (b)(1)1.4a, (b)(1)1.4c




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                                  (b)(1)1.4a, (b)(1)1.4c                                  (Exhibits 4B, 4C, 4E, and 4F).(b)(1)1.4a

                                                            (b)(1 )1.4a, (b)(1 )1.4c

      (b)(1)1.4a, (b)(1)1.4c       (Exhibits 4B, 4C, 4E, and 4F).

            (4) ( ~ )                                                        (b)(1)1.4a, (b)(1)1.4c


                                                             (b)(1)1.4a, (b)(1)1.4c




                                                                                                      e
                                                                                                    as
  (Exhibits 4BX and 4CE).


            (5) ( ~ )                                                     (b)(1)1.4a, (b)(1)1.4c




                                                                                     e
    (b)(1)1.4a, (b)(1)1.4c      (Exhibits 4B, 4D, 4E, 4F, 4G, 4H, 4J, 4M, and 40).                                  (b)(1)1.4a, (b)(1)1.4c
                               (b)(1)1.4a, (b)(1)1.4c                                  (Exhibits 4E, 4G, 4B, 4J and 4«m))1.4a. (b)(1)1.4c




                                                                                  el
                                                            (b)(1)1.4a, (b)(1)1.4c

                       (b)(1)1.4a, (b)(1)1.4c
                                                                rR   (Exhibits 4E, 4F, 4G, and 4BVlt,)(1)1.4a, (b)(1)1.4c
                                                               (b)(1)1.4c
   (b)(1)1.4a, (b)(1)1.4c      (Exhibit 4AX).                                            (b)(1)1.4a, (b)(1)1.4c
                                                                (b)(1)1.4a
                                                        fo
  (Exhibits 4B, 4E, 4G, and 4CS).


      b.   tsHNf) If so, what information was known and by whom?
                                     ed


            ( 1)(-9-HNF-)                                            (b)(1)1.4a, (b)(1)1.4c
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                                                            (b)(1)1.4a, (b)(1)1.4c
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            (2) ~S/,'REL TO USA, FVEY                                                     (b)(1)1.4a, (b)(1)1.4c



                                                           (b)(1)1.4a, (b)(1)1.4c




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                                            (b)(1)1.4a, (b)(1)1.4c

                                            (b)(1)1.4a, (b)(1)1.4c
               (b)(1)1.4a               (Exhibits 4CB, 4CR and 4CV).

        (3) {BHNF)                                         (b)(1)1.4a, (b)(1)1.4c

                                             (b)(1)1.4a, (b)(1)1.4c




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                                                                    e               as
                                               (b)(1)1.4a, (b)(1)1.4c




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                                                 rR
                                         fo
        (4) (S,~IP~                                         (b)(1 )1.4a, (b)(1 )1.4c

         (b)(1)1.4a, (b)(1)1.4c       to 12 November 2016:
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        (10) (Sfflff')                            (b)(1 )1.4a, (b)(1 )1.4c




                                      (b)(1)1.4a, (b)(1)1.4c




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                                         rR
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                                                 (b)(5)
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                                                           (b)(5)




  14. (S//NFJ (Se)                                                       (b)(1)1.4a




                                                                                              e
                                                           (b)(1)1.4a




                                                                                            as
     a. ( ~ )                                                         (b)(1)1.4a




                                                                              e
                                                         (b)(1)1.4a
                       (b)(1)1.4a                             (Exhibits 4Q, 4U, and 4AF).




                                                                           el
     b. (8,'~JF)                                               (b)(1)1.4a, (b)(1)1.4c

                               (b)(1)1.4a, (b)(1)1.4c
                                                         rR                                 (Exhibits 4Q and 4AB).

     C. ( ~ )                                                   (b)(1)1.4a, (b)(1)1.4c

                                                                                   (Exhibits 4Q and 4AB).
                                               fo
                          (b)(1)1.4a, (b)(1)1.4c


     d. (-sttNF) Did the incident highlight any issues or problems with BATS?
                               ed


          (1) (U//FOUO) Yes. Issues with the Biometric Automated Toolset System included
  human error, technology limitations and software design, and a lack of familiarity with the
  system. Most issues or problems with the Biometric Automated Toolset System are a result of
                   ov




  human error. These issues or problems can arise from a lack of training (Exhibits 4I and 4U)
  lack of attention to detail to ensure proper registration with the biometric system (Exhibits 4I,
  4U, and 4AB), and lack of awareness of the system and its capabilities.
          pr




         (a) (s-HNF)                                                (b)(1)1.4a. (b)(1)14c
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                                                    (b)(1 )1.4a, (b)(1 )1.4c




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                                     (b)(1)1.4a, (b)(1)1.4c



        (b) (SHtiF)                                (b)(1)1.4a, (b)(1)1.4c




                                     (b)(1)1.4a, (b)(1)1.4c




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        (2) (Sf/NF                                    (b)(1)1.4a, (b)(1)1.4c




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                                                        (b)(1)1.4a, (b)(1)1.4c
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                                         (b)(1)1.4a, (b)(1)1.4c




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                                           (b)(1)1.4a, (b)(1)1.4c




         (4) (SHNF)                                       (b)(1)1.4a, (b)(1)1.4c




                                                                                    e
                                          (b)(1)1.4a, (b)(1)1.4c




                                                                  e               as
     e. (8fntJF) Make recommendations, as appropriate given your findings, with regard to the
  base's use of BATS.




                                                               el
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                                        (b)(1)1.4a, (b)(1)1.4c, (b)(5)




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              (3) (U//FOUO) Commanders require the most complete view of their operational
      environment. Recommend base commanders review the data and information provided by Task
      Force Biometrics upon assumption of mission (Exhibits 4I and 4Q). Additionally, a biometrics
      expert assigned to the commander's staff will enable the application of all capabilities for the
      command and their staff responsible for force protection and base defense. Force protection,
      targeting, and all source analysts need to register and employ the Biometric Identity Intelligence
      Resource in the execution of their duties to help fill the identity intelligence gap that currently
      exists (Exhibit 4AD). Access to identity intelligence should not be a cumbersome process for




                                                                            e
      non-intelligence analysts. Once they understand their area of operations, commanders should




                                                                          as
      customize the Biometric Automated Toolset System reports and information relevant to their
      battlespace that best feeds their operations. In addition to customized reports focused on their
      battlespace, recommend the following reports be pre-programmed and automated across




                                                                 e
      Afghanistan:




                                                              el
             (a) (U//f'OUO) Biometric Enabled Watchlist Exit: Any time a Biometric Enabled
      Watchlist level 1-5 is biometrically toggled off an installation (Entry Control Point quality
l                                                 rR
i     assurance)

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j
             (b) (U//FOUO) BEWL Entry: Any time a Biometric Enabled Watchlist level 1 or 2 is
      biometrically toggled on an installation (Immediate force protection threat)
                                           fo
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j            (c) (U//FOUO) Squatter Report: A daily report with Local Nationals that have remained
I
      on post longer than 24 hours (Force protection situational awareness)
                               ed


1
I            (d) (U//FOUO) Enrollment Violations: A daily report with Local Nationals that have
      been toggled off post with less than a 10-2-1-1 profile (Biometrics situational awareness)
                     ov




              (e) (U//.FOU0-) Local National population: A monthly report that shows Local Nationals
      that checked into post at least 15 days that month (Counterintelligence screening situational
              pr




      awareness)
    Ap




              (f) (U//FOUO) Local National population: A weekly report that shows Local Nationals
      that haven't checked into post in the past seven days (Force protection threat situational
      awareness)

             (4) (U/roOUO) There are discretionary fields that, if made mandatory, would address
      some of the accountability issues. Recommend simply adding the employer name, sponsor
      information, and duty location would help facilitate accountability of the Local National




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  population. Requiring employer-provided Local National emergency contact number would
  assist cellular phone intelligence exploitation efforts (Exhibits 41, 4Q, and 4AG).

         (5) (U//f"OUO) Finally, Task Force Biometrics and Counterintelligence assets require a
  more proactive force protection posture. Recommend a policy change to allow 48 hours of pre-
  screening lead-time before a contractor brings a new hire on base. The 48 hour lead-time would
  allow the counterintelligence and biometrics team to search applicable databases for derogatory
  information in support of the Force Protection Screening Cell background search. An increase in




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  resources for Task Force Biometrics would also allow them to reengage some of the initiative-




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  based analysis they conducted prior to their drawdown (Exhibits 4Q and 4AG). These
  techniques could help provide another layer of active defense to mitigate threats that are largely
  unimpeded in the Bagram Ground Defense Area.




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                                       fo

      a. (U/,'FOUO) Did any Local Nationals have security clearances? If so, at what access and
  what date was the clearance granted? Did they have any verifiable, derogatory information in
                           ed


  their investigation if applicable; or past? Nayeb did not have a security clearance (Exhibit 4G).
  The current policy standard limiting security clearances to a very select subsection of Local
  Nationals (e.g. dual-citizenship linguists) does not require adjustment (Exhibits 4G and 4CW).
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     b. (Sffl#')                                       (b)(1 )1.4a, (b)(1 )1.4c
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                                             (b)(1)1.4a, (b)(1)1.4c
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           (1) (U//fOUO) Effective screening and vetting of Local Nationals and Other Country
  Nationals is of increasing importance. A tapered force protection capability as Coalition Forces
  drawdown occurs may place Coalition Forces at a higher risk for insider threat. Stringently
  enforced screening and vetting processes with Local Nationals and Other Country Nationals are
  vital in mitigating these threats. Although Bagram Airfield has improved its screening and
  vetting process, a number of critical vulnerabilities remain. Vetting is a post-entry reliability



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  determination and an important layer of the force protection plan. Yet the Commander, Bagram
  Airfield, needs additional personnel qualified to screen and vet Local National and Other
  Country Nationals to ensure full compliance with established procedures and conduct proper
  oversight (Exhibits 2AB, 4AR, 4AT, 4AU, 4AV, 4AX, 4AY, 4BA, and 4AO). Recommend
  review of potential sourcing option to meet Bagram Airfield's requirement.

          (2) (U//FOUO) Fluor and United States security personnel overlooked a single indicator
  during the vetting process. Nayeb's Biometric Automated Toolset System profile included an




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  uploaded copy of his registration dossier (Exhibits 4U and 4CF). This registration dossier




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  contained a scanned memorandum that detailed his acceptance into the Afghanistan Peace and
  Reintegration Program and his prior association as a Taliban insurgent. The Fluor Force
  Protection Screening Cell received and uploaded this memo without making a subsequent




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  administrative note in his record or notifying a counterintelligence element for advisement. If
  known or discovered, United States security personnel would exploit this background




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  information in subsequent interviews (Exhibits 4AR, 4AT, and 4AX). The force protection
  screening and counterintelligence support team screening integrates questions that cover
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  previous insurgent ties, and would leverage this information into more targeted questions
  (Exhibits 4L and 4R). The reintegration memo and data was available for discovery by all
  parties who reviewed the Biometric Identity Intelligence Resource file (4AD). While Nayeb's
                                     fo
  answers to the 24 March 2016 Counterintelligence Support Team screening appear trained and
  coached, additional background information would enable targeted questioning by
  counterintelligence agents to properly assess the risk (Exhibits 4R, 4U, 4AT, 4AX, and 4BA).
  This missed indicator represents a lost opportunity to mitigate the threat posed by Nayeb. The
                          ed


  value and significance of the overlooked reintegration memo may have proved vital in the post-
  entry reliability determination. Recommend the list of reintegrated Taliban and other insurgent
  members to be recovered and compared to current Local National workers within Afghanistan
                 ov




  through the Biometrics Automated Toolset System. United States Forces - Afghanistan should
  nominate these individuals for Biometric Enhanced Watchlist level 6 and other appropriate
  identifying information in the Biometrics Automated Toolset System and the Biometric Identity
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  Intelligence Resource (Exhibits 4AC and 4AW). These members should face additional scrutiny
  and targeted screening procedures for continued access. Counterintelligence Support Team
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  screeners must be trained and disciplined to ensure they review every file uploaded into a
  Biometric Identity Intelligence Resource profile during their preparation for each screening.
  Additionally, screeners must meet the Task Force Biometrics standard that requires them to
  upload and individually categorize documents that fall outside a normal registration packet
  (Exhibit 4Q).

        (3) (U//FOUO) Beyond the miss-categorized memorandum that was attached to Nayeb's
  Biometrics Automated Toolset System registration file, there was a significant delay at Bagram



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  Airfield (Bagram Airfield) from Nayeb's date of employment until his first Counterintelligence
  Support Team screening (Exhibits 4AI and 4AJ). Prior to 12 November 2016 there was no
  requirement to screen Local Nationals outside four defined categories: l) linguists and cultural
  advisors, 2) armed security guards or gate processing personnel, 3) those who have recurring
  access, escorted or unescorted, to headquarters, computer networks or communications units,
  facilities, or buildings, and 4) those determined by the local supported command (Exhibit 4AT).
  While there was no requirement, every base except Bagram Airfield was able to conduct annual
  Counterintelligence Support Team screenings on their Local National population (Exhibits 4L and




                                                                                     e
  4R). The five-year delay highlights an imbalance in the Counterintelligence Support Team




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  personnel allocation across the Afghanistan and created risk for Bagram Airfield (Exhibit 4AP).
  This risk was not present at any other installation in Afghanistan. This imbalance, coupled with
  the lack of a requirement to conduct Counterintelligence Support Team screenings, led to the five-




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  year delay before Nayeb was screened (Exhibits 4AI, 4AJ, and 4AT).




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             Base          Local Nationals      Other Country           Current CIST    Required CIST
                                                  Nationals              Personnel        Personnel
      AP Lightning
         Arena
     Bagram Airfield
         Dwyer
         Fenty
        Gamberi




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         HK.IA




                                                                               as
          KAF
       Mes/Mannal
   New Kabul Compound




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         RSHQ




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         Shorab
                (8/~ff) Figure 3: Counterintelligence Support Team Coverage

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        (7) (&'INF)                                   (b)(1)1.4a, (b)(1)1.4c



                                       (b)(1)1.4a, {b}(1)1.4c




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                                        (b)(1)1.4a, (b)(1)1.4c




        (8) (Sf/NF)                                    (b)(1)1.4a, (b)(1)1.4c




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  16. (U//FOUO) ~ Describe in general the force protection measures on Bagram Airfield. In
  your opinion, are those measures sufficient? If not, you will make recommendations, as
                                     fo
  appropriate given your findings, to improve force protection for the forces on the base.

     a. (U/,'fOUO) Describe in general the force protection measures on Bagram Airfield.
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        (l)(s-h'NF)                                     (b)(1)1.4a, (b)(1)1.4c
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        (2) (811N¥)                                    (b)(1 )1.4a, (b)(1 )1.4c


                                        (b)(1)1.4a, (b)(1)1.4c




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                                      (b)(1 )1.4a, (b)(1 )1.4c




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        (3) {Sffl,ff)                            (b)(1)1.4a, {b){1)1.4b, (b)(1)1.4g




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        (4) (S~JF)
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       (5) (-S//~JF)                                    (b)(1)1.4a, (b)(1)1.4g




                                        (b)(1)1.4a, (b)(1)1.4g




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                                    (b)(1)1.4a, (b)(1)1.4g



        ( 6) (S/fl'ff)                              (b)(1)1.4a, (b)(1)1.4g




                                                                               e
                                     (b)(1)1.4a, (b)(1)1.4g




                                                                e            as
                                                             el
        (7) (SHNF)                                    (b)(1)1.4a, (b)(1)1.4g
                                          rR
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                                       (b)(1)1.4a, (b)(1)1.4g
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                 ov




        (8) (9//Nf)                                   (b)(1)1.4a, (b)(1)1.4g
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                                        (b)(1)1.4a, (b)(1)1.4g




        (9) ('S/~ff)                                  (b)(1)1.4a, (b)(1)1.4g

                                        (b)(1)1.4a, (b)(1)1.4g




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     b. (U//FOUO) In your opinion, are those measures sufficient?




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        (2) (S7/N'.F)
                                              rR    (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g
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        (3) ( Si£1NF-)                               (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g
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        (4) (S11NF)                                     (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g

                                        (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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                                                                             as
     c. (U//FOUO) If not, you will make recommendations, as appropriate given your findings, to




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  improve force protection for the forces on the base.




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         (1) (SiiNF)                                    (b)(1)1.4a, (b)(1)1.4c

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                                          (b)(1)1.4a, (b)(1)1.4c
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         (2) (Sh'N'r')                                   (b)(1)1.4a, (b)(1)1.4c
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                                      (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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        (3) (SHNf-)                              (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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        (4)(~                                   (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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                                  (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g
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        (5)(~)                                   (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g
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        pr




                                   (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g
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       (6)(~)                                    (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g

                                   (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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 of action.




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 17. (U//FOUO) (Sh) What is Bagram Airfield's base access policy? When was the last review of
 that policy? You will make recommendations, as appropriate given your findings, regarding that




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 base access policy.




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     a. (U//FOUO, What is Bagram Airfield's base access policy? When was the last review of
 that policy?                                    rR
         (1) (U//FOUO) Bagram Airfield's base access policy is codified in the "Badge,
 Screening, and Access Standard Operating Procedures," last revised on 02 December 2016
 (Exhibit 2AB). This Standard Operating Procedure supersedes the 17 February 2015 Bagram
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 Airfield "Badge and Screening Policy" in effect during the 12 November 2016 attack. The
 policy identifies entrance onto Bagram Airfield and establishes procedures for controlling access
 and privileges for Local Nationals, Other Country Nationals, Common Access Card holders, and
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 Coalition Forces. This policy also outlines the procedures for barring personnel and enhancing
 force protection during military operations. The Directorate of Emergency Services, under the
 authority of the U.S. Forces-Afghanistan Area Support Group Commander, executes this policy
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 (Exhibits 2AB, at 1 and 2BC). All personnel requesting access to Bagram Airfield will submit a
 badge application, Form 103 (Bagram Airfield Badge Request Form), Form 86 (Visitor
 Request), proper identification and medical documentation (Exhibit 2AB, at 2). The Force
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 Protection Screening Cell screens and vets all personnel (Local Nationals and Other Country
 Nationals) desiring access to Bagram Airfield and enters applicants into the Biometric
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 Automated Toolset System (Exhibit 2AB, at 3).

         (2) (U//fOUO) The Bagram Airfield Ground Defense Area forces are responsible for
 physical inspections of personnel and vehicles entering and exiting Bagram Airfield. All Local
 Nationals and Other Country Nationals entering Bagram Airfield on foot, that are in possession
 of a Bagram Airfield badge, will enter through Entry Control Point 1 and undergo personnel and
 property searches as well as biometrics verification (Exhibit 2AB). Furthermore, they will hand-
 carry a Form 86, Letter of Authorization and/or Letter of Justification authorizing their entry and



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  hand-carried items (Exhibit 2AB). Authorized Local Nationals and Other Country Nationals
  arriving at Bagram Airfield via vehicle will enter Entry Control Point 3. As with Entry Control
  Point 1, all Local Nationals and Other Country Nationals must submit the required
  documentation, undergo personal and vehicle searches, and enrollment into the Biometric
  Automated Toolset System database. Escorts are required for all Local Nationals entering the
  installation to and from the Entry Control Points. Final approval authority for base access is the
  Area Support Group Commander or designee (Exhibit 2AB, at 3). Entry Control Point 10 is for
  U.S. and coalition tactical vehicles only and the Bagram Ground Defense Area Commander is




                                                                       e
  responsible for security protocol at this Entry Control Point (Exhibit 2AB, at 7). The post-attack




                                                                     as
  revision of the Bagram Airfield base access policy (December 2016) made several changes to
  mitigate vulnerabilities, principally:




                                                            e
          (a) (U//FOUO) The December 2016 policy states that "All personnel, not in uniform, are
  required to maintain and display either a Common Access Card, Bagram Airfield Access Badge




                                                         el
  or Resolute Support theater badge" (Exhibit 2AB, at 9). The previous version did not include
  military when out of uniform, and only applied to civilians (Exhibit 2AA, at 9).
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          (b) (U//FOUO) The revised policy states all personnel on Bagram Airfield are subject to
  be challenged and asked for Identification or Badge at any time (Exhibit 2AB, at 1O); the 2015
                                      fo
  policy did not include this language.

         (c) (U//FOUO) The 2016 policy eliminated Yell ow Badges. This is significant as the
  2015 policy allowed Local Nationals to possess Yellow Badges, authorizing them unescorted
                          ed


  access and the authority to escort up to ten other Local National personnel and five vehicles
  (Exhibit 2AA, at 12).
                 ov




          (d) (U//FOUO) The new policy includes convoy escort requirements for Green Badge
  Holders (Resident, non-U.S personnel), to include number of escorts required as well as lead and
  trail vehicle requirements if escorting more than one Local National vehicle entering Entry
         pr




  Control Point 3 (Exhibit 2AB, at 12, 15); the 2015 policy was vague and did not specify number
  of escorts required for convoys (Exhibit 2AA, at 15).
Ap




          (e) (U//FOUO) The new policy changed Green Badge expiration and renewal timelines
  from 12 months to six months to ensure more frequent Force Protection Screening (Exhibit 2AB,
  at 13).

         (f) (U//f'OUO) The new policy reiterated conditions and restrictions levied upon Red
  Badge Holders. Additionally, this 2016 revision eliminated the exemption that allowed Local
  Nationals to operate unescorted within their workplace (Exhibits 2AA, at 11 and 2AB, at 11)



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     b. Make recommendations, as appropriate given your findings, regarding that base access
 policy.

         (1) (U//FOUO) Nayeb was authorized entry to Bagram Airfield as a Red Badge holder
 (Exhibit 2Q). Neither the 2015 Bagram Airfield Badging and Access Policy in place on 12
 November 2016, nor the December 2016 revised policy, would have prevented the attacker's
 access to Bagram Airfield (Exhibits 2AA and 2AB). Recommend re-screening all Local
 National personnel employed on Bagram Airfield to verify security status and re-issue




                                                                                  e
 appropriate color badge based on assessed risk to force protection. This process is currently




                                                                                as
 underway but is expected to take four to six months to complete.

        (2) (S/flqF)                                  (b)(1)1.4a, (b)(1)1.4c




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        (3) C~//NF)                                    (b)(1)1.4a, (b)(1)1.4c
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                                         (b)(1)1.4a, (b)(1)1.4c
Ap




        (4) (U//FOUO) The 2016 policy no longer contains a reference prohibiting Local
 Nationals from possessing maps and documents while on Bagram Airfield. Recommend adding
 statements similar to the 2015 policy that prohibits Local Nationals from possessing maps and
 documents except Afghan National Defense Security Forces with justification (Exhibit 2AA, at
 17).



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          (5) (U//FOUO~ Recommend requiring Counterintelligence and Preliminary Credibility
  Assessment Screening System vetting annually for all contractors with weapons privileges. The
  2016 policy states "all contractors will be required to pass a Counterintelligence screening and a
  Preliminary Credibility Assessment Screening System examination prior to weapons privileges
  being authorized on Bagram Airfield" (Exhibits 2AB, 4CO, 4CQ, 4AU, 4AV). This indicates
  that contractors are only required to be screened once in order to be able to carry weapons.
  Considering the number of contract guards that failed vetting since the 12 November 2016
  attack, incorporate annual screenings to reduce vulnerability and risk.




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           (7) (U//f'OU0-) Recommend Command Operations Centers at each Entry Control Point
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  initiate 24-Hour Scan Reports. The 2016 policy requires a daily 24-hour Scan Report checked to
  ensure all Local Nationals who scanned on the installation scanned off the installation over a 24-
  hour period (Exhibit 2AB, paragraph 20.a). However, the current requirement does not indicate
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  who is responsible for running this report. While numerous agencies may access the biometrics
  report, it is unclear who has the responsibility for ensuring all Local Nationals actually departed.
Ap




          (8) (U//FOUO) Recommend Task Force Biometrics initiate the 30-day Inactivity Report.
  Task Force Biometrics can provide results to the Combined Joint Operations Center for review to
  further reduce vulnerabilities. The 2016 policy directs the generation of a daily 30-day Inactivity
  Report in order to identify Local National workers who did not utilize their Bagram Airfield
  access badge for entry or exit within the past 30 days (Exhibit 2B, paragraph 20.b). However,
  this paragraph does not specifically task a particular organization nor is there a system of checks
  and balances to ensure the report is accomplished.



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         (9)(~)                                              (b)(1)1.4a




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                                               (b)(1)1.4a




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         (10) (Sh'tiF)
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  18. (SHP>ff) (Si} In general, describe Bagram Airfields entry and exit procedures for Local
                 ov




  Nationals. Are Local Nationals searched upon entry onto Bagram Airfield? What are the
  procedures, if any, to search Local Nationals coming onto Bagram Airfield? How many s-vests
  entered Bagram Airfield via Local Nationals, and by what method(s) did they accomplish this?
          pr




  You will make suggestions, as appropriate given your findings, regarding the procedures for the
  entry/exiting the base.
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     a. (SlfliF) In general, describe Bagram Airfields entry and exit procedures for Local
  Nationals.

          (1) (U//FOUO) Bagram Airfield's base access policy is codified in the "Badge,
  Screening, and Access Standard Operating Procedures," last revised on 02 December 2016
  (Exhibit 2AB). This Standard Operating Procedure supersedes the 17 February 2015 Bagram
  Airfield "Badge and Screening Policy", in effect during the 12 November 2016 attack. The



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  policy identifies entrance onto Bagram Airfield and establishes procedures for controlling access
  and privileges for Local Nationals, Other Country Nationals, Common Access Card holders, and
  Coalition Forces. This policy also outlines the procedures for barring personnel and enhancing
  force protection during military operations. The Directorate of Emergency Services, under the
  authority of the U.S. Forces-Afghanistan Area Support Group Commander, executes this policy
  (Exhibits 2AB, at l and 2BC). All personnel requesting access to Bagram Airfield will submit a
  badge application, Form 103 (Bagram Airfield Badge Request Form), Form 86 (Visitor
  Request), proper identification and medical documentation (Exhibit 2AB, at 2). The Force




                                                                            e
  Protection Screening Cell screens and vets all personnel (Local National and Other Country




                                                                          as
  National) desiring access to Bagram Airfield and enters applicants into the Biometric Automated
  Toolset System (Exhibit 2AB, at 3).




                                                               e
         (2) (U//fOUQ.) Local nationals entering Bagram Airfield by foot will use Entry Control
  Point 1 and require personnel and property searches, biometric screening, and all proper




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  documentation (Exhibit 2AB). Local Nationals will process through eight security layers and
  five physical searches. In sequence, the stations are as follows:
                                             rR
         (a) (SHN'f<)

         (b) (SN~tF)
                                      fo

         (c) (S~JF)
                          ed


         (d) (S~ff)
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         (f) (S/~ff)
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         (g) (8/flq"f)
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         (h) (Si/NF)

          (3) (U//FOUO~ Local Nationals exiting Bagram Airfield by foot will exit using Entry
  Control Point 1 and are subject to personal and property searches in reverse order (Exhibits 2AB
  and 20). Adherence to this standard is corroborated by Task Force Tiger, the Reed Inc. Site
  Manager, and the U.S. Marine Corps advisors operating the Entry Control Point (Exhibits 2B,
  2C, 2J, and 2N).




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          (4) (SHNF)                                          (b)(1)1.4a




                                      (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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          (a) (S//!'ff)

          (b) (~hNF)




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          (c) (S//!'ff)
 search                                        rR
          (d) (g~JF,
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          (e) (SHNF)
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          (f) (S~JF)
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          (g) (Sh'NF)

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          (i) (Shqtff)
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         (5) (U//FOUO) (Exhibits 2AB and 2P, Diagram of Entry Control Point 3). Local
 Nationals exiting Bagram Airfield via vehicle will exit using Entry Control Point 3 and are
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 subject to personal and vehicle search followed by Z-Backscatter X-Ray scanner before exiting.
 Adherence to this standard is corroborated by Task Force Tiger, the Reed, Inc. Site Manager,
 and the U.S. Marine Corps advisors operating the Entry Control Point (Exhibits 2B, 2C, 2J, and
 2N).

    b. (S//!'JF) Are Local Nationals searched upon entry onto Bagram Airfield? What are the
 procedures, if any, to search Local Nationals coming onto Bagram Airfield? How many suicide




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  vests entered Bagram Airfield via Local Nationals, and by what method did they accomplish
  this?

         (1) (U//.FOUO) All Local National employees are searched upon entry onto Bagram
 Airfield (Bagram Airfield) through Entry Control Point 1 and Entry Control Point 3 (Exhibits
 2B, 2C, and 2AB). Local Nationals entering Bagram Airfield by foot will enter through Entry
 Control Point 1 and are rotated through eight security stations with physical searches being
 conducted at five (5) stations as described in Entry Control Point 1 entering and exiting




                                                                                  e
 procedures (Exhibits 2B, 2C, 2N, 2AB, and 20). Similar to Entry Control Point 1, Local




                                                                                as
 National drivers and vehicles entering Bagram Airfield through Entry Control Point 3 are rotated
 through nine security stations with physical searches being conducted at three stations as
 described in Entry Control Point 3 Entering and Exiting procedures (Exhibits 2B, 2C, 2N, 2AB




                                                                    e
 and 2P). In addition to the standards laid out in the Standard Operating Procedure, the 12
 November 2016 attack led to the addition of coalition forces at each Entry Control Point search




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 station to provide oversight of Local National Reed Inc. employees and to conduct secondary
 searches (Exhibit 2B, 2C, 2G, 2H, 2J, 2L, and 2N).
                                                rR
         (2) (SHNF-) The evidence supports the suicide vest was assembled on Bagram Airfield by
 Nayeb at his workplace inside the non-tactical vehicle yard and not preassembled prior to
 entering the installation (Exhibit 2Q). Counterintelligence source reporting indicates Nayeb
                                      fo
 likely smuggled small quantities of homemade explosive onto Bagram Airfield over
 approximately four months (Exhibits 4CK, 4CI, SN, and SA). Nayeb reportedly smuggled
 homemade explosives onto Bagram Airfield utilizing a smokeless tobacco style bag or can which
                          ed


 he then concealed in another container (Exhibits SN and SA). The string used to assemble the
 vest was a forensic match to string found at Nayeb's worksite (Exhibit 2Q). Similar components
 of the suicide vest used as projectiles (bolts and nuts) were also found at Nayeb's work facility
                 ov




 (Exhibit 2Q). In addition, the switch used to trigger the suicide vest was similar to switches that
 were readily available and unaccounted for in a trash container at Nayeb's work facility (Exhibit
 2Q). There is no evidence at this time that reveals additional vests were constructed on or
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 entered Bagram Airfield (Exhibit 2Q).
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    c. tsffNF) You will make suggestions, as appropriate given your findings, regarding the
 procedures for the entry/exiting the base.

                                                    (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




                                      (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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               (2) (SHNF)                                  (b)(1)1.4a, (b)(1)1.4c, (b)(1)1.4g




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        19. ( ~ Did this incident uncover any vulnerabilities as it relates to accountability in
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        general, of Local Nationals entering and exiting the base? Are security forces properly
        maintaining accountability of the entry and exit of Local Nationals? You will make
        recommendations, as appropriate given your findings, to the procedures or equipment regarding
                pr




        the entry and exit of Local Nationals onto Bagram Airfield.
      Ap




           a. ( ~ ) Did this incident uncover any vulnerabilities as it relates to accountability in
        general, of Local Nationals entering and exiting the base? Are security forces properly
        maintaining accountability of the entry and exit of Local Nationals?

               (1) (SHNF)                                       (b)(1)1.4a, (b)(1)1.4g



                                                 (b)(1)1.4a, (b)(1)1.4g




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                                       (b)(1)1.4a, (b)(1)1.4g




        (2) (U//FOUO) In addition to Local Nationals authorized to perform escort duties, Local
 Nationals also held key access control positions at all Entry Control Points (Exhibit 2AX). The
 Local Nationals manned all of the various search stations and often times were supervised by




                                                                                    e
 other Local National supervisory personnel (Exhibits 2B, 2C, 2N, 2AQ, 2AX). Furthermore, the




                                                                                  as
 Local National guards at several locations within the Entry Control Points were armed and
 operated with minimal oversight by coalition personnel (Exhibit 2B). Georgian Soldiers now
 supervise all but the outermost checkpoints within the Entry Control Points, however several




                                                                    e
 Local Nationals are still authorized to carry weapons (Exhibits 2B, 2C and 2N).




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        (3)(~                                            (b)(1)1.4a, (b)(1)1.4g

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        (4) (-sHNF)                                      (b)(1)1.4a, (b)(1)1.4g
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                                        (b)(1)1.4a, (b)(1)1.4g




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        ( 5) (8/trvF)                               (b)(1)1.4a, (b)(1)1.4g




                                      (b)(1)1.4a, (b)(1)1.4g




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        (6)(~)                                        (b)(1 )1.4a, (b)(1 )1.4g

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        (7) (g/fl'v'F)                               (b)(1)1.4a, (b)(1)1.4g
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                                       (b)(1)1.4a, (b)(1)1.4g




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                                            (b)(1)1.4a, (b){1)1.4g




                                                                                   e
                                                                                 as
     b. (S//tq"f) Make recommendations, as appropriate given your findings, to the procedures or




                                                                 e
  equipment regarding the entry and exit of Local Nationals onto Bagram Airfield.




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         (1) (ShNF                                      (b)(1)1.4a, (b)(1)1.4g

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                                          (b)(1)1.4a, (b)(1)1.4g
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         (3) (-SI/NF)                                   (b)(1)1.4a, (b)(1)1.4g
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        (4) (S,'~ff)                                  (b)(1)1.4a, (b)(1)1.4g




                                      (b)(1 )1.4a, (b)(1 )1.4g




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        (5) (S/,~F)                                   (b)(1)1.4a, (b)(1)1.4g




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                                      (b)(1 )1.4a, (b)(1 )1.4g




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                                            (b)(1)1.4a, (b)(1)1.4g


 20. (U//FOUO) (8k) What steps did the command take immediately following the incident?

     a. (U//FOUO) Immediately prior to the explosion, over 200 personnel were gathering at the
 run start site at an area referred to as the "Disney Clamshell." The Commander and (b)(3), (b)(6)
    (b)(3), (b)(6)  for Bagram Airfield had departed their quarters at 0530 en route to the run site,




                                                                           e
 where the commander was scheduled to make the opening remarks (Exhibit 3P). The Resolute




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 Support Sustainment Brigade (b)(3), (b)(6) and over a dozen Soldiers, having realized they could
 not conduct planned combatives certification inside the clamshell due to the run, walked past the
 Bagram Airfield (b)(3), (b)(6) and             (b)(3), (b)(6)   and moments later were within




                                                                        e
 meters of the explosion (Exhibit 3M). The Area Support Group (b)(3), (b)(6) had just signed in
 on the roster and initially thought the explosion sound emanated from the loudspeakers playing




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 music for the Morale, Welfare, and Recreation event. After a hush fell over the assembled
 group, leaders began orchestrating efforts to clear the area and to begin treating the wounded
                                                  rR
 (Exhibit 2L).

        b. (U//FOUO) Among the first uninjured on scene were the Bagram Airfield Commander and
(b)(3), (b)(€UJ.e Area Support Group (b)(3), (b)(6) and             (b)(3), (b)(6)    as well as the
                                         fo
  Romanian Military Police element initially staged for the event. The Bagram Airfield
    (b)(3), (b)(6) instructed those on scene to "secure the blast site and ensure no threats were in the
  area, conduct first aid and CASEYAC, sound the alarm for a ground attack, place the entire base
                             ed


  on full alert with everyone in [Personal Protective Equipment] and locked down except
  personnel involved in security and first responder operations. and to gain 100% personnel
  accountability" (Exhibit 3P). The Area Support Group (b)(3), (b)(6) worked with the Romanian
                   ov




  Military Police element to establish the Incident Command, which the Base Provost Marshal
  assumed upon arrival soon thereafter (Exhibits 2L and 21). The Bagram Airfield and Area
  Support Group                  (b)(3), (b)(6)       conducted a visual sweep of the surrounding area to
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  look for secondary devices based upon a known tactic for local threat actors (Exhibit 2L). And
                  (b)(3), (b)(6)           a Senior Medical Operations Noncommissioned Officer
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  preparing for the run, and his medic began serving as first responders and treating the wounded,
  many of whom were piled on top of each other upon their arrival (Exhibits 2L, 3M, and 6H).

     c. (U//FOUO) Due to the number and severity of the wounded, leadership onsite began
 identifying personnel and non-standard evacuation vehicles for transport to the Craig Joint
 Theater Hospital approximately 800 meters away from the blast site. Meanwhile, the Area
 Support Group (b)(3), (b)(6) and         (b)(3), (b)(6)    relocated to the Area Support Group
 Headquarters to activate the Emergency Operations Center - from which they coordinated



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  follow-on actions by first responders still moving towards the site or transporting personnel to
  the hospital. The Combined Joint Operations Center, approximately 300 meters away from the
  blast site, directed the Persistent Threat Detection System towards the scene of the incident and
  received reports from the Emergency Operations Center (primarily via phone) and the Incident
  Commander (via Light Mobile Radio) (Exhibits 3G and 3H), relaying reports to the Resolute
  Support Headquarters in Kabul.

      d. (U//fi'OUO) The (b)(3), (b)(6) of Bagram Airfield issued guidance to and through the




                                                                                     e
  Combined Joint Operations Center to assume mission command (Exhibits 3P, 3J). Beyond the




                                                                                   as
  confirmed explosion and known casualties - initially seven reported to the Craig Joint Theater
  Hospital (Exhibits 6A and 3X) - the headquarters received reports of additional potential force
  protection threats (Exhibits 3E, 3G, 3H, 3I, 3J, 3L, 3P, 3X). Perimeter guards reported




                                                                      e
  unmanned aerial systems sightings at 0632, among other sightings; a suspicious brown box and
  crowd massing at Entry Control Point 1 at 0613 and 0635, respectively; small arms fire at 0630




                                                                   el
  and 0652; and unconfirmed explosions at 1014 and 1157 (Exhibits 3E and 3X).

     e. (Smff)
                                                  rR      (b)(1)1.4a, (b)(1)1.4g
                                       fo
                           ed


                                              (b)(1 )1.4a, (b)(1 )1.4g
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      f. {Sh'NF) As those outside of the immediate area continued to wait in the bunkers and
  casualties underwent treatment at the hospital, the Combined Joint Operations Center began
  orchestrating efforts to manage the local national population still on the base (Exhibits 3G, 3H,
  3I, 3J, 3T, 3X).                               (b)(1)1.4a, (b)(1)1.4d, (b)(1)1.4g



                                        (b)(1 )1.4a, (b)(1 )1.4d, (b)(1 )1.4g




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                                        (b)(1)1.4a, (b)(1)1.4d, (b)(1)1.4g




                                                                                     e
     g. (U//FOUO~ Were those steps appropriate given the circumstances?




                                                                                   as
          ( 1) (U//FOUO} In light of the circumstances - an unexpected form of inside-the-wire
  attack followed by sporadic reporting from around the base potentially indicating a complex




                                                                    e
  attack- the chain of command's actions following the incident helped contain and mitigate the
  effects of the attack. Despite the limited visibility (zero illumination at the time of the attack)




                                                                 el
  (Exhibit 3Y), and the initial uncertainty on what caused the explosion, the Combined Joint
  Operations Center and leaders on the ground made sound decisions and directed appropriate
                                                rR
  actions. The hospital was notified within two minutes of the blast, a Military Police patrol was
  on site within three minutes, and rotary wing assets were mobilized within seven minutes
  (Exhibits 3E and 3X). Further, the establishment of Incident Command quickly progressed from
  an ad hoc assortment of leaders and first responders to the Area Support Group Provost Marshal,
                                       fo
  and medics and others onsite orchestrated first aid and movement of casualties to the hospital in
  a sequence conducive to life-saving treatment (Exhibits 3E, 3X, 6A, 6B, 6C, and 6H).
                           ed


         (2)(~)                                           (b)(1)1.4a, (b)(1)1.4g
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                                           (b)(1)1.4a, (b)(1)1.4g
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          (3) (U//f'OUO) In the days and weeks that followed, the command took a number of
  actions to understand the event and to prevent similar insider attacks. The institution of a base-



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  wide Operations, Intelligence, and Investigation Update -which has now become an Operations
  and Intelligence Update - assembled the right leaders to maximize crosstalk and shared
  understanding. Through those sessions, the command identified dozens of initiatives that would
  improve perimeter security, address insider threat risks, and better coalesce the community of
  practice (Exhibit 3A and 3K). Through concerted command presence, the Bagram Airfield
  Commander's leadership has reduced the risk of a similar attack. His "New Normal", with lines
  of effort to address 1) Contractors Policies and Practices; 2) Improvement of Layered Security;
  and 3) Integrated Base Response roles and responsibilities (Exhibit 3P) has begun addressing the




                                                                           e
  culture of complacency that may have allowed the community to miss discernible indicators of




                                                                         as
  or potential for high profile attacks.

      h. (U//flOUO) Are there any suggested improvements to the command's handling of such an




                                                                e
  incident in the future?




                                                             el
          (1) (U//FOUO) To an extent, the response to this attack benefitted from proximity to key
  leaders and headquarters. The immediate availability of both the Division (b)(3), (b)(S) and the
                                                rR
  Area Support Group (b)(3), (b)(6) minimized the time required for key leaders to acquire
  situational understanding. Further, the presence of Romanian Military Police at the run start site
  placed them on scene within three minutes of the blast (Exhibits 2L and 3E). Favorable weather,
  albeit with no illumination, allowed persistent intelligence, surveillance, and reconnaissance
                                         fo
  assets to acquire over watch of the blast site. And the presence of a medical team on site - albeit
  no Field Litter Ambulance for this particular event (Exhibits 6A and 6H) - expedited first
  responder treatment and medical evacuation via non-standard means (Exhibits 6A, 6B, 6C, and
                            ed


  6H). Further, the incident occurring on an installation with a Role III hospital with robust trauma
  capability only 800 meters down the main thoroughfare minimized the time between the point of
  injury and surgical-level care (Exhibit 6B).
                   ov




           (2) (U//FOUO) Most suggested improvements regarding the command's response to the
  incident pertain to actions prior to the incident itself. First, for events like the run scheduled for
          pr




  that morning, recommend commands execute Special Event Vulnerability Risk Assessments -
  required for events involving 300 or more people - prior to execution of large events. As per
Ap




  DoDI 2000.16 (Exhibit 2BE) and the Bagram Airfield Antiterrorism Plan (Exhibit 2V), this
  assessment would identify potential threats and risks and then identify and rehearse key actions
  required by first responders and unit leaders. Had such an assessment occurred prior to 12
  November 2016, emergency management leaders and responders would identify and coordinate
  the requirement for an on-site ambulance and the location of the nearest Casualty Collection
  Point and associated medical supplies (two Casualty Collection Points are within 200 meters of
  the blast site.) Rehearsing contingencies may also have led the medics to more appropriately
  tailor their aid bags towards potential threat streams, rather than explicitly for run injuries



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  (Exhibit 6H). Finally, rehearsals would have more clearly delineated the mission command plan
  and the appropriate posture consistent with Anti-Terrorism and Force Protection doctrine.

           (3) (U//FOUO) Second, recommend further consideration of the "Big Voice" battle drills
  and the Base Defense SOP might improve shared understanding and improve responsiveness
  throughout the base. At present, calls exist for indirect fire, an attack on the perimeter, mass
  casualty (as determined at the Craig Joint Theater Hospital), and active shooter (Exhibit 2U). In
  this instance, the "Cavalry Charge" call led personnel to seek shelter and may have expedited




                                                                                  e
  Task Force Tiger's mobilization and response to an external threat, but it also left the vast




                                                                                as
  majority of base personnel under cover for an extended period of time. This compounded
  challenges with accountability both for coalition and local national personnel (Exhibits 2L and
  3L). See PIR 8n for further analysis of "Big Voice" recommendations.




                                                                  e
         (4) (SfflvF} Third, recommend                               (b)(1 )1.4a, (b)(1 )1.4g




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                                               rR
                                       fo
                                           (b)(1)1.4a, (b)(1)1.4g
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                 ov




         (5) (-s-HNF) Fourth,                                  (b)(1)1.4a, (b)(1)1.4g
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                                           (b)(1)1.4a, (b)(1)1.4g




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        (6) (S/~ff) Fifth,                                (b)(1 )1.4a, (b}(1 )1.4d, (b)(1 )1.4g




                                       (b)(1)1.4a, (b}(1)1.4d, (b}(1)1.4g




                                                                                       e
                                                                                     as
 21. (U/fFOUO) .{fil). What steps did PMO take following the incident? Were those steps




                                                                      e
 appropriate given the circumstances? Are there any suggested improvements to PMO's handling
 of such an incident in the future?




                                                                   el
     a. (Sh'Nf') What steps did PMO take following the incident? At approximately 0538,
                                                 rR
 Bagram Airfield Provost Marshal Office responded to a person-borne improvised explosive
 device explosion in the vicinity of the Bagram Airfield Disney Post Exchange. The Bagram
 Airfield Provost Marshal's Office dispatched Emergency Medical Service to the scene at 0540 as
 additional Military Police patrols arrived to assist with lifesaving procedures, attempt to establish
                                        fo
 an initial cordon, and conduct safety sweeps (Exhibit 2AC).                     (b}(1)1.4a
                             ed
                  ov
          pr




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                                               (b)(1)1.4a




                                                                        e
                                                                      as
     b. (U//FOUO) Were those steps appropriate given the circumstances? Yes, the PMO steps
 were appropriate and complied with Army Field Manual 3-39, "Military Police Operations", and
 Bagram Airfield standards identified in the First Responders Operation Working Group Standard




                                                                e
 Operating Procedure (Exhibit 2AH, 2G). Field Manual 3-39, "Military Police Operations",
 Chap. 3-105, establishes guidelines for Military Police responses to terrorist attacks. These




                                                             el
 emergency response actions incorporate measures to treat casualties, apprehend perpetrators,
 preserve evidence, minimize property damage, restore operations, and expedite the criminal
                                              rR
 investigation and collection of lessons from terrorist incidents (Exhibit 2G). The Bagram
 Airfield Provost Marshal's Office Military Police were one of the first responders to arrive at the
 scene and immediately began to conduct lifesaving procedures on the wounded. Emergency
 Medical Services, Military Police patrols, Military Working Dogs and Explosive Ordinance
                                       fo
 Disposal worked to establish the initial cordon and search for secondary devices. Although there
 was confusion early in the response, the actions of the Provost Marshal's Office were in line with
 Army Field Manual 3-39 and Bagram Airfield's First Responders Working Group.
                           ed


     c. (U//FOUO' Are there any suggested improvements to PMO's handling of such an incident
 in the future?
                  ov




         (1) (U//FOUO) Recommend rehearsing the incident response plans and establishing a
 concrete incident command reporting chain. Conduct these events as described in the Bagram
          pr




 Airfield Base Defense Plan, dated 15 December 2015 (Exhibit 2U). Include Tactical Exercises
 Without Troops (TEWTs) or tabletop exercises, in order to synchronize communication and
Ap




 improve unity of effort during incident response through incident command. Despite the
 language of the Ba gram Airfield Base Defense Plan (Exhibit 2U), the incident response was not
 synchronized between first responders. An initial Incident Command was attempted to be
 established by the first arriving patrol however, the responding units of Emergency Management
 Services, Fire, and Explosive Ordinance Disposal did not report to an identified incident
 commander who could then direct additional assets where needed. The uncoordinated arrival of
 additional personnel to the scene for causality evacuation, secondary explosive device sweeps,
 and other activities allowed multiple people to walk and drive through the crime scene and



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 possibly distort evidence. For instance, the                   (b)(3), (b)(6)          mentioned, "I
 don't want to sound coarse, but when the fire trucks showed up, they were driving right down the
 road and me and the CG were pushing them off so they didn't run over body parts and stuff like
 that" (Exhibit 2L). A clearly defined and standardized incident command, in accordance with
 the National Incident Management System, will enhance first response and crime scene
 coordination, preventing such instances from occurring (Exhibit 2AJ). Communication was also
 an issue at the scene of the incident with multiple agencies and coalition forces responding.
 Highlighting the communication challenges,        (b)(3), (b)(6)     stated there needs to be, "better




                                                                          e
 communication with security forces patrolling the roads on Bagram Airfield. If you are going to




                                                                        as
 have security forces patrolling our streets on Bagram at any hour of the day, they should have
 communication with either Task Force MED or USFOR-A and they have got to speak English."
 (Exhibit 6H). A lack of rehearsals, synchronized communication efforts, and clear leadership




                                                                  e
 roles contributed to an inability to understand the situation from responding assets and coalition
 security forces. Incident Response Plan rehearsals could have alleviated some confusion and




                                                               el
 provided alternatives to language and communication barriers experienced on 12 November
 2016.                                          rR
         (2) (S//NF) Recommend conducting Bagram Airfield-wide emergency management
 rehearsals to ensure all responding assets are familiar with processes and procedures as described
 in the Bagram Airfield Base Defense Plan (Exhibit 2U).
                                        fo
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                                                 (b)(1)1.4a
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                                            (b)(1)1.4a



 22. (U/fFOUO) (Sm) What steps did Task Force MED take following the incident? Were those
 steps appropriate given the circumstances? Are there any suggested improvements to Task Force
 MED's handling of such an incident in the future?

    a. (U//FOUO) What steps did Task Force MED take following the incident?




                                                                        e
                                                                      as
         (1) (U/~) On 12 0538 November 2016, a suicide bomber detonated near the Base
 Exchange along Disney Drive on Bagram Air Field (Exhibit lB). The emergency room received
 notification of the blast and alerted the Trauma Czar and the         (b)(3). (b)(6)    of Clinical




                                                             e
 Services on duty that seven patients were inbound to Craig Joint Theater Hospital at which time
 an "Extended Trauma" was ordered (Exhibit 6A). An Extended Trauma requires all surgeons




                                                          el
 and nurses to report to Craig Joint Theater Hospital but does not initiate a full hospital recall
 (Exhibits 6A, 6B, 6C, 6F). The first seven patients arrived within minutes of the blast by
                                               rR
 vehicles of opportunity and ambulance in an order that was consistent with the severity of their
 injuries (Exhibits 6A, 6B). As the patients arrived they were transported into the trauma bay and
 given lifesaving care (Exhibits 6A, 6B). At 0615 it became apparent to the hospital staff that
 more than seven patients were going to require care. The                             of Craig Joint
                                       fo
                                                                  (b)(3), (b)(6)
 Theater Hospital (b)(3). (b)(6) ordered an internal MASCAL, which brings all Craig Joint
 Theater Hospital staff to the hospital (Exhibits 6A, 6C).
                           ed


         (2) (U//FOU0J Patients were moved from the Trauma Bay to the Operating Room for
 surgery in accordance with the severity of their injuries (Exhibit 6B). On 12 November 2016,
 the operating room teams performed 43 procedures on nine patients, running up to four cases
                  ov




 simultaneously in three operating rooms for over twelve hours (Exhibits 6A, 6B, 6E). A total of
 19 patients received medical care on 12 November 2016 (Exhibit 6E).
          pr




        (3) (U//FOUO) Once the patients were stabilized and out of surgery, Craig Joint Theater
 Hospital staff prepared them for evacuation from theater via a Critical Care Air Transport
Ap




 (Exhibit 6A, 6B, 6c). The Critical Care Air Transport flight left for Landstuhl Regional Medical
 Center at approximately 0730 on 13 November 2016 with six intubated patients cared for by
 three Critical Care Air Transport teams (Exhibit 6A, 6B, 6C).

        (4) (U//FOUO} Task Force MED conducted four MASCAL rehearsals between 01
 October and 12 November 2016 (Exhibits 6A, 6B, 6C). These rehearsals included all
 appropriate hospital staff as well as medical providers external to Craig Joint Theater Hospital
 (Exhibits 6A, 6B, 6C). As a result of these rehearsals, Task Force MED was well prepared for



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  the events of 12 November 2016 and was able to integrate medical professionals from external
  agencies who arrived to assist (Exhibits 6A, 6B, 6C).

      b. (U//FOUO) Were those steps appropriate given the circumstances? Yes. The steps taken
  by Task Force MED on 12 November 2016 were appropriate given the circumstance and are to
  be commended. The actions of Task Force MED saved the lives of the critically wounded who
  arrived to Craig Joint Theater Hospital. Every patient who arrived at Craig Joint Theater
  Hospital alive was stabilized and evacuated from theater alive (Exhibit 6B).




                                                                                e
                                                                              as
      c. (U//FOUO) Are there any suggested improvements to Task Force MED's handling of such
  an incident in the future?




                                                                   e
         (1) (U//POUO) Task Force MED conducted an extensive after action review with all
  members of the medical community on Bagram Airfield immediately following the incident




                                                                el
  (Exhibits 6A, 6B, 6C). In the after action review they captured specific areas where they could
  improve their operations (Exhibit 6E).      rR
         (2) (-s-HNF-)                                        (b)(1)1.4a
                                       fo
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                                               (b)(1)1.4a
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  23. (U//POUO) {Sn) Is the knowledge and training on Bagram Airfield regarding the "Big
  Voice" sufficient? Further, is the knowledge and training sufficient, detailing the actions
  individuals on Bagram Airfield should take regarding different proposed incidents?

     a. (-stfNf)                                             (b)(1)1.4a


                                               (b)(1 )1.4a




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                                                (b)(1)1.4a




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                                                                 e     as
    b. (8,1,'NF) Training regarding individual actions upon "Big Voice" alarms is insufficient.




                                                              el
 Additionally, communication procedures to initiate a "Big Voice" alert are not well understood.
 Specific findings:                             rR
        (1) (-sHNF) The first "Big Voice" alarm did not sound until 23 minutes following the
 detonation of a suicide vest on 12 November 2016 (Exhibit 2F, 2I, 2L, 2M).
                                        fo
         (2) (Sti'Nfj All new personnel at Bagram Airfield view an instructional video at the
 passenger terminal upon arrival regarding "Big Voice" warnings and individual responsibilities
 (Exhibit 2AZ).
                            ed


         (3) (Sn'NF) A personal response action card is available to personnel that covers
 individual actions to incidents such as active shooter, bomb threats, shelter-in-place, and indirect
 fire (Exhibit 2AV).
                   ov




         (4) (S?'rNF) While indirect fire individual actions are understood due to the frequency of
 such attacks, no documented Bagram Airfield-wide training or rehearsals were conducted over
           pr




 the past six months to exercise responses to other types of warnings or attacks (Exhibit 2AZ, 2J,
 2K).
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        (5) (SHNF-) Little to no coordination occurs between the Combined Joint Operations
 Center "Big Voice" controllers or military personnel and the Area Support Group Emergency
 Management Officer, resulting in a lack of mission command and unity of effort (Exhibit 2AZ,
 2K, 2L).

     c. (U//FOUO) Are there any suggested improvements to enhance knowledge of actions to
 take for each type of incident?



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        (1) (SHNF)                                  (b)(1)1.4a




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                                                            e           as
                                                         el
                                         rR
                                  fo
                        ed



        (2) (SHNF)                                        (b)(1 )1.4a
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                                          (b)(1 )1.4a




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                                           (b)(1)1.4a




        (3) (S/~ff)                                         (b)(1)1.4a




                                                                              e
                                           (b)(1)1.4a




                                                                 e          as
                                                              el
        (4) (~m~F)                                          (b)(1)1.4a

                                            rR
                                     fo
                                               (b)(1)1.4a
                          ed
                  ov




 24. (U//FOUO) (80 and Sp) You may identify and describe any other processes, procedures,
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 systems, and/or equipment that could have contributed to or influenced this incident. You will
 make suggested improvements, if any, regarding the same. Address any other matters pertaining
Ap




 to this incident that you deem relevant.

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    a. (S/fl~F~



                                              (b)(1)1.4a




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    b.(~                                                (b)(1)1.4a




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                                         (b)(1)1.4a




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    c. (Sh'i'ff)                        rR              (b)(1 )1.4a
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    d.(~)                                             (b)(1)14a



                                         (b)(1)1.4a




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    e.(~                                              (b)(1)1.4a




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                                        (b)(1)1.4a



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    f. (Sn'Nf)                                        (b)(1 )1.4a
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                                                                                (b)(6)
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                                                         (b)(6)




                                              THOMAS S~JAMES. JR.
                                              Major General. USA




                                                                    e
                                              Investigating Officer




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                                                                       SWORN STATEMENT
                                                 For use o f this form. see AR 190...: s the proponent agency is PMG

                                                                      PRIVACY ACT S TATEMENT
AUTHORITY :                          Tille 10 USC Sectton 301 Title 5 USC Sectton 295 1. E 0 9397 Social Security Number (SSN)
PRIN CIPAL PURPOSE:                  To documen t polenllal cnm1nal ac11v1ty involving the US Army and 10 allow Army officials 10 maintain d1sophne
                                     law and order lhrougn invesugauon of complaints and 1nc1den1s
ROUTINE USES:                        lnfom1a11on provided may be further disclosed to federal. state local and foreign government law enforcement
                                     agencies. prosecu101s. couns. child protecuve services. v1c11ms. witnesses. the Depanmont of Ve tera ns Affairs. and
                                     the Office o r Personnel Management. Information provided may be used for determina11ons regarding judicial or
                                     non·1ud1c1a1 punishment. other adm1nistr:itove d1sc1phn:iry acttons. security clearances. recruitment. retenuon.
                                     placement. and other personnel acuons
D ISCL OSURE:                        Disclosure of your SSN and other information is voluntary

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t;   I   A<;T NAMS: 1'"1Q<;T NAME. M IDDLE NAME                                      6   SSN                                       7   GRADE/STATUS
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8 ORGANIZATION OR ADDRESS
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111:1) IHI\ c conspired "ith . 3) ch"?

J\ . M) unc lassified investigation La" bnforcement Repon CLER): 00136-2016-C I0 369-0:?1591 . only has the suicide
  omber. 1\ lr. Ahmad a) ab J\hdul Zuhoor. indexed al> a subject for 1\ lurdcr and /\ltemptcd Murder. I have classified
c:hibit::-. in my investigation produced from other mililal)· agencies ''ho identified co-con!.pirators to the suicide bomber.
J\t thi' time. C l D docl> not plan on li~t in g the co-con s pi rat or~ a:. subjects in 1he unclal>si fied L E R due 10 the c lassi fied
111ca 11' in " hich the) \\ Crc identified as subj ect s 'co-conspirator~.




(). D o you have anyth ing to add that is not included in ~ o ur o llicial La" Enforcc111c111 Repon (I. ER)'!


 . ·1hi~ il\\ estigation is still opcn b~ CID at the time of thi ~ ~1a11.:me111. All identified imc!-tigative activity by C ID has
)CC IIcompleted to date. ClI) i!- pending. receipt of Final Autop.) Reports. Final Infonnation Repon. from outl ining
CID Otlicc~. Tr· Crimson (J\ FOS I) Repon. and Final Lah Repons from ACME & USACll.. I expect to seek a legal
opinion from US FOR-t\ SJA for the offenses listed "ithin the next I\\ o " eeks.~~/llAJID Fv~tJleJ!//I




10 EXHIBIT                                                                                                   STATEMENT
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ADDITIONAL PAGES MUST CONTAIN THE HEADING "STI                                                                         DATED

THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT AND PAGE NUMBER
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    BY ME THE STATEMENT IS TRUE              I HAVE INITIALED ALL CORRECTIONS ANO HAVE INITIALED THE BOTTOM OF EACH PAGE
    CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT
    THREAT OF PUNISHMENT ANO WITHOUT COERCION UNLAWFU
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                                                                              PRIVACY ACT STATEMENT
          AUTHORITY·                    11Ue 10 U!:>C Sect on 301 Tille S. USC Sec·100 29!> t E 0 9397 Social Securoty Number (SSN
          PRI NCIPAL PURPOSE:            ro OOC\.ment p;ten11al c11m1oa1 actov11y onvol\'109 the U S A •my an:J to allow Arm1 officials to ma1nta1n d1sc1pline.
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                                        noo·1u doc1a1punishment, cthe· ad,,10 slratove d1sc1p~nary acuons security clearances recrurtmeot ·etentocn
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          DISCLOSURE:                   Oosdosure of your SSN ard o'her information is voluntary

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jl~\.LD   Q. I low long h:i' c you been s.:n ing. in the J31:''.'
          /\ /\ t\1tal   or -I JllOll t h~.
-ll~      Q I ltm long have ~ou been hcrc at BAF?
          /\ . I came in on STRAT J ir. ahout ::! September. I did not Lio PDSS here.:.

I\~       () C:m ~nu J~c;crihc ~nur dutic:s :md rcsponsibili1io:~ here?


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          Q A rc ~ ou lilmil iar '' ith the tasl-. organization o r BAf an<.! hOI\ ii rrlatcs 10 ~ecuri1~ '!
          A. 't .::-.. sir. (b)(6)" p robabl ~ 1hc Si\ 11:. 11hen 11c.: lirsl got here and ligure out our Juthoritics and our live hats. he 11:is
          our action orlicer for the 3 and because or that he 11a~ start ing to tigurc out all the rc.:lationships. I le is a 1er: smart
          individual. As 11c came in. one of the lirs t th ings 1~ e idcnti lied 11 as the force prntc.'C tion. So 11 c made him the action
          ollil.:er on FP because he underswod the authorities. he 1111der,1oncl the <;ecuri 1 ~ piece at 1h<11 time

o~        <.). D 1J ~OB get :.pccilic guidnncc from Gcncrnl rhompson \\hen he                                Ciltl1C   in'!
          A. T he ~p~:c i lic guidam:c was g.ivcn as ~mm a~ 1\e !,!.Ol here: ii \\ a~n · 1 11ri 11e n. mostl) VOCOs. Biil ii 11as the badging. he
          didn't appreciate the \\a) that ei ther the badges were displayed or the badging policies. so. that wa~ one of the first
          thing~ 1\c tagged. And then LNs. We understood pn:tt~ earl~ llll lhrough the CG thi.lt there miglu have been a squaller
          10 EXHlelT                                                            I 1 INITIALS OF PERSON MAKING STATEMEW
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            9     STATEMENT      (Continuod)

              -.ituation Jnd just the accountabil it~          or
                                                             the LNs. So. \\ lml lhc cc; was !he lllOSI adaman1 about \\as then: \\aS ,\ culture
             o f .. ,his i!> 1101 n dcplo~ ed base. bllt a base lil..e bad. in the states ... I thin!-.~ ou ha\\: a lot of contractors and ch ii ians anJ
             1hat 10 me is 1hc initi~1I friction poi111 \\ith the CG \\as tha1 the c i\ ilians \\ercn·11aking this vc11 scriou•dy. thm \\'C ''crl'
             <.kploycd. thal there \\a<; a lhrcal. rh:it they arc 1rying 10 hurl 11<:. I k look h:ml m the civi lian con1ractors and then I kne\\
             1ha11hc nc:-.t piece\\ :is going 10 be 1hc CORs. 1hmc Soldicrs' grccn suitor.- 1hm \\Cn: in charge of it. Looking al
             contract in:;. and ho\\ \\ho uid \\!Mt in h.:1111!'. of 1ha1 rdation!'.hip.




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I\~          Q. ''there a clear delmcation              l)f \,ho   ha." \\hat'~
             A. If there" a<; an inciden1.                                                            (b)(1)1 48
             executing.

llfc..c-o    Q.   An:~   ou "ell vl!r~l!d in the        ·ors and policies involved in I· I> measures ands~ nchroni;i:ing            (b) (1)(A)
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            t\ . I Jill not O\-crly   famil iar'' ith the OP:\. I am fami liar" ith hm\ the~ ''ere cxen11i11g becau~e I \\LlS on ECP 3 and

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d{~        Q. 1'111.:sc were cxen:ises or drill' prior to the a11:u.: k th:it ncc11rrl.'d"
           A. Y i:-s


>l\~\.lD   <). ()it!) uu :.cc    .tll)  lllht'r tlri lb 0111 thcrt:'.'
           A. i'-ot th:H I sa\\. One or the quest ions that came up" as hO\\ do ''e tie in the DOC. 10 these cxcn.:1ses'! I hat i:. ''here
           the operation w ith multiple things going on. kind of came out o. tht.:) included the DOC. includtd TF MED and included
           a lot of other picc1."S mi the base. Wr just ne\'cr got there. 11 '' as delayed for whatever reason: my understand in!! and
           \\llill I remember. it "as ah\a~s rF Tiger that came ur on the net \\ith some rca-;on not to. Incidents that T iger h.1d th:it
           I.. ind of pu!.hcd thing!. 10 till· right i" '' l' had to im ,•.;tigaic and ligurc that ou1. I hen RS came do1\ n a nd ~li <l no more
           dismounted p a tro l ~ . We \\'Cre tr) mg 10 figure out ''hat that lool-.ed like at thnt point. I\ nd tlrnt lcu into n lo t ,) f the l'I'
           is:-.111::-. Js \\t'll J:- "c strug.glcu "ith. hu" du \\C secwc our 13.J DA \\ithout tlis111ot111tcd capabili ties'!

-~~        Q. Do) ou recall ''hat the rca~on ''as (or the del:t) s'!
           i\. 11..mm o ne spcc ilic incident had to do" ith the SIFC:\ S. it \\ ,ts about three m four da) s prior to the cxccutton. so I
           knc)\\ that dcla) ed it. nu~ other reasons. I do not kno1\. It rnuld he arguecl that the date'' "" never ~c t in l·onc rl'lc W e
           lll'\'Cf did 1ha1 for ri gl'r or for the DOC.



4l~ <.). \\\L., thJI c:-.c11:iw ~0111 .:tlti ng ui1c1:11.:J h~ Gc11e1<il Thu111pso11 or ju:-.t :-ornething. ) 0 11 dt'Ctdcd ) Oll llCC<.lecl to do'.'
    .'\ . lt "s funn~ hm' things come do\\11. nec:iusc 11 comes d0\111 thniugh multiple strings. I had the crn1\-..:rs:ition '' ith~). ( )(6)
    and ha ~m1 \1ha1 the~ had done With                      (b)(1)1 4a     so ''c said. " c probabl) need to escnlatc it to the next level to
    invoh·l· cvt'rybod~ ) and that i~ ho" I remember it coming 0111.

           Q. Can      ~ot1   describe BAF· , cn1r: and c:xi1 pmc~cl11n.·~ for I    '.
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v.l\ ~U>   Q. An' thine. else      \\C need to l..11U\\ 1da11:J t{1 tlri~'!

           A. We looked at the POM kintl of incorn:c1ly as well. In our PROl\I statcmclll \\\:said ''c km.'\\ there \\OUld be a threat
           on the base. but that threat "a:.ri't ~o much a kinetic lhrl'al. it '' <b more of an obser' Jtion. dbrupt ion that they" ac
           collcc1ing anJ that the threat \\Ould be on the outside. We focused too much on \\hat could come in from the GD/\. \Ve
           undcr:.tood that thing' \\Crc moving through our AO to get IO Kabul. As thing~ \\ere coming in. it "a.;ju.;t n fo.inr
           t(ircc The_\ \\01rld ln11nch :1 rockt.'t. we would mass to that one po!.ition and that is ..·sscntiall.' fi:..ing. us :md no" "e arc
           not proJec1ing out to" here" e need to be louking. I thin!.. then ~ h,ip understood this and the) '' cre kind of looking. at
           that pn:ll) \\ell. There \\i\~ .l th11.:at llll tht: b.i:.c hccatL'>C \\C l-.11c\\ tht:n: \\CIC unrg~ being :.muggled Oil. alcohol was
           probabl~ bl'ing smuggled on: 1hi:re "ere nefarious things coming on and Ihm b nol ror local nat1onab. I ho5e arc for
           (x.: and American Contr::ictors and U.S. Soldii:rs. So no" ) ou have drugs being u~cd on 1hc base. and rcall) "hat 1hm
           docs is it establishes a relationship and that r~l;nionship lht.'11 turns inw thl' one da) I need) ou to take a knee and look
           awa). i-. the da) I bring. \\hat I need to bring into the base. So "e kind of understood th:it \\a:> \\ hnt it \\ "' ;ind \\l' kind
           of look at thi' ""· _\Oll l..no\\ . if thi<: i' a pri-.(ln. 1hing-. arc "till being smuggled on and it is u:.ed as hartcring or :i tin:mcral
           ')Stem to pa) for favors to look a\\a). We \\Crc just starting to rcall) get after that \\hen I~ NO\l'mher hit. But I think
           \\C lrumcd the problem incorrect!). We nc\ er reJll) lon:.idcred it and that i~ beG!ll!'le vf the histnr~ a!-o \\ell. \Ve fell illlo
           1111: trap tin: -..11nc a-. thl' ,\SCi . bccaw;e his1oric::ill) . there ha..' never hccn ;1 kinetic :it tack on the l'asc from "i thin. "e just
           111.:vcr real!) thought then: \\Ould bl.!. \\·c l..rll.!\\ that the REED guards wcrl.! local nationals and that there \\0trld he 1hc
           possibilil) of n g.rl'cn on blue. l3u1 because the) \\ere separated and dcl\\ 11 s0t11h. then: i~ so much scparation from the
                           (b)(1) (A)               . ''e l..nc\\ that '"'s a possibilit). but "l' thought \\e could close it do\\ n prcu~ quid;(~ .

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                   I.               (b) (6)                                                      HAVE READ OR HAVE HAO READ TO ME THIS STATEMEN T
            WHICH BEGINS ON PAGE 1 AND ENOS ON PAGE                       8         I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MAOE
            BY ME THE STA-EMENT IS TRUE I HAVE INITIALED ALL CORRECTIO'IS AND HAVE INITIALED THE BOTT0"1 OF EACH PAGE
            CONTAINING THE STATEMENT I HAVE MADE THIS STATEMENT FREEL y vnTHOUT HOPE OF BENEFI T OR REWARD WITHOUT
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